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                         UNITED STATES BANKRUPTCY COURT
                       FOR THE WESTERN DISTRICT OF WISCONSIN

In re:                                                                             Case No. 20-11957-gmh
ENGINEERED PROPULSION SYSTEMS, INC.,                                               Chapter 11
                                               Debtor.


     DEBTOR’S MOTION FOR ORDER: (I) AUTHORIZING DEBTOR TO SELL
     CERTAIN ASSETS FREE AND CLEAR OF LIENS, CLAIMS, INTERESTS
      AND ENCUMBRANCES; (II) APPROVING DATES AND DEADLINES
    RELATING TO SALE PROCESS; AND (III) GRANTING RELATED RELIEF


           Engineered Propulsion Systems, Inc. (the “Debtor”), as the debtor and

debtor-in-possession in the above-captioned chapter 11 case (the “Chapter 11

Case”), respectfully submits this motion (the “Motion”), and in support hereof

states as follows:

                                     PRELIMINARY STATEMENT1

           1.       The Debtor files this motion in the wake of its previously-approved

purchaser (and DIP financer) having terminated both the agreement to purchase

and agreement to provide post-petition financing. Now with a willing buyer, the

Debtor has the opportunity for one last value-maximizing transaction and to avoid

an impending and value-destructive collapse of the success it has achieved thus

far in the Chapter 11 Case. For the reasons set forth herein, the Debtor requests

entry of an order substantially in the form attached hereto as Exhibit A (as the

same may be modified, amended, or supplemented prior to entry, the “GA-ASI


1
    Capitalized terms used, but not defined, in this Preliminary Statement are defined below.

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Sale Order”), on an emergency basis: authorizing the Debtor to enter into that

certain Asset Purchase Agreement, dated as of June 1, 2021, attached hereto as

Exhibit B. In further support of this Motion, the Debtor is filing the Declaration

of Michael C. Fuchs, (the “Fuchs Declaration”) contemporaneously with the filing

of this Motion.

                          JURISDICTION AND VENUE

       2.     The Court has jurisdiction to consider this matter pursuant to 28

U.S.C. §§ 157 and 1334, and the General Order of Reference to Bankruptcy Judges

from the United States District Court for the District of Wisconsin, dated June 12,

1984. This is a core proceeding pursuant to, inter alia, 28 U.S.C. § 157(b)(2)(N).

Venue of the Chapter 11 Case and this Motion is proper pursuant to 28 U.S.C. §§

1408 and 1409.

                              RELIEF REQUESTED

       3.     By this Motion, and pursuant to sections 105(a), 363, 363(b), 363(f),

363(m), 541, and 554(a) of title 11 of the United States Code (the “Bankruptcy

Code”), and Rules 2002(a)(2), 4001, 6004 and 6004(h) of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), the Debtor requests entry of the

GA-ASI Sale Order.




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                                 BACKGROUND

A.     General Background

       4.     On July 29, 2020 (the “Petition Date”), the Debtor commenced this

Chapter 11 Case by filing a voluntary petition for relief under chapter 11 of the

Bankruptcy Code.

       5.     The Debtor is authorized to continue to operate its business and

maintain possession of its property as a debtor and debtor-in-possession pursuant

to sections 1107 and 1108 of the Bankruptcy Code. No request has been made for

the appointment of a trustee or an examiner, and no statutory committee of

creditors has been established in this Chapter 11 Case.

       6.     The Debtor is in the business of developing and patenting a new and

refined process for producing airplane engines that utilize diesel fuels and operate

on materially less fuel than conventional airplane engines, regardless of the fuel

utilized. Additional information regarding the Debtor, including its business

operations, its corporate and capital structure, and the events leading to the

commencement of the Chapter 11 Case is set forth in the Declaration of Michael

J. Fuchs, ECF No. 8 (the “First Day Declaration”).

B.     DIP Financing

       7.     The Debtor commenced the Chapter 11 Case with the goal of

facilitating a sale of substantially all its assets pursuant to section 363 of the

Bankruptcy Code.



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       8.     In connection therewith, the Debtor’s “stalking horse” bidder (the

“Stalking Horse” or “Previous Lender”) proposed to loan post-petition sufficient

funds to the Debtor to allow the Debtor to continue to operate its business in the

ordinary course while it conducted a sale process. See generally ECF No. 5.

       9.     On the Petition Date, the Debtor filed the Motion for Interim and

Final Orders (I) Authorizing the Debtor to Use Cash Collateral; (II) Authorizing

the Debtor to Obtain Senior Secured Postpetition (DIP) Financing; (III) Granting

Liens and Superpriority Administrative Claim Status to the DIP Lender; (IV)

Granting Adequate Protection to the Prepetition Secured Parties; (V) Granting

Related Relief; and (VI) Scheduling a Final Hearing and Establishing Notice

Requirements for a Final Hearing, ECF No. 5, (the “First Financing Motion”),

pursuant to which the Debtor sought the entry of interim and final orders, inter

alia, (a) authorizing the Debtor to use cash collateral, (b) authorizing the Debtor

to obtain post-petition financing from the Previous Lender in the amount of

$2,500,000, (c) granting liens and super-priority administrative claims to the

Previous Lender, and (d) granting adequate protection to certain prepetition

secured creditors.

       10.    The Court granted the First Financing Motion on an interim basis on

August 6, 2020, ECF No. 59, and, four days later, entered the Interim Order

Authorizing Debtor to Obtain Post-Petition Financing and Authorizing Debtor’s

Use of Cash Collateral, ECF No. 73.



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       11.    On September 8, 2020, after extensive hearings, the Court entered

an order, ECF No. 124, approving the First DIP Financing on a final basis (the

“First Financing Order”).

C.     The First Sale Motion

       12.    Parallel with the foregoing borrowing activity, the Debtor undertook

negotiation of an asset purchase agreement (the “First Purchase Agreement”)

with the Stalking Horse, culminating in the filing of the Motion for Order (I)

Authorizing Debtor to Sell All of its Assets Free and Clear of Liens, Claims,

Interests and Encumbrances; (II) Approving Bid Procedures; (III) Approving

Dates and Deadlines Relating to the Debtor’s Sale Process; and (IV) Granting

Related Relief (the “First Sale Motion”), ECF No. 155, on October 15, 2020.

       13.    The First Sale Motion also requested approval of procedures

governing the sale of all assets of the Debtor (the “Bid Procedures”) because a sale

procedure was to ensue following the filing of the First Sale Motion.

       14.    On November 12, 2020, the Court entered an order approving the Bid

Procedures, ECF No. 201, (the “Bid Procedures Order”). An auction, utilizing the

Stalking Horse First Purchase Agreement as a starting point, was ordered to be

held on November 24, 2020 (the “Auction Date”). Id. at 6.

       15.    Pursuant to the Bid Procedures Order, the Debtor marketed its

assets to multiple potential buyers prior to the Auction Date. The potential

bidders who had shown an interest in participating in the auction took part in the

eligibility determination process contemplated by the Bid Procedures Order.

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       16.     One day prior to the Auction Date, the potential buyers who had

shown an interest in participating in the auction notified counsel to the Debtor

that they would not participate in the auction.

       17.     As a result, the Debtor noticed the Court and the parties that there

would be no auction held. ECF No. 206. Accordingly, the Debtor and the Stalking

Horse would seek authorization to proceed towards closing pursuant to the First

Purchase Agreement.

       18.     On December 2, 2020, the Court entered the Order, ECF No. 224 (the

“First Sale Order”), approving the sale of all the Debtor’s assets to the Stalking

Horse pursuant to the First Purchase Agreement.

       19.     The approved First Purchase Agreement contains a condition to the

Stalking Horse’s obligations thereunder that the contemplated sale transaction

“receive[] CFIUS2 clearance.” ECF No. 155, at p. 53 (First Purchase Agreement §

7.1(i)). And, the First Sale Order explicitly provides that “[w]hile the sale is

authorized under §363(b) of the Bankruptcy Code and has the effects provided in

§363(f) & (m), the sale remains subject to all applicable non-bankruptcy laws and

regulations.” ECF No. 224 at 2.



2 The Stalking Horse consists of a group which includes foreign nationals. Accordingly, the sale
requires review and certification by the Committee on Foreign Investment in the United States
(“CFIUS”). CFIUS is an interagency committee that serves the President in overseeing the national
security implications of foreign direct investment in the economy and reviewing transactions for
potential national security risks under the Foreign Investment Risk Review Modernization Act of 2018
(FIRRMA), Title XVII of P.L. 115-232 (August 13, 2018). CFIUS operates pursuant to section 721 of
the Defense Production Act of 1950, as amended (section 721), and as implemented by Executive Order
11858, as amended, and the regulations at chapter VIII of title 31 of the Code of Federal Regulations.
See, 31 C.F.R. Part 800, et. seq.

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D.     Failure to Close Approved Sale

       20.     The Stalking Horse pursued CFIUS approval of the transaction

memorialized by the First Purchase Agreement for several months, and provided

multiple iterations of the proposed sale to respond to CFIUS requests.

       21.     As a result of the extended period of time it was taking to gain CFIUS

approval, and pursuant to the First Financing Order provisions for revising the

terms of the First DIP Financing, the Debtor and the Previous Lender reached

agreement on terms to increase the amount of the First DIP Financing and

lengthen the term over which the financing would be approved (the “First

Stipulation”).

       22.     The First Stipulation was filed with the Court on December 14, 2020.

ECF No. 232. Three days later, the Court entered an order, ECF No. 237,

approving the First Stipulation and authorizing an increase of the First DIP

Financing limit from $2,500,000 to $5,000,000.

       23.     As the CFIUS approval process continued without resolution3, the

Debtor and the Stalking Horse/Previous Lender entered into a second stipulation,

ECF No. 298, (the “Second Stipulation”) acknowledging that the CFIUS approval



3 On February 12, 2021, CFIUS notified the parties that it had identified risks to the national security
of the United States arising as a result of the transaction contemplated by the First Purchase
Agreement and was prepared to present to the President of the United States its opinion that the
transaction approved in the First Sale Order posed a national security concern sufficient to warrant
rejection of the transaction. On February 24, the Debtor and the Stalking Horse proposed to CFIUS
certain mitigation strategies to reduce the CFIUS-identified risks. On February 26, CFIUS delivered
a nine-page written report of its findings, but nonetheless provided that it was, at that time, still
considering the proposed risk-mitigation strategies.


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process was materially delaying the sale closing, and that the delay in closing thus

necessitated reconsideration of the amount of the financing necessary to fund the

Debtor to the new closing date.

       24.    The Court approved the Second Stipulation on April 8, 2021 by entry

of an order, ECF No. 306, (the “Third Financing Order”), which authorized an

additional increase in the First DIP Financing limit from $5,000,000 to

$7,500,000.

       25.    Although the Court entered the Third Financing Order, the Stalking

Horse/Previous Lender failed to loan any additional funds to the Debtor.

       26.    Eventually, the Debtor and Stalking Horse learned of CFIUS’s

determination that the contemplated transaction will not receive CFIUS

Clearance. Accordingly, the Debtor and the Stalking Horse jointly submitted a

Request to Withdraw the Joint Voluntary Notice with Respect to CFIUS Case 21-

043: 51619 LLC (United States, UBO: China)/Certain Assets of Engineered

Propulsion Systems, Inc. dated as of April 20, 2021.

       27.    On April 28, 2021, the Stalking Horse/Previous Lender delivered to

the Debtor a Notice of Termination of Asset Purchase Agreement Dated as of

October 15, 2020, by which it terminated the First Purchase Agreement due to its

inability to close by the deadline. The same day, the Stalking Horse/Previous

Lender delivered to the Debtor a notice that it was terminating the First DIP

Financing (despite Court orders approving the financing) and would not make any

additional advances.

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D.     Contact with Alternative Funding Sources

       28.    Throughout the sale process, and in accordance with the Bid

Procedures Order, the Board of Directors of the Debtor had authorized

management to work with parties who had previously shown interest in the

company to develop a “back-up bid” in the event that Stalking Horse was unable

to close the First Purchase Agreement.

       29.    One such interested party was General Atomics Aeronautical

Systems, Inc. (“GA-ASI”). Others who had shown interest prior to the auction

were Squadron Capital, LLC (“Squadron”), and Cummins Inc. (“Cummins”).

       30.    Before the First Purchase Agreement was formally terminated by the

Stalking Horse, and as part of the effort to propose solutions to mitigate any risk

identified by CFIUS, the Debtor contacted counsel for GA-ASI, Squadron, and

Cummins in an effort to determine whether any of them would be willing to step

into the ownership role of the foreign parties (who were rejected by CFIUS) to

facilitate salvaging the Court-approved sale.

       31.    Squadron initially expressed interest in a potential transaction, but

eventually declined to pursue the process. Cummins also declined to enter into a

transaction with the Debtor.

       32.    After additional discussions, on April 30, 2021, the Debtor received

an offer from GA-ASI to acquire assets from the Debtor. The Debtor swiftly

entered into negotiations with GA-ASI, and received an amended offer which the

Debtor and GA-ASI memorialized in an Asset Purchase Agreement dated as of

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June 1, 2021 (as may be amended, modified and/or supplemented from time to

time, the “APA”).

       Terms of Sale

       33.    The Debtor proposes to sell the substantial majority of its tangible

and intangible assets, as more particularly described in the APA, and briefly

described below:

       34.    The terms of the sale under the APA may be summarized as follows:

              a. Assets: The Property consists of the substantial majority of the
                 Debtor’s assets, whether tangible or intangible; whether choate or
                 inchoate; and whether present or future, except as noted in the APA.
                 There are no material assets exempted from the foregoing list.

              b. Liabilities: Other than the satisfaction of the Debtor’s obligations to
                 certain equipment finance lenders, as more particularly described
                 below, GA-ASI is not assuming any debts, obligations or other
                 liabilities of the Debtor pursuant to the APA.

              c. Assumption and Assignment of Executory Contracts: By separate
                 motion, the Debtor may seek authority to assume and assign certain
                 specified executory contracts and unexpired leases to GA-ASI.

              d. GA-ASI Sale Order: The APA provides that the GA-ASI Sale Order
                 must be acceptable to GA-ASI in all respects in its sole and absolute
                 discretion.

              e. Free and Clear: The APA provides that the GA-ASI Sale Order must
                 provide for GA-ASI to acquire the Debtor’s assets free and clear of all
                 liens, claims, encumbrances and other interests of any other party, in
                 accordance with the provisions of 11 U.S.C. § 363(f)(1)-(5).




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                    f. Purchase Price: The aggregate purchase price of $2,687,409.004 is
                       comprised of the following:

                                  i.     cash equal to $1,034,399.00, a portion of which will be
                                         paid by GA-ASI to the Debtor prior to Closing in the form
                                         of one or more deposits in such amounts and on such
                                         dates to be reasonably agreed between GA-ASI and the
                                         Debtor, and with the remainder to be paid at Closing; and

                                 ii.     the satisfaction at Closing of the sum due to the three
                                         secured equipment lenders (estimated at $1,653,010.00) of
                                         the Debtor’s obligations (provided, however, that to the
                                         extent the Debtor’s obligations to the three secured
                                         equipment lenders as of the Closing are less than
                                         $1,653,010, then the difference between $1,653,010 and
                                         such lesser amount shall be credited against the Purchase
                                         Price and any amounts otherwise payable by GA-ASI at
                                         the Closing and provided, however, that to the extent the
                                         Debtor’s obligations to the three secured equipment
                                         lenders as of the Closing is more than $1,653,010, then the
                                         difference between $1,653,010 and such larger amount
                                         shall increase the Purchase Price payable by GA-ASI as
                                         set forth in APA section 2.2 (a)1. and 2.

                    g. Closing: Customary for transactions of this type, including an
                       outside date for consummation of the sale transaction (“Closing”) of
                       no later than July 15, 2021.

                                          Basis for Relief Requested

           35.      Section 363(b)(1) of the Bankruptcy Code, made applicable to Chapter

11 proceedings by section 103(a), provides that “[t]he trustee, after notice and a




4
    Subject to modification as set forth in the APA.

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hearing, may ... sell ..., other than in the ordinary course of business, property of

the estate.” 11 U.S.C. § 363(b)(1).

       36.    In determining whether a court should resort to a sale, a court should

“consider the existing circumstances and exercise its discretion as to whether a

sale should be ordered and, if so, upon what terms and conditions.” Marathon

Foundry and Machine Co. v. Schwartz (In re Marathon Foundry and Machine

Co.), 228 F.2d 594, 598 (7th Cir.1955). The factors set forth in Committee of Equity

Security Holders v. Lionel Corp. (In re Lionel Corp.), 722 F.2d 1063, 1071 (2nd

Cir.1983), are relevant in determining whether to resort to § 363(b). Gekas v.

Pipin (In re Met–L–Wood Corp.), 861 F.2d 1012, 1017 (7th Cir.1988).

       37.    The Debtor respectfully asserts that the sale price and procedures are

reasonable and fair. The Debtor has been a debtor for nearly a year and, after a

complicated sale process to the Stalking Horse, the value-maximizing sale was

terminated due to no fault of the Debtor’s.

       38.    GA-ASI is the only party willing to acquire the Debtor’s assets. There

are no other potential bidders and no viable alternative for the Debtor other than

consummation of the sale to GA-ASI. Approval of the sale will provide the Debtor

with just enough liquidity to conclude this case in an orderly fashion. Absent the

relief requested in this Motion, the Debtor faces almost certain administrative

insolvency and a conversion to Chapter 7.




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       39.    Based on the specific circumstances of this Chapter 11 Case, the fair

and reasonable purchase price to be paid by GA-ASI, and the arms’-length, good-

faith negotiations that have animated the Debtor’s dealings with GA-ASI, the

Debtor submits that there is ample justification for entry of the GA-ASI Sale

Order.

                        Waiver of Stay Under Rule 6004(h)

       40.    The Debtor also requests that the Court waive the 14-day stay

imposed by Bankruptcy Rule 6004(h) in connection with its entry of the GA-ASI

Sale Order. As described above, the relief that the Debtor seeks in this Motion is

necessary for approval of a quick sale pursuant to the terms of the APA.

Accordingly, the Debtor respectfully requests that the Court waive the stay

imposed by Bankruptcy Rule 6004(h) as the exigent nature of the relief sought

herein justifies immediate relief.

       WHEREFORE, the Debtor respectfully requests that the Court enter the

GA-ASI Sale Order and grant such other and further relief as the Court may deem

proper.




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Dated June 1, 2021.
                                      STEINHILBER SWANSON LLP
                                      Attorneys for the Debtor

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                                EXHIBIT A




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                   UNITED STATES BANKRUPTCY COURT
                 FOR THE WESTERN DISTRICT OF WISCONSIN

In re: ENGINEERED PROPULSION SYSTEMS, INC.,                  Case No. 20-11957-gmh

                           Debtor.                                 Chapter 11


        ORDER AUTHORIZING SALE OF ASSETS UNDER 11 U.S.C. §363


        Upon the motion (the “Motion”) of the above-captioned debtor (the “Debtor”)

for entry of an order (this “Sale Order”) approving the sale (“Sale”) of certain assets

of the Debtor (the “Assets”) free and clear of all Liens (as defined below) to General

Atomics Aeronautical Systems, Inc. (together with its successors, designees and

assigns, the “Buyer”); and it appearing that Buyer has submitted the highest or

otherwise best bid for the Assets; and upon adequate and sufficient notice of the

Motion, the Agreement, and the Sale; and the Court having reviewed and

considered the Motion and all relief related thereto and any objections thereto; and

upon the full record in support of the relief requested by the Debtor in the Motion;

and this Court having jurisdiction to enter a final order approving the Sale and the




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Agreement consistent with Article III of the United States Constitution; and after

due deliberation thereon, and good and sufficient cause appearing therefor,

THE COURT HEREBY FINDS THAT:

        A.       Notice of the Sale Hearing and Transaction was timely, proper, and

reasonable.

        B.       The agreement that governs the Sale (the “Agreement”1), attached to

this Sale Order as Exhibit 1, was negotiated, proposed, and entered into by the

Debtor and the Buyer without collusion, in good faith, and from arm’s-length

bargaining positions. Neither the Debtor nor the Buyer has engaged in any conduct

that would cause or permit the Sale to be avoided under Bankruptcy Code section

363(n). The Buyer is a good faith buyer within the meaning of section 363(m) of the

Bankruptcy Code and is not an “insider” of the Debtor.

        C.       The conditions of section 363(f) of the Bankruptcy Code have been

satisfied with respect to each and every lien (as that term is defined in section

101(37) of the Bankruptcy Code), including the DIP Liens2, and other encumbrance

that has been or could be asserted with respect to the Assets, (collectively, “Liens”).



1
 Capitalized terms used but not otherwise defined herein have the meanings given to them in the Motion or the
Agreements.
2“DIP Liens” has the meaning assigned to it in this Court’s Final Order: (I) Authorizing the Debtor to Use
Cash Collateral; (II) Authorizing the Debtor to Obtain Senior Secured Postpetition (DIP) Financing; (III) Granting
Liens and Superpriority Administrative Claim Status to the DIP Lender;(IV) Granting Adequate Protection to the
Prepetition Secured Parties; and (V) Granting Related Relief, dated September 8, 2020, ECF No. 124 (the “First
DIP Order,” and, collectively with the further orders of the Court dated December 17, 2020, ECF No. 237,


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        D.      There is sufficient cause to lift the stay contemplated by Bankruptcy

Rules 6004(h) and 6006(d) with regard to the transactions contemplated by this Sale

Order.

         THE COURT HEREBY ORDERS THAT:

        1.      The Agreement, all other ancillary documents, the Sale, and all other

relief requested in the Motion are hereby approved, pursuant to sections 105(a), 363,

and 365 of the Bankruptcy Code and Bankruptcy Rules 2002, 6004, and 6006.

        2.      Any objections to the Motion that have not been withdrawn, waived, or

settled are hereby denied with prejudice. Parties that did not object, or withdrew

their objection, to the Motion have consented to the Sale pursuant to Bankruptcy

Code section 363(f)(2).

        3.      Pursuant to Bankruptcy Code sections 105(a), 363, and 365, the Debtor

is authorized to transfer the Assets to the Buyer in accordance with the terms of the

Agreement. Such transfer shall constitute a legal, valid, binding, and effective sale

and shall vest the Buyer with title to the Assets. The transfer of the Assets is free

and clear of all Liens, claims, or other interests of any kind or nature whatsoever,

with all such Liens, claims, or other interests to attach to the cash proceeds of the




and April 8, 2021, ECF No. 306, the “DIP Orders”). In the event of any conflict between this Sale Order
and the terms of the DIP Orders, this Sale Order controls.


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Purchase Price ultimately attributable to the property against or in which such

Liens, claims, or other interests are asserted.

        4.     The Court shall retain exclusive jurisdiction to, among other things,

interpret, implement, and enforce the terms and provisions of this Sale Order and

the Agreement, all amendments thereto, and any waivers and consents thereunder,

and to adjudicate any and all disputes concerning or relating in any way to the Sale.

        5.     To the extent that this Sale Order is inconsistent with any prior order or

pleading with respect to the Motion in this chapter 11 case, the terms of this Sale

Order shall govern.

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                                EXHIBIT B




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                      ASSET PURCHASE AGREEMENT

                            dated as of June 1, 2021,

                                by and between

                General Atomics Aeronautical Systems, Inc.,

                                  as the Buyer

                                      and

                      Engineered Propulsion Systems, Inc.,

                                  as the Seller




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                        ASSET PURCHASE AGREEMENT

       THIS ASSET PURCHASE AGREEMENT (this “Agreement”) is entered into
as of June 1, 2021, by and between General Atomics Aeronautical Systems, Inc.
(together with its successors, designees and assigns, the “Buyer”) and Engineered
Propulsion Systems, Inc., a Delaware corporation (hereinafter referred to as the
“Seller,” and together with the Buyer, the “Parties,” and each, a “Party”).

                                     RECITALS

       WHEREAS, the Seller is engaged in the business of research and development,
as well as the design and engineering of aviation propulsion systems (the “Business”)
and is operating the Business as “debtor-in-possession” under chapter 11 bankruptcy
proceedings (the “Chapter 11 Case”) filed on July 29, 2020 (the “Petition Date”) in the
United States Bankruptcy Court for the Western District of Wisconsin (the “Court”),
in Case No. 20-11957;

        WHEREAS, the Buyer is a Delaware corporation;

       WHEREAS, the Seller previously sought to sell certain assets of the Business
(the “Prior Proposed Transaction”) to EPS Engineered Propulsion Systems, Inc. (the
“Prior Proposed Purchaser”) pursuant to a sale agreement (the “Prior Transaction
Agreement”) that was approved by the Court pursuant to that certain Order
Authorizing Asset Sale Under 11 U.S.C. §363 dated December 2, 2020 [Docket No. 224]
(the “Prior Sale Order”);

       WHEREAS, on April 28, 2021, the Prior Proposed Purchaser provided written
notice to Seller of its termination of the Prior Proposed Transaction;

       WHEREAS, on April 28, 2021, the Prior Proposed Purchaser provided written
notice to Seller that (i) the debtor-in-possession loan facility previously approved in
the DIP Order has been terminated and (ii) the funds are no longer be available to
Seller under such facility;

      WHEREAS, Seller therefore approached other prospective purchasers,
including Buyer, about acquiring certain assets of the Business);

       WHEREAS, Buyer is the only prospective purchaser that has expressed an
interest in purchasing the Purchased Assets (as defined below) on terms acceptable
to the Seller;



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       WHEREAS, the Buyer desires to purchase the Purchased Assets, and the Seller
desires to sell and transfer to the Buyer the Purchased Assets pursuant to Section 363
(b) and (f) of the Code (as defined below), free and clear of all Liens (as defined below);

        WHEREAS, other than the Purchased Assets, the Buyer is not offering to
purchase any other assets of the Seller and such other assets shall remain with the
Seller;

      WHEREAS, the Seller will seek entry of the New Sale Order (as defined below)
authorizing the Seller to consummate the Contemplated Transactions (as defined
below) pursuant to the terms and subject to the conditions set forth in this Agreement
and in the New Sale Order;

       WHEREAS, the board of directors or other applicable governing body of the
Seller has determined that it is advisable and in the best interests of the Seller’s estate
and the beneficiaries of such estate to consummate the Contemplated Transactions
provided for herein pursuant to the New Sale Order, and has, therefore, approved the
Contemplated Transactions and this Agreement; and

       WHEREAS, the Contemplated Transactions are subject to the approval of the
Court and will be consummated only upon or following entry of the New Sale Order
by the Court.

       NOW, THEREFORE, in consideration of the foregoing recitals and the mutual
agreements and covenants contained herein, the receipt and sufficiency of which are
hereby acknowledged, and subject to the approval of the Court under such
procedures and according to such timing as the Court may direct, the Buyer and the
Seller hereby agree as follows:

                                 ARTICLE I
                        PURCHASE AND SALE OF ASSETS

       1.1    Defined Terms. Capitalized terms used herein have the meanings set
forth in Section 6.1 hereof.

      1.2    Purchased Assets. Pursuant to Sections 105, 363 and 365 of the Code,
pursuant to the terms and subject to the conditions of this Agreement, and in reliance
upon the representations, warranties, covenants and agreements made in this
Agreement by the Seller and the Buyer, the Buyer hereby agrees that it shall purchase,
accept and acquire from the Seller, at the Closing, and the Seller shall sell, transfer,
convey, assign and deliver to the Buyer, at the Closing, the assets, properties, both
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real and personal, rights and interests of the Seller, whether tangible or intangible,
and wherever located, described below (the “Purchased Assets”), free and clear of all
Liens:

        (a)    all raw material inventories of whatever kind, including, without
               limitation, supplies and accessories used in the Business that are owned
               by the Seller as of the date of the Closing, including all rights of the Seller
               to receive such raw material inventories (the “Inventories”);

        (b)    all equipment, appliances, industrial artwork, computers, computer
               terminals and printers, engine testing hardware and software, factory
               machinery, tooling, fixtures and equipment, tools, all materials handling
               and, and all other tangible personal property of every kind and
               description, located in the Hangars owned by Seller or in the possession
               of any vendor to Seller (hereinafter, the “Equipment”), including all such
               Equipment listed on Schedule 1.2(b); provided that such Equipment
               includes software only to the extent of Seller’s rights, if any, in such
               software as of the Closing Date;

        (c)    the contracts, leases, subleases, arrangements, commitments, and other
               agreements of the Seller, including, without limitation, customer
               agreements, vendor agreements, purchase orders, sales orders,
               installation and maintenance agreements, hardware lease or rental
               agreements, and other arrangements and understandings related to the
               Business, as more specifically described in Sections 1.3 and 2.3, below;

        (d)    all work in progress of the Business, in whatever stage of completion and
               wherever located (the “Work-in-Progress”) as of the date of the Closing,
               including, without limitation, that which is specifically described on
               Schedule 1.2 (d);

        (e)    all Intellectual Property, and all goodwill associated with the Business,
               including, without limitation, that which is specifically described on
               Schedule 3.11(a), along with all associated licenses and sublicenses
               grantedi and obtained with respect thereto and rights thereunder,
               remedies against infringements thereof and rights to protection of
               interests therein under the laws of all jurisdictions and all rights under
               any confidentiality agreements executed by any third party for the
               benefit of the Seller to the extent relating to the Purchased Assets and/or
               Assumed Liabilities, and all Records related to Intellectual Property,
               including any legal files maintained by Seller or its counsel;
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        (f)    to the extent legally transferable, all qualifications, registrations, filings,
               privileges, immunities, certifications, accreditations, consents, licenses,
               permits, authorizations and approvals of Governmental Entities and
               non-Governmental Entities, which are used or required, authorizing the
               Seller to own and operate the Business, including, without limitation, all
               certificates of occupancy and certificates, licenses and permits relating to
               zoning, building, housing, safety, Environmental Laws, fire and health
               (the “Permits”);

        (g)    all Records of the Business related to the creation and development of
               the Purchased Assets, but the remainder of the Records of the Business
               not so related are deemed to be Excluded Assets, subject to the access
               provisions of Section 5.9, below;

        (h)    all sales, marketing and development and expansion plans, strategic
               plans, projections, studies, reports and other documents and data
               (including, without limitation, creative materials, advertising and
               promotional matters, and current and past lists of customers, suppliers,
               vendors, and sources), and all training materials and marketing
               brochures, in each case, related to the Business;

        (i)    all the Seller’s rights and remedies on and after the Closing Date, under
               warranty or otherwise, against a manufacturer, vendor, supplier,
               contractor, or other Person for any defects in any Purchased Asset
               and/or Assumed Liabilities;

        (j)    all causes of action, choses in action, lawsuits, judgments, claims,
               refunds, rights of recovery, rights of set-off, counterclaims, defenses,
               demands, warranty claims, rights to indemnification, contribution,
               advancement of expenses or reimbursement, or similar rights of the
               Seller (at any time or in any manner arising or existing, whether choate
               or inchoate, known or unknown, now existing or hereafter acquired,
               contingent or noncontingent) and rights of recovery with respect to any
               of the foregoing, but any such rights, causes of action, choses in action,
               lawsuits, judgments, claims, refunds, rights of recovery, rights of set-off,
               counterclaims, and defenses arising under Chapter 5 of Title 11, U.S.C.
               are specifically deemed to be Excluded Assets;

        (k)    the Hangars;

        (l)    Reserved;
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        (m)    all Accounts Receivable of the Seller as of the Closing;

        (n)    without duplication of the above, all deposits (including, without
               limitation, deposits in transit, customer deposits and security deposits
               for rent, electricity, telephone, utilities or otherwise) and other prepaid
               charges and expenses of the Seller, but specifically excluding any
               Advance Deposits, retainer payments or analogous monies deposited
               with or paid to any legal counsel for the Seller;

        (o)    all rights of the Seller under any non-disclosure or confidentiality,
               noncompete, or non-solicitation agreements with current or former
               employees, directors, consultants, independent contractors, and agents
               of the Seller to the extent relating to the Purchased Assets and/or the
               Assumed Liabilities (or any portion thereof);

        (p)    the amount of, and all rights to any, insurance proceeds received by the
               Seller after the date hereof in respect of (i) the loss, destruction, or
               condemnation of any of the Purchased Assets, occurring on or after the
               Closing or (ii) any Assumed Liabilities; and

        (q)    Reserved;

        (r)    all testing and analytical data and files generated out of or in connection
               with the Seller’s prime contracts with the United States Air Force.

      All assets owned by the Seller that are not included within the list of Purchased
Assets, and specifically all Records of the Business that are not Purchased Assets, shall
remain the assets of the Seller following the consummation of the Contemplated
Transactions (the “Excluded Assets”).

        1.3    Assumption of Assumed Liabilities.

               (a)    Pursuant to the terms and subject to the conditions of this
Agreement and the New Sale Order, at the Closing, the Buyer shall assume from the
Seller, and the Seller shall irrevocably convey, transfer, and assign to the Buyer, the
Liabilities under contracts, notes, and obligations assumed by the Buyer that are
specifically listed on Schedule 1.3(a), if any (the “Assumed Liabilities”).

               (b)    Not earlier than five (5) days prior to the Closing, nor less than two
(2) days prior to the Closing, the Buyer shall deliver to the Seller the Exhibits to Schedule
1.3(a), hereof, setting forth the specific contracts and obligations being assumed, if any.
The Buyer’s obligation hereunder is to assume all obligations categorized in Schedule
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1.3(a), and the Exhibits to that Schedule that shall provide the detail of the liabilities
being assumed.

        1.4   Excluded Liabilities. Notwithstanding anything herein to the contrary,
the Parties expressly acknowledge and agree that the Buyer shall not assume, be
obligated to pay, perform or otherwise discharge or in any other manner be liable or
responsible for any Liabilities of the Seller, whether existing on the Closing Date or
arising thereafter, other than the Assumed Liabilities (all Liabilities, other than the
Assumed Liabilities, being referred to collectively as the “Excluded Liabilities”). For
the avoidance of doubt, “Excluded Liabilities” shall include, without limitations, any
Liabilities, debts or obligations of the Seller of any kind whatsoever (including the
DIP Obligations, the DIP Liens, any obligations of Seller to the Equipment Finance
Lenders other than those obligations expressly set forth in Section 2.2, and any Liens
asserted by the Equipment Finance Lenders), that is in existence at the time of the
Closing, whether actual, contingent, accrued, known or unknown, including, without
limitation, any relating to interest-bearing debt, interest and termination penalties on
indebtedness, taxes, employee compensation, severance, pension, profit-sharing,
health insurance, disability insurance or other employee benefit plans and programs,
worker’s compensation, breach or negligent performance of any contract, or breach
of warranty relating thereto, Liabilities resulting from breach of contract, torts
(including, without limitation, product liability claims), illegal activity, unlawful
employment or business practice, infringement of intellectual property rights, claim
for environmental liability or remediation or any other Liability or obligation
whatsoever. All Excluded Liabilities shall remain the responsibility of the Seller,
which shall pay and discharge the same when and as due and shall be restricted as
liability against the Seller under Section 363(f) of the Code.

                                      ARTICLE II

                                  PURCHASE PRICE

       2.1    Closing. The closing (the “Closing”) of the purchase and sale of the
Purchased Assets shall take place at the offices of Steinhilber Swanson LLP, or at such
other place and manner, including remotely by electronic exchange of counterpart
signature pages, as the Parties may agree on or before (a) five (5) days following full
satisfaction or due waiver (by the Party entitled to the benefit of such condition) of
the closing conditions set forth in Article VII (other than conditions that by their terms
or nature are to be satisfied at the Closing, but subject to the satisfaction or waiver of
those conditions), or (b) at such other date and time as the Parties may agree (the
“Closing Date”).

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        2.2    Purchase Price.

        (a)    The aggregate purchase price (the “Purchase Price”) for the Purchased
               Assets shall be composed of the following: (i) cash equal to $1,034,399.00,
               a portion of which will be paid by Buyer to Seller prior to Closing in the
               form of one or more deposits in such amounts and on such dates to be
               reasonably agreed between Buyer and Seller, and with the remainder to
               be paid at Closing; (ii) assumption by the Buyer of the Assumed Liabilities,
               if any, and (iii) the satisfaction of up to $1,653,010.00 of the Seller’s
               obligations to the Equipment Finance Lenders as of the Closing Date;
               provided, however, that to the extent the Seller’s obligations to the
               Equipment Finance Lenders as of the Closing Date are less than
               $1,653,010.00, then the difference between $1,653,010.00 and such lesser
               amount shall be credited against the Purchase Price and any amounts
               otherwise payable by Buyer at the Closing Date.

               1. The Purchase Price is subject to increase by an amount not more than
                  the Purchase Price Cushion if (x) the Seller’s obligations to the
                  Equipment Finance Lenders as of the Closing are greater than the
                  amount set forth in Section 2.2(a)(iii) and/or (y) the Debtor’s utility
                  bills, insurance premium, professional fees or other expenses exceed
                  the budgeted amounts set forth on Schedule 2.2.

               2. In the event that the amounts described in Section 2.2(a)(1) exceed the
                  Purchase Price Cushion, then the Buyer may elect to increase the
                  Purchase Price to fund such additional amounts or terminate this
                  Agreement pursuant to Section 8.1(j).

        (b)    At the Closing, Buyer shall pay to Seller cash equal to $2,687,409.00 less any
               deposit(s) previously paid by Buyer to Seller in accordance with Section
               2.2(a)(i). Buyer shall satisfy the Purchase Price as to any Assumed
               Liabilities described in Schedule 1.3(a) by assuming such Assumed
               Liabilities pursuant to the Assignment, Assumption and Bill of Sale (as
               defined below).

        (c)    The Purchase Price shall be allocated as set forth on Schedule 2.2.

        2.3    Pre-Closing Deliveries by Buyer; Assumed Contracts and Leases.



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        (a)    Schedule 2.3(a) sets forth a list of all executory contracts and unexpired
               leases to which the Seller is a party. Prior to Closing, Seller will certify that
               such list is complete and accurate or provide an update to make such list
               complete and accurate.

        (b)    Schedule 2.3(b) sets forth a complete list of the executory contracts and
               unexpired leases that the Buyer wishes for the Seller to assume and assign
               to the Buyer under Section 365 of the Code (the “Assumed Contract List”).
               Buyer may remove any contract or lease from the Assumed Contract List
               at any time prior to the date that is two (2) days before the Closing. Buyer
               may add any contract or lease to the Assumed Contract List at any time
               prior to the date that is two (2) days before the Closing (whereupon Seller’s
               obligations set forth in Section 2.3(c) shall also apply to such additional
               contracts or leases).

        (c)    The Seller shall promptly take all reasonable and necessary steps to file
               and pursue the assumption and assignment of the contracts and leases set
               forth on the Assumed Contract List to the Buyer, and to undertake such
               negotiations with the relevant contract counterparties, including any
               landlords, to effectuate the assumption and assignment of such contracts
               and leases to the Buyer.

        (d)    The Closing shall not be contingent upon the assumption and assignment
               of the contracts and leases on the Assumed Contract List; it being the duty
               of the Seller to use its best efforts to assume and assign such contracts and
               leases. Notwithstanding the foregoing, in the event the Seller is unable to
               assign such contracts and leases to the Buyer pursuant to an order of the
               Court, then the parties shall use their commercially reasonable efforts to
               obtain, and to cooperate in obtaining, all consents from third parties
               necessary to assume and assign such contracts and leases to the Buyer.

        (e)    Reserved.

       2.4   Closing Deliveries by the Seller. At the Closing, the Seller shall deliver
the following documents or other items, duly executed by the Seller, as necessary, to
the Buyer:

        (a)    the Assignment, Assumption and Bill of Sale in substantially the form of
               Exhibit A (the “Assignment, Assumption and Bill of Sale”), conveying
               to the Buyer, the Purchased Assets, free and clear of all Liens, and the
               Assignment & Assumption of Hangar Lot Leases and the Hangar Bill of Sale
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               and Assignment, each substantially in the forms of Exhibits B-1 and B-2,
               conveying the Hangars to the Buyer;

        (b)    a certificate of the President of the Seller certifying as to the incumbency
               of the Seller’s officer who is authorized to execute the Assignment,
               Assumption and Bill of Sale;

        (c)    a certified copy of the New Sale Order from the Court approving the
               terms of the sale;

        (d)    instruments of assignment in form and substance to be agreed to by the
               parties in their reasonable discretion for each registered trademark and
               patent, respectively, transferred or assigned hereby and for each
               pending application therefor, and general assignments of all other
               Intellectual Property of the Seller;

        (e)    such other bills of sale, special deeds, completed transfer tax returns, title
               affidavits, assignments of leases, endorsements, assignments and other
               good and sufficient instruments of conveyance and transfer, in form
               reasonably satisfactory to the Buyer (in each case signed and
               acknowledged as appropriate), as the Buyer may reasonably request to
               vest in the Buyer all the right, title and interest of the Seller in, to or under
               any or all the Purchased Assets; provided that all of the reasonable and
               documented out-of-pocket post-Closing costs incurred by the Seller in
               preparing and delivering the foregoing shall be borne by the Buyer and
               paid promptly after demand therefor and receipt of supporting invoices;

        (f)    originals (or, to the extent originals are not available, copies) of all
               Assumed Contracts (together with all material amendments,
               supplements or modifications thereto) to the extent not otherwise
               already made available to the Buyer;

        (g)    physical possession of all of the Purchased Assets capable of passing by
               delivery with the intent that title in such Purchased Assets shall pass by
               and upon delivery;

        (h)    certificates of title and title transfer documents to all titled aircraft, if any,
               included within the Purchased Assets;

        (i)    a certificate of the President of the Seller certifying that any EPS
               proprietary property, both tangible and intangible, has been destroyed

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               (in the case of tangible property) or has been erased and over-written (in
               the case of intangible and Intellectual Property);

        (j)    all other previously undelivered certificates, agreements and other
               documents, instruments and writings reasonably requested by the Buyer
               to be delivered by the Seller at or prior to the Closing pursuant to this
               Agreement; and,

        (k)    such other documentation as the parties may reasonably agree is
               necessary to convey good and merchantable title to the Buyer.

       2.5   Closing Deliveries by the Buyer. At the Closing, the Buyer shall deliver
the following documents or other items, duly executed by the Buyer, as necessary, to
the Seller:

        (a)    an executed copy of the Assignment, Assumption and Bill of Sale;

        (b)    a certificate of an officer of the Buyer certifying as to the incumbency of
               the Buyer’s officer who is authorized to execute the Assignment,
               Assumption and Bill of Sale; and,

        (c)    all other documents reasonably requested by counsel for the Seller to
               consummate the transactions herein contemplated.

       2.6     Sales, Transfer and Property Taxes. The Seller shall pay from sale
proceeds, at Closing, all transfer, sales, purchase, use, value added, excise or similar
tax imposed under the laws of the United States, or any state or political subdivision
thereof, which arises out of the transfer by the Seller to the Buyer of any of the
Purchased Assets, subject to any exemption therefrom contained in the Code. The
Seller shall also pay from sale proceeds, at Closing, all delinquent personal property
taxes for the year, if any.

                                      ARTICLE III

                LIMITED REPRESENTATIONS AND WARRANTIES
                              OF THE SELLER

       To induce the Buyer to enter this Agreement, the Seller makes the following
limited representations and warranties to the Buyer (which representations and
warranties shall survive the Closing), each of which shall be deemed to be
independently material and relied upon by the Buyer, regardless of any investigation
made by, or information known to, the Buyer.
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      3.1     Organization; Authorization. The Seller is a Delaware corporation and,
as such, has the necessary power and authority to enter and perform the transactions
contemplated hereby in accordance with the terms and conditions hereof, subject to
approval by the Court. The execution and delivery of this Agreement, and the
performance by the Seller of its obligations contained herein, when approved by the
Court, have been duly authorized by all corporate actions.

      3.2    Enforceability. This Agreement and all other agreements of the Seller
contemplated hereby are or, upon the approval of the Court and upon the execution
and delivery of this Agreement, will be the valid and binding obligations of the Seller,
enforceable against it in accordance with their terms.

      3.3     Title to Assets. To the Seller’s Knowledge, as of immediately prior to the
Closing, the Seller has good and marketable fee simple title to all the Purchased Assets
and following entry of the New Sale Order approving the sale of the Purchased
Assets, such title may be conveyed to Buyer, free and clear of any Liens.

       3.4   Third-Party Consents. Except for the approval of the Court, the Seller
has no knowledge of any third-party consents, approvals, or authorizations necessary
for the execution and consummation of the transactions contemplated hereby, or of
any such consents, approvals or authorizations that are required for any of the
Purchased Assets to be conveyed to the Buyer.

       3.5     Litigation. Except as disclosed in the papers filed by the Seller with the
Court as part of its bankruptcy filing, there is no litigation, claim, proceeding, or
investigation pending, or, to the Seller’s knowledge, threatened against or relating to
the Seller, its properties or Business, or the Seller’s ability to perform its obligations
under this Agreement. The parties understand that the automatic stay will become
or became effective against any such action brought or threatened against the Seller
when the Chapter 11 Case was filed and that it prohibits any further litigation against
the Seller outside of the context of the Chapter 11 Case.

     3.6    Authorization. The Court has jurisdiction to authorize the Seller to
convey the assets to the Buyer pursuant to applicable bankruptcy law.

       3.7   Purchased Assets. The Seller makes no representation or warranty to
the Buyer concerning the condition or merchantability of the Purchased Assets to be
sold to the Buyer herein. The Buyer has satisfied itself that the Purchased Assets
include all the assets it believes are necessary to carry on the operations of the
Business as the Buyer, in its sole discretion, intends to carry it out. The Buyer is
purchasing all the Purchased Assets in their current condition, “as is, where is”, on
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the Closing Date, and without any representation or warranty from the Seller that
such Assets are usable in the ordinary course of business, are good and merchantable,
or free from material defects.

        3.8    Reserved.

       3.9    Compliance with Laws. To the Seller’s Knowledge, the Seller is in
compliance with all Laws applicable to the Business or the Purchased Assets in all
material respects. As of the date hereof, the Seller has not received any written notice
of violation of any Law with respect to the Seller, the Business or the Purchased Assets
and there is no reasonable basis for the issuance of any such notice or the taking of
any action for such violation. The Seller has been contacted by the United States
Department of Treasury on behalf of CFIUS regarding its historical financing matters.
There has been correspondence related to the same, but no allegation or other
indication that the Seller is in violation of any applicable Law.

        3.10 Contracts. Except as set forth on Schedule 3.10, Seller has not assigned,
delegated, or otherwise transferred to any third party any of its rights or obligations
with respect to any executory contract or unexpired lease listed on Schedule 2.3(a).
The Seller has not, and, to the Seller’s Knowledge, no other party to any executory
contract or unexpired lease has, commenced any action against the Seller and the
Seller has not given or received any written notice of any material default or violation
under any executory contract or unexpired lease that has not been withdrawn or
dismissed. To the Seller’s Knowledge, each executory contract or unexpired lease to
be assumed and assigned to the Buyer is, or will be upon the Closing valid, binding
and in full force and effect in accordance with its terms. There is not, and upon the
Closing there will not be, any Cure Amount due with respect to any Assumed
Contract. For the avoidance of doubt, after the Closing, the Seller may assume or reject
any executory contracts and unexpired leases not on the Assumed Contract List in the
Seller’s discretion.

        3.11. Intellectual Property. Schedule 3.11(a) sets forth a true and complete list
of (i) all Intellectual Property that is owned, or purported to be owned, by the Seller
(“Seller-Owned IP”), (ii) all executory contracts pursuant to which any Seller obtains
the right to use any Intellectual Property, and (iii) all material contracts pursuant to
which any Seller grants to any other Person the right to use any Intellectual Property.
The Seller owns all Seller-Owned IP, free and clear of all Liens (except for Permitted
Liens), and all such Intellectual Property is valid, subsisting and, enforceable, and is
not subject to any outstanding Decree adversely affecting the Seller’s use thereof or
rights thereto, nor are any rights granted to, or held by, any Governmental Entity with
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respect to such Seller-Owned IP except as set forth on Schedule 3.11(b). To the Seller’s
Knowledge and except as set forth on Schedule 3.11(c), none of the use of the
Intellectual Property included in the Purchased Assets, the conduct of the Business as
currently conducted, nor any of the products sold or services provided by the Seller
or any of its Affiliates in connection therewith, infringes upon or otherwise violates
the Intellectual Property of any other Person. To the Seller’s Knowledge, no third
party is infringing any Intellectual Property owned by the Seller and included in the
Purchased Assets, except as would not reasonably be expected to have a Material
Adverse Effect. Seller and Buyer agree to cooperate in good faith both prior to and,
to the extent necessary, after the Closing to perform such ongoing diligence or
corrective filings as may reasonably be required by Buyer.

       3.12. Real Property. The Seller does not own any real property (other than to
the extent that the Hangars may be considered “real property” under applicable state
law).

       3.13. Purchased Inventory. No Inventory that is Purchased Inventory is
damaged in any way or subject to a current or past product recall, except for any such
damage or any such recall which would not be material to the Purchased Inventory
taken as a whole. To the Seller’s Knowledge, the Purchased Inventory is (a) in
material compliance with United States federal and applicable state guidelines for
such products as of the date hereof; and (b) in working condition or in a condition fit
for sale and consumption in accordance with all applicable Laws, as the case may be.

       3.14. Environmental Matters. Except as set forth in Schedule 3.14, (a) the
Seller is, and has been during the prior two (2) years, in compliance in all material
respects with all applicable Environmental Laws, which compliance has included
obtaining and maintaining all permits, licenses and authorizations required under
applicable Environmental Laws; (b) the Seller has not received during the prior two
(2) years written notice from any Governmental Entity or third party regarding any
actual or alleged violation of or Liability under Environmental Laws; (c) to the Seller’s
Knowledge, no Hazardous Substance has been released by the Seller at any current
or former real property owned or leased in violation of any Environmental Law; and
(d) the Seller has made available to the Buyer copies of all material environmental
audits, assessments and reports in its possession relating to any actual or potential
Liabilities under Environmental Laws with respect to any current or former real
property leased or owned by the Seller.

        3.15   Reserved.

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       3.16. No other Agreements to Purchase. Other than the Prior Transaction
Agreement, the Seller has not entered into any agreement with any other Person
(written or oral) which grants such third party the right or option to purchase or
acquire from the Seller any Purchased Asset, other than purchase orders for Inventory
accepted by the Seller in the Ordinary Course of Business.

        3.17. Reserved.

                                      ARTICLE IV

                        REPRESENTATIONS OF THE BUYER

       To induce the Seller to enter this Agreement, the Buyer makes the following
representations and warranties to the Seller (which representations and warranties
shall survive the Closing), each of which shall be deemed to be independently
material and relied upon by the Seller and the Court, regardless of any investigation
made by, or information known to, the Seller.

      4.1     Organization; Authorization. The Buyer is a Delaware corporation and,
as such, has the necessary power and authority to enter and perform the transactions
contemplated herein in accordance with the terms and conditions hereof, subject to
entry of the New Sale Order, in form and substance acceptable to the Buyer. The
execution and delivery of this Agreement, and the performance by the Buyer of its
obligations contained herein, when approved by the Court, have been or will be duly
authorized by all required corporate actions.

      4.2     Enforceability. This Agreement and all other agreements of the Buyer
contemplated hereby are or, upon the execution thereof and approval of the Court,
will be the valid and binding obligations of the Buyer enforceable against it in
accordance with their terms, subject to entry of the New Sale Order, in form and
substance acceptable to the Buyer. Even if the Buyer assigns this Agreement to
another party, as is its right to do, the Buyer remains liable to the Seller for all
obligations that are required of the Buyer at Closing in the event that the Buyer’s
assignee fails to complete the transaction.

      4.3    Conflicting Obligations. The execution and delivery of this Agreement
do not, and the consummation of the sale and purchase of the Purchased Assets and
the Business contemplated hereby will not:

        (a)    conflict with or violate any provisions of the organization of any entity
               formed by the Buyer; or,
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        (b)    conflict with or violate any provisions of, or result in the maturation or
               acceleration of, any obligations under any contract, agreement,
               instrument, document, lease, license, permit, indenture, or obligation, or
               any law, statute, ordinance, rule, regulation, code, guideline, order,
               arbitration award, judgment, or decree, to which the Buyer is subject or
               to which the Buyer is a party.

      4.4     Litigation. There is no litigation, claim, proceeding, or investigation
pending, or to the Buyer’s knowledge, threatened against the Buyer relating to the
Buyer’s ability to perform its obligations under this Agreement.

                                       ARTICLE V

                     OTHER COVENANTS, CONTINGENCIES,
                       RISK OF LOSS AND EMPLOYMENT

        5.1    New Sale Order.

         (a)   The New Sale Order must be approved by Buyer, in its sole and absolute
               discretion.

         (b)   Following entry of the New Sale Order by the Court, in the event of any
               conflict between this Agreement and the New Sale Order, the New Sale
               Order will control.

         (c)   The New Sale Order shall provide, inter alia, that the Buyer is acquiring
               the Purchased Assets, free and clear of all Liens.

         (d)   The Seller and the Buyer agree, and the New Sale Order shall reflect the
               fact that, the provisions of this Agreement are reasonable, were a
               material inducement to the Buyer to enter into this Agreement and are
               designed to achieve the highest and best offer for the Purchased Assets.

        5.2     Risk of Loss. The risk of loss or damage to the Purchased Assets to be sold
hereunder due to fire, theft, or other casualty shall be upon the Seller at all times prior
to the Closing Date. In the event of loss or damage to any of the Purchased Assets due
to fire, theft, or other casualty while the risk of such loss or damage is on the Seller, the
Buyer shall be entitled to terminate this Agreement upon written notice to the Seller,
and the obligations of the parties shall thereupon be discharged. The rights conferred


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upon the Buyer in this Section 5.2 shall constitute the Buyer’s sole remedy in the event
that such loss or damage occurs while the risk thereof is on the Seller.


      5.3    Employment of Seller’s Employees. Nothing in this Agreement, express
or implied, requires Buyer to employ, or offer to employ, any Former Employee or
Current Employee for any period, or to confer upon any such Former Employee or
Current Employee or their eligible dependents any right, benefit, or remedy of any
nature whatsoever, including any right to a particular term or condition of employment.
Notwithstanding anything to the foregoing, nothing in this Section 5.3 shall preclude
Buyer, at its sole discretion, from soliciting for employment or hiring any Former
Employee, Current Employee or any former or current contractor or consultant of Seller.

        5.4    Reserved.

       5.5    Timing/Expiration of this Agreement. Once executed, subject to the rights
of Buyer set forth in Section 8.1, this Agreement shall remain binding and enforceable
in accordance with its terms against Buyer through the process of seeking and procuring
approval of the Court for Seller to convey the assets to be conveyed hereunder, unless
otherwise terminated as set forth in this Agreement.

        5.6    Bankruptcy Actions.

        (a)    The Seller shall file the New Sale Motion on or before June 1, 2021.

        (b)    The Seller will provide the Buyer, with at least two (2) business days to
               review and comment prior to submission, all motions, applications, and
               supporting papers relating to the Contemplated Transactions prepared
               by the Seller prior to the filing thereof in the Chapter 11 Case. Subject to
               Section 5.1(a), all motions, applications, and supporting papers prepared
               by the Seller and relating to the Contemplated Transactions to be filed
               on behalf of the Seller after the date hereof must be approved in form
               and substance by the Buyer, which approval shall not be unreasonably
               withheld or delayed.

        (c)    Each of the Buyer and the Seller shall continue to act in good faith and
               without any improper conduct, including collusion or fraud of any kind.

        (d)    Each of the Buyer and the Seller will promptly take such actions as are
               reasonably requested by the other party to assist in obtaining entry of
               the New Sale Order, including furnishing affidavits or other documents
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               or information for filing with the Court for purposes, among others, of
               providing necessary assurances of performance by Seller of its
               obligations under this Agreement and demonstrating that the Buyer is a
               good faith buyer under Section 363(m) of the Code.

        (e)    The Seller shall use commercially reasonable efforts to provide
               appropriate notice of the hearing on the New Sale Motion to all Persons
               entitled to notice, including, but not limited to, the Prior Proposed
               Purchaser and DIP Lender, all Persons that have asserted Liens in the
               Purchased Assets or who Seller knows may reasonably assert any such
               Lien, including without limitation all Other Secured Parties, all parties
               to the executory contracts and unexpired leases, and all Taxing
               authorities in jurisdictions applicable to the Seller and as otherwise
               required by the Code.

        (f)    The Seller shall serve a cure notice by first class mail on all non-debtor
               counterparties to all executory contracts and unexpired leases as
               required by the New Sale Order and provide a copy of the same to the
               Buyer.

       5.7   Conduct of Business. Until the earlier of the termination of this Agreement
and the Closing, except with the prior written consent of the Buyer (which consent shall
not be unreasonably withheld, conditioned, or delayed):

        (a)    Reserved.

        (b)    the Seller shall use commercially reasonable efforts to maintain, preserve
               and protect all of the Purchased Assets in the condition in which they exist
               on the date hereof, except for ordinary wear and tear and except for
               replacements, modifications or maintenance in the Ordinary Course of
               Business and shall maintain insurance coverage with financially
               responsible insurance companies substantially similar in all material
               respects to the insurance coverage maintained by the Business and the
               Seller on the Petition Date;

        (c)    the Seller shall use commercially reasonable efforts not to take, or agree to
               or commit to assist any other Person in taking, any action (i) that would
               reasonably be expected to result in a failure of any of the conditions to the
               Closing or (ii) that would reasonably be expected to impair the ability of


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               the Seller or the Buyer to consummate the Closing in accordance with the
               terms hereof or to materially delay such consummation;

        (d)    except as permitted by this Agreement or as required by applicable
               Bankruptcy law, the Seller shall not, directly, or indirectly, sell or
               otherwise transfer or dispose, or offer, agree, or commit (in writing or
               otherwise) to sell or otherwise transfer or dispose of any of the Purchased
               Assets other than in the Ordinary Course of Business;

        (e)    the Seller shall not, directly, or indirectly, permit, offer, agree, or commit
               to permit, any of the Purchased Assets to become subject, directly, or
               indirectly, to any Lien or Claim except for Permitted Liens;

        (f)    the Seller shall not assume, reject, or assign any executory contract or
               unexpired lease that may become an Assumed Contract other than
               through the assumption and assignment of the Assumed Contracts, as
               contemplated by this Agreement, to the Buyer;

        (g)    the Seller shall not enter new executory contracts or leases or amend or
               modify any executory contracts or unexpired leases, or amend, modify,
               extend, renew, or terminate any lease, nor enter any new lease, in each case
               other than in the Ordinary Course of Business;

        (h)    the Seller shall not remove or permit to be removed from any building,
               facility, or real property any Purchased Asset or any Purchased Inventory
               (other than the sale of Inventory in the Ordinary Course of Business);

        (i)    the Seller shall make all post-petition payments related to any executory
               contracts and unexpired leases to be assumed and assigned to the Buyer
               (other than Cure Amounts) that become or became due or payable
               pursuant to the terms thereof;

        (j)    the Seller shall comply in all material respects with all material Laws
               applicable to them or having jurisdiction over the Business or any
               Purchased Asset; and

        (k)    the Seller shall not, directly, or indirectly, cancel, forgive, or compromise
               any material debt or claim or waive or release any material right of the
               Seller, in each case that constitutes a Purchased Asset.



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       Nothing contained in this Agreement is intended to give the Buyer or its
Affiliates, directly or indirectly, the right to control or direct the business of the Seller
prior to the Closing.

        5.8. Notice of Developments. From the date hereof until the Closing Date, the
Seller shall promptly disclose to the Buyer, on the one hand, and the Buyer shall
promptly disclose to the Seller, on the other hand, in writing (in the form of an update
to the Schedules, if applicable) after attaining knowledge (as applicable to each of the
Seller and Buyer) of any real or alleged failure of any of the Seller or the Buyer to comply
with or satisfy any of their respective covenants, conditions or agreements to be
complied with or satisfied by it under this Agreement in any material respect; provided,
however, that the delivery of any notice pursuant to this Section 5.8 shall not limit or
otherwise affect the remedies available to the party receiving such notice under this
Agreement if such party objects to the disclosures contained in such notice within five
(5) days of receipt of such notice.

        5.9   Access. Upon reasonable advance written request by the Buyer, the Seller
shall permit the Buyer and its Representatives to have reasonable access to, and make
reasonable investigation of, during normal business hours, and in a manner so as not to
interfere unreasonably with the normal business operations of the Seller, to all of the
books and records, premises, properties, personnel, Records, Contracts, businesses,
assets, accountants, auditors, counsel and operations of the Seller related to the Business;
provided, however, that, for avoidance of doubt, the foregoing shall not require any
Party to waive, or take any action with the effect of waiving, its attorney-client privilege
or any confidentiality obligation to which it is bound with respect thereto or take any
action in violation of applicable Law. The Seller shall cause its officers, employees,
consultants, agents, accountants, attorneys, and other representatives to cooperate with
the Buyer and its Representatives in connection with such investigation and
examination, and the Buyer and its Representatives shall cooperate with the Seller and
its Representatives and shall use their reasonable efforts to minimize any disruption to
the Business.

       5.10. Bulk Transfer Laws. The Buyer acknowledges that the Seller will not
comply with the provisions of any bulk transfer Laws of any jurisdiction in connection
with the Contemplated Transactions, and hereby waives all claims related to the
noncompliance therewith. The Parties intend that pursuant to Section 363(f) of the
Code, the transfer of the Purchased Assets shall be free and clear of any Liens, and the
Parties shall take such steps as may be necessary or appropriate to so provide in the
New Sale Order.


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       5.11 Release of Claims. Notwithstanding anything contained herein to the
contrary, effective as of the Closing, (i) the Seller shall deliver to the Buyer, irrevocable
and unconditional releases of any and all claims, actions, refunds, causes of action,
choses in action, actions, suits or proceedings, rights of recovery, rights of setoff, rights
of recoupment, rights of indemnity or contribution and other similar rights (known and
unknown, matured and unmatured, accrued or contingent, regardless of whether such
rights are currently exercisable) against the Buyer and its respective current and former
officers, directors, stockholders, employees, agents, representatives, attorneys,
investors, parents, predecessors, subsidiaries, successors, assigns, and affiliates, each of
the foregoing in their capacity as such (individually and collectively, the “Buyer
Released Parties”), from all actions, causes of action, damages, claims, and demands
whatsoever, in law or in equity, known or unknown, contingent or liquidated, whether
direct claims or for indemnification or contribution, that the Seller ever had, now have,
or may have against Buyer Released Parties in connection with any event, conduct or
circumstance occurring prior to the Closing; and (ii) the Buyer shall, deliver full,
irrevocable and unconditional releases of any and all claims, actions, refunds, causes of
action, choses in action, actions, suits or proceedings, rights of recovery, rights of setoff,
rights of recoupment, rights of indemnity or contribution and other similar rights
(known and unknown, matured and unmatured, accrued or contingent, regardless of
whether such rights are currently exercisable) against the Seller and its current and
former officers, directors, stockholders, employees, agents, representatives, attorneys,
investors, parents, predecessors, subsidiaries, successors, assigns, and affiliates, each of
the foregoing in their capacity as such (individually and collectively, the “Seller
Released Parties”), from all actions, causes of action, damages, claims, and demands
whatsoever, in law or in equity, known or unknown, contingent or liquidated, whether
direct claims or for indemnification or contribution, that the Buyer ever had, now have,
or may have against Seller Released Parties in connection with any event, conduct or
circumstance occurring prior to the Closing, other than claims against a Party under this
Agreement and the other agreements or instruments being executed and delivered
pursuant to the terms hereof to give effect to the Contemplated Transactions.

                                       ARTICLE VI
                                      DEFINITIONS

       6.1    Certain Defined Terms. In addition to terms defined throughout this
Agreement, as used in this Agreement, the following terms shall have the meanings
specified in this Section 6.1, unless the context otherwise requires:

(a)     “Accounts Receivable” means (a) all accounts, accounts receivable, contractual
        rights to payment, notes, notes receivable, negotiable instruments, chattel

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        paper, and vendor and supplier rebates of the Seller in connection with the
        Business as conducted by the Seller and (b) any security interest, claim, remedy
        or other right related to any of the foregoing. Except, Seller will retain the AON
        D&O premium refund upon cancellation of the existing D&O policy at closing.

(b)     “Affiliate” means, with respect to any Person, any other Person that, directly
        or indirectly through one or more intermediaries, controls, or is controlled by,
        or is under common control with, such Person, and the term “control”
        (including the terms “controlled by” and “under common control with”)
        means, when used with reference to any Person, the possession, directly or
        indirectly, of the power to direct or cause the direction of the management and
        policies of such Person, whether through ownership of voting securities, by
        contract or otherwise.

(c)     “Agreement” means this Asset Purchase Agreement, together with all Exhibits
        and Schedules hereto, as amended, restated, supplemented, or otherwise
        modified from time to time (including changes made pursuant to court order)
        in accordance with the terms hereof.

(d)     “Assignment, Assumption and Bill of Sale” has the meaning set forth in Section
        2.4(a).

(e)     “Assumed Contract List” has the meaning set forth in Section 2.3(a).

(f)     “Assumed Contracts” means those executory contracts and unexpired leases
        that have been assumed by the Seller and assigned to the Buyer pursuant to
        this Agreement and Section 365 of the Code.

(g)     “Assumed Liabilities” has the meaning set forth in Section 1.3.

(h)     “Business” has the meaning set forth in the recitals to this Agreement.

(i)     “Buyer” means General Atomics Aeronautical Systems, Inc. or its permitted
        successors, designees, and assigns, as set forth in the first paragraph to this
        Agreement.

(j)     “Buyer Released Parties” has the meaning set forth in Section 5.11.

(k)     “CFIUS” means the Committee on Foreign Investment in the United States.

(l)     “Chapter 11 Case” has the meaning set forth in the recitals.


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(m)     “Claim” means a “claim” as defined in Section 101(5) of the Code, whether
        arising before or after the Petition Date.

(n)     “Closing” has the meaning set forth in Section 2.1.

(o)     “Closing Date” has the meaning set forth in Section 2.1.

(p)     “Code” means the United States Bankruptcy Code and its constituent parts,
        located at 11 U.S.C. Sections 101, et seq., and the Federal Rules of Bankruptcy
        Procedure, as may be applicable.

(q)     “Contemplated Transactions” means the sale by the Seller to the Buyer, and the
        purchase by the Buyer from the Seller, of the Purchased Assets and the
        assumption by the Buyer of the Assumed Liabilities pursuant to the terms and
        subject to the conditions of this Agreement.

(r)     “Court” means the United State Bankruptcy Court for the Western District of
        Wisconsin, as set forth in the recitals.

(s)     “Cure Amount” means the cure amounts, if any, necessary to cure all defaults,
        if any, and to pay all actual pecuniary losses, if any, that have resulted from
        such defaults under any executory contract or unexpired lease on the Assumed
        Contract List, in each case as of the Petition Date and to the extent required by
        Section 365(b)(1)(A) and (B) of the Code and any Decree of the Court.

(t)     Reserved

(u)     “Current Employees” means all individuals employed by the Seller as of the
        day before the Closing Date, whether active or not (including those on short-
        term disability, leave of absence, paid or unpaid, or long-term disability).

(v)     “Decree” means any judgment, decree, ruling, decision, opinion, injunction,
        assessment, attachment, undertaking, award, charge, writ, executive order,
        judicial order, administrative order, or any other order of any Governmental
        Entity.

(w)     “Deposit” has the meaning set forth in Section 2.2(a).

(x)     “DIP Lender” means the Prior Proposed Purchaser, in its capacity as the entity
        agreeing to provide a debtor-in-possession loan facility to Seller pursuant to
        the DIP Order.

(y)     “DIP Liens” has the meaning set forth in the DIP Order.
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(z)     “DIP Obligations” has the meaning set forth in the DIP Order.

(aa)    “DIP Order” means the Court’s Final Order: (I) Authorizing the Debtor to Use Cash
        Collateral; (II) Authorizing the Debtor to Obtain Senior Secured Post-petition (DIP)
        Financing; (III) Granting Liens and Superpriority Administrative Claim Status to the
        DIP Lender;(IV) Granting Adequate Protection to the Prepetition Secured Parties; and
        (V) Granting Related Relief, dated September 8, 2020 [Docket No. 124], including
        any prior iterations thereof, and as the same shall have been or in the future
        may be modified, supplemented, or amended.

(bb)    “Employee Benefit Plan” means: (a) any “employee benefit plan” (as such term
        is defined in Section 3(3) of ERISA), (b) employment, consulting, severance,
        termination protection, change in control, transaction bonus, retention or
        similar plan, program, policy, agreement or arrangement and, (c) any other
        benefit or compensation plan, program, agreement or arrangement of any kind,
        providing for compensation, bonuses, profit-sharing, or other forms of
        incentive or deferred compensation, vacation benefits, insurance, medical,
        dental, vision, prescription or fringe benefits, life insurance, disability or sick
        leave benefits or post-employment or retirement benefits, in each case,
        maintained or contributed to by the Seller or in which the Seller participates or
        participated and that provides benefits to any Current Employee or Former
        Employee.

(cc)    “Environmental Laws” means all applicable Laws concerning pollution or
        protection of the environment, human health and safety, and natural resources.

(dd) “Equipment” has the meaning set forth in Section 1.2(b).

(ee)    “Equipment Finance Lenders” means First National Community Bank,
        Wisconsin Economic Development Corporation, and US Bank Equipment
        Finance.

(ff)    “Excluded Assets” has the meaning set forth in Section 1.2.

(gg)    “Excluded Liabilities” has the meaning set forth in Section 1.4.

(hh)    “Financial Statements” has the meaning set forth in Section 3.15.

(ii)    “Former Employee” means all individuals who have been employed by the
        Seller who are not Current Employees.



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(jj)    “GAAP” means United States generally accepted accounting principles as in
        effect from time to time.

(kk)    “Governmental Entity” means any United States federal, state, or local or non-
        United States governmental or regulatory authority, agency, commission,
        court, body, or other governmental entity.

(ll)    “Hangars” means two airplane hangars and the associated ground leases
        related thereto, all as more particularly described on Schedule 1.2(k).

(mm) “Hazardous Substance” means any toxic or hazardous material, substance, or
     waste as to which Liability or standards of conduct may be imposed under any
     Environmental Laws.

(nn)    “Intellectual Property” means, all intellectual property, including, without
        limitation:

                 i.   inventions (whether patentable or unpatentable and whether or
                      not reduced to practice), all improvements thereto, and all
                      patents, patent applications, and patent disclosures, together with
                      all reissuances, continuations, continuations-in-part, revisions,
                      extensions, and reexaminations thereof;

                ii.   trademarks, service marks, trade dress, logos, trade names, brand
                      names, corporate names, and other electronic communication
                      identifications, together with all translations, adaptations,
                      derivations, and combinations thereof and including all goodwill
                      associated therewith, and all applications, registrations, and
                      renewals in connection therewith;

               iii.   copyrightable works, copyrights, and applications, registrations,
                      and renewals in connection therewith;

               iv.    trade secrets and confidential business information (including
                      ideas, research, and development, know-how, formulas,
                      compositions, manufacturing and production processes and
                      techniques, technical data, designs, drawings, specifications,
                      customer and supplier lists, pricing and cost information, and
                      business and marketing plans and proposals);

                v.    all computer software          (including   data    and    related
                      documentation);
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               vi.    all other intellectual proprietary rights; and,

               vii.   all copies and tangible embodiments thereof (in whatever form or
                      medium).

(oo)    “Inventories” has the meaning set forth in Section 1.2 (a).

(pp)    “IRC” means the United States Internal Revenue Code of 1986, as amended.

(qq)    “Knowledge” means, with respect to any party, the actual knowledge of such
        party after reasonable inquiry and, if such party fails to make such inquiry,
        shall include the constructive knowledge of such facts as would have been
        learned had such reasonable inquiry been made.

(rr)    “Law” means any federal, state, provincial, local, municipal, foreign or
        international, multinational or other law, statute, legislation, constitution,
        principle of common law, resolution, ordinance, code, edict, decree,
        proclamation, treaty, convention, rule, regulation, ruling, directive,
        pronouncement, determination, decision, opinion or requirement issued,
        enacted, adopted, promulgated, implemented or otherwise put into effect by
        or under the authority of any Governmental Entity, or court of competent
        jurisdiction, or other legal requirement or rule of law, including applicable
        building, zoning, subdivision, health and safety and other land use Laws.

(ss)    “Liability” or “Liabilities” means any liability or obligation (whether known or
        unknown, whether asserted or unasserted, whether absolute or contingent,
        whether accrued or unaccrued, whether liquidated or unliquidated, and
        whether due or to become due), including, without limitation, any liability for
        Taxes in existence as of the Closing.

(tt)    “Lien” means any lien (as defined in section 101(37) of the Code), encumbrance,
        claim (as defined in section 101(5) of the Code), charge, mortgage, deed of trust,
        option, pledge, security interest or similar interests, hypothecations,
        easements, rights of way, encroachments, and conditional sale or other title
        retention agreements, or other security interest of any kind, including but not
        limited to the DIP Liens, the DIP Obligations, any liens asserted by any of the
        Equipment Finance Lenders, and any liens asserted by the Other Secured
        Parties.

(uu)    “Material Adverse Effect” means any change, event, effect, development,
        condition, circumstance or occurrence (when taken together with all other
        changes, events, effects, developments, conditions, circumstances or
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        occurrences), that (a) has had, or would reasonably be expected to have,
        individually or in the aggregate, a material adverse effect on the Purchased
        Assets (taken as a whole); provided, however, that no change, event, effect,
        development, condition, circumstance or occurrence related to any of the
        following shall be deemed to constitute, and none of the following shall be
        taken into account in determining whether there has been a Material Adverse
        Effect: (i) any effect resulting from the filing, announcement, or pendency of
        the Chapter 11 Case, including (1) the Seller’s inability to pay certain
        prepetition obligations as a result of the commencement of the Chapter 11 Case,
        (2) any Decree of the Court, (3) any action or omission of the Seller taken or not
        taken in order to avoid violation of any Decree or objections of the Court, or (4)
        any other effect, directly or indirectly, related thereto; (ii) acts of war, armed
        hostilities, sabotage or terrorism, or any escalation or worsening of any such
        acts of war, armed hostilities, sabotage or terrorism threatened or underwayas
        of the date of this Agreement, except to the extent that such change has a
        materially disproportionate adverse effect on the Business relative to the
        adverse effect that such changes have on other companies in the industry in
        which the Business operates; (iii) changes in conditions in the U.S. or global
        economy or capital or financial markets generally, including changes in interest
        or exchange rates, except to the extent that such change has a materially
        disproportionate adverse effect on Business relative to the adverse effect that
        such changes have on other companies in the industry in which the Business
        operates; (iv) resulting from any act of God or other force majeure event
        (including natural disasters); (v) changes in Law or in GAAP or interpretations
        thereof; (vi) any actions taken by the Buyer or any of its Affiliates (other than
        those expressly permitted to be taken hereunder); (vii) inaction by the Seller
        due to the Buyer’s refusal to consent to a request for consent by the Seller under
        Section 5.3; or (viii) the negotiation, announcement or pendency of this
        Agreement or the consummation of the sale and assumption contemplated
        hereby or (b) would reasonably be expected to prevent, materially delay or
        materially impair the ability of the Seller to consummate the Contemplated
        Transactions on the terms set forth herein and therein.

(vv)    “New Sale Motion” means a motion filed by the Seller with the Court in
        connection with the Chapter 11 Case requesting the entry of the New Sale
        Order.

(ww) “New Sale Order” means an order of the Court entered in the Chapter 11 Case
     consistent with the terms and conditions of this Agreement, vacating the Prior
     Sale Order, approving the New Sale Motion and sale to the Buyer consistent
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        with the terms and conditions of this Agreement, in substantially the form
        attached hereto as Exhibit C.

(xx)    “Ordinary Course of Business” means the ordinary and usual course of
        business of the Seller taken as a whole consistent with past custom and practice
        and considering the commencement of the Chapter 11 Case and the Seller’s
        current distressed financial condition.

(yy)    “Other Secured Parties” means Alite GmbH, Bayban, Bill Lawson, Brose
        Revocable Trust, Claire Johnson, CVAIN #8 LLC, Daniel Dusich, Douglas
        Larson, Eleven Grand, LLC formerly Holly & Thomas LLC, Peter Fong and
        Ning Liu (Joel Hall, Gary and Sue Roberts, Gregg Stone, Horace Whitney Boggs
        III, James Rice, John Grady, Larry and Jane Weber, Larry and Jane Weber (Joel
        Hall), Tobriner Family Trust, Marcus Taylor Trust, Michael and Monika Fuchs,
        Rodney Green, Saleh Obaid, Windecker-Tong Liao, Windecker GA Power,
        LLC. Xin Zhu and Feng Liu,

(zz)    “Outside Date” means July 15, 2021.

(aaa) “Permits” has the meaning set forth in Section 1.2(f).

(bbb) “Permitted Liens” means (a) Liens for Taxes which are (i) being contested in
      good faith by appropriate proceedings or (ii) not due and payable as of the
      Closing Date and which shall be prorated or otherwise released at Closing, and,
      in each case of clauses (i) and (ii), for which adequate reserves have been made
      on the Financial Statements in accordance with GAAP and which shall be
      prorated or otherwise released at Closing; (b) mechanics liens and similar liens
      for labor, materials or supplies provided with respect to real property incurred
      in the Ordinary Course of Business which are being contested in good faith by
      appropriate proceedings for which adequate reserves have been made on the
      Financial Statements in accordance with GAAP and which shall be prorated or
      otherwise released at Closing; (c) with respect to real property, zoning,
      building codes and other land use Laws regulating the use or occupancy of
      such real property or the activities conducted thereon which are imposed by
      any Governmental Entity having jurisdiction over such real property which are
      not violated by the current use or occupancy of such real property or the
      operation of the Business, except where any such violation would not,
      individually or in the aggregate, materially impair the use, operation or
      transfer of the affected property or the conduct of the Business thereon as it is
      currently being conducted; (d) easements, covenants, conditions, restrictions
      and other similar matters affecting title to real property and other
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        encroachments and title and survey defects that do not or would not materially
        impair value or the use or occupancy of such real property or materially
        interfere with the operation of the Business at such real property; (e) with
        respect to leasehold improvements, any reversion or similar rights to the
        landlord or other third party upon expiration or termination of the applicable
        lease; (f) any Liens associated with or arising in connection with any Assumed
        Liabilities; and, (g) Liens that will be released or removed by operation of the
        New Sale Order.

(ccc) “Person” means an individual, a partnership, a corporation, a limited liability
      company, an association, a joint stock company, a trust, a joint venture, an
      unincorporated organization, or any other entity, including any Governmental
      Entity or any group or syndicate of any of the foregoing.

(ddd) “Petition Date” means the date of the filing of the Chapter 11 Case.

(eee) “Plan” means a plan of reorganization or liquidation proposed by the Seller.

(fff)   “Prior Proposed Purchaser” means EPS Engineered Propulsion Systems, Inc.,
        a Delaware corporation, as set forth in the recitals.

(ggg) “Prior Proposed Transaction” has the meaning set forth in the recitals.

(hhh) “Prior Sale Order” has the meaning set forth in the recitals.

(iii)   “Purchased Assets” has the meaning set forth in Section 1.2.

(jjj)   “Purchased Inventory” means Inventory that is part of the Purchased Assets.

(kkk) “Purchase Price” has the meaning set forth in Section 2.2.

(lll)   “Purchase Price Cushion” means (i) $50,000, if the Closing occurs on or before
        June 30, 2021, and (ii) $60,000, if the Closing occurs between July 1 and July 15,
        2021.

(mmm)       “Records” means books of account, ledgers, forms, records, documents,
    files, invoices, vendor or supplier lists, plans and other data which are
    necessary to or desirable for the ownership, use, maintenance or operation of
    the Business and which are owned or used by any Seller, including, without
    limitation, all blueprints and specifications, all manuals, all confidentiality and
    non-disclosure agreements and records, all invention disclosures and
    documentation relating to Seller’s Intellectual Property, all environmental
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          control records, environmental impact reports, statements, studies and related
          documents, handbooks, technical manuals and data, engineering specifications
          and work papers, all pricing and cost information, all sales records, all
          accounting and financial records, all sales and use tax returns, reports, files and
          records, asset history records and files, all data entry and accounting systems
          used to conduct the day-to-day operations of the Business, all maintenance and
          repair records, all correspondence, notices, citations and all other documents
          received from, sent to or in the Seller’s possession in connection with any
          governmental authority (including, without limitation, federal, state, county or
          regional environmental protection, air or water quality control, occupational
          health and safety, land use, planning or zoning and any alcohol, beverage or
          fire prevention authorities).

(nnn)     “Representative” means a Person’s officers, directors, managers, employees,
          advisors, representatives (including its legal counsel and its accountants) and
          agents.

(ooo)     “Sale Hearing” means the hearing conducted in the Court to seek approval of
          the New Sale Motion and the Contemplated Transactions.

  (ppp) “Seller” means Engineered Propulsion Systems, Inc., a Delaware corporation,
        as set forth in the first paragraph to this Agreement.

  (qqq) “Seller-Owned IP” has the meaning set forth in Section 3.11.

  (rrr)   “Seller Released Parties” has the meaning set forth in Section 5.11.

  (sss) “Tax” or “Taxes” means any United States federal, state or local or non-United
        States income, gross receipts, license, payroll, employment, excise, severance,
        stamp, occupation, premium, windfall profits, environmental (including taxes
        under Section 59A of the IRC), customs duties, capital stock, franchise, profits,
        withholding, social security (or similar), unemployment, real property,
        personal property, ad valorem, escheat, sales, use, liquor, cigarette, transfer,
        value added, alternative or add-on minimum, estimated or other tax of any
        kind whatsoever (however denominated), whether computed on a separate or
        consolidated, unitary or combined basis or in any other manner, including any
        interest, penalty or addition thereto, whether or not disputed.

  (ttt)    “Tax Return” means any return, declaration, report, claim for refund or
          information return or statement relating to Taxes, including any schedule or
          attachment thereto, and including any amendment thereof.

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(uuu) “Termination Event” has the meaning set forth in Section 8.1.

(vvv) “Work-in-Progress” has the meaning set forth in Section 1.2(d).

      6.2    Interpretation.     Unless otherwise expressly provided or unless the
context requires otherwise:

        (a)    all references in this Agreement to Articles, Sections, Schedules, and
               Exhibits shall mean and refer to Articles, Sections, Schedules, and
               Exhibits of this Agreement;

        (b)    all references to statutes and related regulations shall include all
               amendments of the same and any successor or replacement statutes and
               regulations;

        (c)    words using the singular or plural number also shall include the plural
               and singular number, respectively;

        (d)    references to “hereof,” “herein,” “hereby” and similar terms shall refer
               to this entire Agreement (including the Schedules and Exhibits hereto);
               and,

        (e)    references to any Person shall be deemed to mean and include the
               successors and permitted assigns of such Person (or, in the case of a
               Governmental Authority, Persons succeeding to the relevant functions
               of such Person).

                                    ARTICLE VII
                               CONDITIONS TO CLOSING

        7.1   Conditions to the Buyer’s Obligations. Subject to Section 7.3, the Buyer’s
obligation to consummate the Contemplated Transactions in connection with the
Closing is subject to satisfaction or written waiver of the following conditions (any or
all of which may be waived in writing by the Seller and the Buyer in whole or in part
to the extent permitted by applicable Law):

        (a)    as of the date hereof and as of the Closing (in each case, except to the
               extent: (1) for any representation or warranty that is expressly made as
               of a specified date, in which case as of such specified date, (2) subject to
               any update to the schedules), (i) each representation or warranty
               contained in Sections 3.1, 3.2 or 3.3 hereof shall be true and correct in all
               respects other than de minimis exceptions, and, (ii) each other
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               representation or warranty set forth in Article III shall be true and correct
               in all material respects; provided, however, that for purposes of
               determining the accuracy of representations and warranties referred to
               in clause (ii) for purposes of this condition, all qualifications as to
               “materiality” and “Material Adverse Effect” contained in such
               representations and warranties shall be disregarded;

        (b)    the Seller shall have performed and complied with its covenants and
               agreements hereunder to the extent required to be performed prior to
               the Closing in all material respects, and the Seller shall have caused the
               documents and instruments required by Section 2.4 to be delivered to
               the Buyer (or tendered subject only to Closing);

        (c)    no Governmental Entity of competent jurisdiction shall have enacted,
               issued, promulgated, enforced, or entered any Decree that is in effect
               and that has the effect of making the Closing illegal or otherwise
               prohibiting the consummation of the Closing;

        (d)    reserved;

        (e)    the New Sale Order shall (i) shall have been entered by the Court, (ii)
               shall not be subject to a stay pending appeal and (iii) shall not have been
               reversed, stayed, vacated, or otherwise modified by a court of competent
               jurisdiction;

        (f)    reserved;

        (g)    from the date of this Agreement until the Closing Date, there shall not
               have occurred and be continuing any Material Adverse Effect; and

        (h)    the Buyer shall have received all of the deliverables pursuant to Section
               2.4.

       7.2    Conditions to Seller’s Obligations. Subject to Section 7.3, the Seller’s
obligation to consummate the Contemplated Transactions in connection with the
Closing are subject to satisfaction or written waiver of the following conditions (any
or all of which may be waived in writing by the Seller and the Buyer in whole or in
part to the extent permitted by applicable Law):

        (a)    as of the date hereof and as of the Closing (in each case, except for any
               representation or warranty that is expressly made as of a specified date,
               in which case as of such specified date), (i) each representation or
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               warranty contained in Sections 4.1, 4.2, or 4.3 shall be true and correct in
               all respects other than de minimis exceptions, and, (ii) each other
               representation or warranty set forth in Article IV shall be true and correct
               in all material respects, except where the failure of such representations
               and warranties referred to in this clause (ii) to be true and correct,
               individually or in the aggregate with other such failures, would not
               reasonably be expected to materially prevent, restrict or delay the
               consummation of the Contemplated Transactions; provided, however,
               that for purposes of determining the accuracy of representations and
               warranties referred to in clause (ii) for purposes of this condition, all
               qualifications as to “materiality” and “Material Adverse Effect”
               contained in such representations and warranties shall be disregarded;

        (b)    the Buyer shall have performed and complied with its covenants and
               agreements hereunder to the extent required to be performed prior to
               the Closing in all material respects, and the Buyer shall have caused the
               documents, instruments and payments required by Section 2.5 to be
               delivered to the Seller (or tendered subject only to Closing);

        (c)    no Governmental Entity of competent jurisdiction shall have enacted,
               issued, promulgated, enforced, or entered any Decree that is in effect
               and that has the effect of making the Closing illegal or otherwise
               prohibiting the consummation of the Closing;

        (d)    the New Sale Order shall (i) shall have been entered by the Court, (ii)
               shall not be subject to a stay pending appeal and (iii) shall not have been
               reversed, stayed, vacated, or otherwise modified by a court of competent
               jurisdiction;

        (e)    the Seller shall have received all the deliverables pursuant to Sections
               2.2(b) and 2.5.

        7.3   No Frustration of Closing Conditions. Neither the Buyer nor the Seller
may rely on the failure of any condition to its obligation to consummate the
Contemplated Transactions set forth in Section 7.1 or 7.2, as the case may be, to be
satisfied if such failure was caused by such Party’s failure to use its commercially
reasonable efforts with respect to those matters contemplated by the applicable
Sections of this Agreement to satisfy the conditions to the consummation of the
Contemplated Transactions or other breach of a representation, warranty or covenant
hereunder.

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      7.4    Waiver of Conditions. Upon the occurrence of the Closing, any
condition set forth in this Article VII that was not satisfied as of the Closing will be
deemed to have been waived for all purposes by the Party having the benefit of such
condition as of and after the Closing.

                                       ARTICLE VIII
                                      TERMINATION

      8.1    Termination of Agreement. This Agreement may be terminated in
accordance with this Article VIII and the Contemplated Transactions abandoned at
any time prior to the Closing (each a “Termination Event”):

        (a)    by the mutual written consent of the Buyer, on the one hand, and the
               Seller, on the other hand;

        (b)    by written notice of either the Buyer or the Seller, if there shall be any
               Law that makes consummation of the Contemplated Transactions illegal
               or otherwise prohibited, or upon the issuance by any Governmental
               Entity of an Decree restraining, enjoining, or otherwise prohibiting the
               consummation of the Contemplated Transactions or declaring unlawful
               the Contemplated Transactions, and such Decree having become final,
               binding and non-appealable; provided that no termination may be made
               by a Party under this Section 8.1(b) if the issuance of such Decree was
               caused by the breach or action or inaction of such Party;

        (c)    by written notice of either the Buyer or the Seller, if the Closing shall not
               have occurred on or before the Outside Date;

        (d)    by written notice of the Buyer to the Seller, if the Chapter 11 Case is
               dismissed or converted to a case under Chapter 7 of the Code, or if a
               trustee or examiner with expanded powers to operate or manage the
               financial affairs or reorganization of the Seller is appointed in the
               Chapter 11 Case;

        (e)    by the Buyer, (i) if the Seller has not filed the New Sale Motion on or
               before June 1, 2021, (ii) if the Court has not entered the New Sale Order
               on or before June 30, 2021, or (iii) if the New Sales Order is reversed,
               stayed, vacated or otherwise modified by a court of competent jurisdiction
               following the entry of the New Sale Order..

        (f)    by the Buyer by giving written notice to the Seller at any time prior to
               the Closing (i) in the event the Seller has breached any representation,
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               warranty, covenant or agreement contained in this Agreement and as a
               result of such breach the conditions set forth in Sections 7.1(a) and 7.1(b)
               hereof, as the case may be, would not then be satisfied at the time of such
               breach, the Buyer has notified the Seller of the breach, and the breach
               has continued without cure until the earlier of (i) five (5) days prior to
               the Outside Date so long as all other conditions of the Buyer have been
               satisfied or, (ii) thirty (30) days after the notice of the breach, in each case,
               unless such failure shall be due to the failure of the Buyer to perform or
               comply with any of the covenants hereof to be performed or complied
               with by it prior to the Closing, and such condition is not waived by the
               Buyer;

        (g)    by the Seller by giving written notice to the Buyer at any time prior to
               Closing in the event the Buyer has breached any representation,
               warranty, covenant or agreement contained in this Agreement and as a
               result of such breach the conditions set forth in Sections 7.2(a) and 7.2(b)
               hereof, as the case may be, would not then be satisfied at the time of such
               breach, the Seller has notified the Buyer of the breach, and the breach
               has continued without cure until the earlier of (i) five (5) days prior to
               the Outside Date so long as all other conditions of the Seller have been
               satisfied or, (ii) thirty (30) days after the notice of the breach, in each case,
               unless such failure shall be due to the failure of the Seller to perform or
               comply with any of the covenants hereof to be performed or complied
               with by it prior to the Closing, and such condition is not waived by the
               Seller;

        (h)    by the Buyer if any secured creditor of the Seller obtains relief from the
               stay to foreclose on a material portion of the Purchased Assets;

        (i)    by the Buyer if any Affiliates of the Seller that, directly or indirectly
               through one or more intermediaries, controls the Seller, files for relief
               pursuant to the Code; and

        (j)    by the Buyer if, the Buyer becomes aware of any matter as a result of its
               due diligence investigation (including by way of information delivered
               or made available by the Seller hereunder or on a Schedule hereto or any
               update to a Schedule) that the Buyer determines is unacceptable in its
               sole discretion;

Notwithstanding anything to the contrary contained herein, a Party shall not be
permitted to terminate this Agreement pursuant to this Article VIII if the applicable
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Termination Event was caused by the breach of such Party or such Party’s gross
negligence, willful misconduct, or bad faith.

      8.2    Procedure Upon Termination. In the event of termination and
abandonment by the Buyer, on the one hand, or the Seller, on the other hand, or both,
pursuant to Section 8.1, written notice thereof shall forthwith be given to the other
Party or Parties, and this Agreement shall terminate and the Contemplated
Transactions shall be abandoned, without further action by the Buyer or the Seller.

       8.3    Effect of Termination. In the event that this Agreement is validly
terminated pursuant to a right of termination as provided herein, then each of the
Parties shall be relieved of its duties and obligations arising under this Agreement
effective as of the date of such termination and such termination shall be without
Liability to the Buyer or the Seller; provided, however, that Section 8.1, Section 8.2,
this Section 8.3, Article IX shall survive any such termination and shall be enforceable
hereunder. In no event shall any termination of this Agreement relieve any Party
hereto of any Liability for any breach of this Agreement by such Party.


                                      ARTICLE IX
                                   MISCELLANEOUS

      9.1   Survival of Representations and Warranties. All the representations and
warranties of the parties contained in this Agreement shall survive the Closing
hereunder.

       9.2    Benefit and Assignment. This Agreement, once approved by the Court,
shall be binding upon and inure to the benefit of the parties hereto, their heirs,
successors, assignees, and beneficiaries in interest, including any trustee appointed
by the Court in the Chapter 11 Case, or, in the event of the conversion of the Chapter
11 Case to a case under Chapter 7, upon any trustee appointed in such Chapter 7 case;
provided, however, that this Agreement may not be assigned by the Seller without
the prior written consent of the Buyer. The Buyer may assign the Buyer’s rights and
obligations to one or more entities, so long as any such assignee is duly authorized
and qualified to enter, perform, and complete the transactions contemplated by this
Agreement, and subject to the provisions contained in Section 4.2.

       9.3    Governing Law. This Agreement shall be governed by and construed in
accordance with the internal laws of the State of Wisconsin (regardless of such State’s
conflict of laws principles), and the order of the Court that approved the sale, and
without reference to any rules of construction regarding the party responsible for the
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drafting hereof. Jurisdiction and venue over this sale shall initially vest in the Court
that approved the sale.

      9.4    Expenses. All expenses incurred in connection with this Agreement, or
the transactions herein provided for shall be paid by the party incurring such
expenses and costs and shall not constitute a charge or expense of the other party.

       9.5     Notices. All notices, demands, and communications provided for herein
or made hereunder shall be given in writing and shall be deemed given to a party at
the earlier of:

        (a)       when actually delivered to such party, or,

        (b)       when mailed to such party by registered or certified U.S. Mail (return
                  receipt requested), or,

        (c)       sent by overnight courier, confirmed by receipt, and addressed to such
                  party at the address designated below for such party (or to such other
                  address for such party as such party may have substituted by notice
                  pursuant to this Section 9.5), or,

        (d)       when conveyed by facsimile:

                 i.     If to the Buyer:    General Atomics Aeronautical Systems, Inc.
                                            Attn: General Counsel
                                            3550 General Atomics Court
                                            San Diego, CA 92121
                                            Facsimile: (858) 455-3213

                ii.     With a copy to:     Patterson Belknap Webb & Tyler LLP
                                            Attn: Daniel A. Lowenthal
                                            1133 Avenue of the Americas
                                            New York, NY 10036
                                            Facsimile: (212) 336-1253
                                            E-Mail: dalowenthal@pbwt.com

               iii.     If to the Seller:   Engineered Propulsion Systems, Inc.
                                            Attn: Michael Fuchs, President
                                            625 W. Hangar Rd, Hangar 11-18
                                            New Richmond, WI 54017
                                            E-mail: Michael.Fuchs@eps.aero

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               iv.   With a copy to:     Steinhilber Swanson LLP
                                         Attn: Attorney James D. Sweet
                                         122 West Washington Ave., Ste. 850
                                         Madison, WI 53703-2732
                                         E-Mail: jsweet@steinhilberswanson.com
                                                 vgeorge@steinhilberswandon.com

       9.6    Counterparts; Execution.        This Agreement may be executed
simultaneously in two or more counterparts, each of which shall be deemed an
original, but all of which together shall constitute one and the same instrument,
provided that all such counterparts, in the aggregate, shall contain the signatures of
all parties hereto. Signatures of the parties may be conveyed via facsimile or e-mail
and in one or more counterparts and all such facsimile or e-mail counterparts taken
together shall constitute one and the same instrument, with the same effect as the
delivery of an original.

       9.7   Headings. All Section headings herein are inserted for convenience and
reference only and shall not modify or affect the construction or interpretation of any
provision of this Agreement.

       9.8   Amendment, Modification and Waiver. This Agreement may not be
modified, amended, or supplemented except by mutual written agreement of all the
parties hereto. Any party may waive in writing any term, notice, time, or condition
contained in this Agreement and intended to be for its benefit; provided, however,
that no waiver by any party, whether by conduct or otherwise, in any one or more
instances, shall be deemed or construed as a further or continuing waiver of any such
term or condition. Each amendment, modification, supplement, or waiver shall be
made in writing signed by the party or the parties to be charged. It is specifically
understood by the parties that the process of developing the Schedules and Exhibits
hereto is ongoing at the execution of this Agreement. Within five (5) days prior to the
Closing, the parties shall update, revise, and finalize such Schedules and Exhibits.

       9.9    Incorporation of Schedules and Exhibits. The schedules, appendices and
exhibits to this Agreement, the documents and other information made available in
the Disclosure Schedule are incorporated herein by reference and made a part hereof.

       9.10 Severability. The provisions of this Agreement shall be deemed
severable, and the invalidity or unenforceability of any provision of this Agreement
shall not affect the validity or enforceability of any other provisions of this Agreement
so long as the economic or legal substance of the Contemplated Transactions is not
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affected in a manner adverse to any Party. If any provision of this Agreement, or the
application thereof to any Person or any circumstance, is invalid or unenforceable, (a)
the Parties shall negotiate in good faith to find a suitable and equitable provision that
shall be substituted therefor in order to carry out, so far as may be valid and
enforceable, the intent and purpose of such invalid or unenforceable provision, and
(b) the remainder of this Agreement and the application of such provision to other
Persons or circumstances shall not be affected by such invalidity or unenforceability,
nor shall such invalidity or unenforceability in any one jurisdiction affect the validity
or enforceability of such provision, or the application thereof, in any other
jurisdiction.

       9.11 Entire Agreement. This Agreement and the Exhibits and Schedules
attached hereto (as updated, revised and finalized) represent the full and complete
agreement of the parties with respect to the subject matter hereof and supersede and
replace any prior understandings and agreements among the parties with respect to
the subject matter hereof and no provision or document of any kind shall be included
in or form a part of such agreement unless signed and delivered to the other party by
the parties to be charged.

       9.12 Third-Party Beneficiaries. Except as provided herein, no third parties
are intended to benefit from this Agreement, and no third-party beneficiary rights
shall be implied from anything contained in this Agreement.

      9.13 Cooperation. Each of the Parties shall cooperate with each other, and
shall use their commercially reasonable efforts to cause their respective
Representatives to cooperate with each other, to provide an orderly transition of the
Purchased Assets and Assumed Liabilities from the Seller to the Buyer and to
minimize the disruption to the Business resulting from the Contemplated
Transactions.

       9.14 Remedies. The Parties recognize that if a Party breaches or refuses to
perform any of their covenants set forth in this Agreement, monetary damages alone
would not be adequate to compensate the non-breaching Party for their injuries. The
non-breaching Party shall therefore be entitled, in addition to any other remedies that
may be available, to obtain specific performance of, or to enjoin the violation of, the
terms of such covenants. If any Litigation is brought by the non-breaching Party to
enforce such covenants, the breaching Party shall waive the defense that there is an
adequate remedy at Law. The Parties agree to waive any requirement for the security
or posting of any bond in connection with any Litigation seeking specific performance
of, or to enjoin the violation of, such covenants. The Parties agree that the only
permitted objection that they may raise in response to any action for specific
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performance of such covenants is that it contests the existence of a breach or
threatened breach of such covenants.

       9.15 Further Assurances. In case at any time from and after the Closing any
further action is necessary or reasonably required to carry out the purposes of this
Agreement, subject to the terms and conditions of this Agreement and the terms and
conditions of the New Sale Order, at any Party’s request and sole cost and expense,
each Party shall take such further action (including the execution and delivery to any
other Party of such other reasonable instruments of sale, transfer, conveyance,
assignment, assumption and confirmation and providing materials and information)
as another Party may reasonably request as shall be necessary to transfer, convey and
assign to the Buyer all of the Purchased Assets, to confirm the Buyer’s assumption of
the Assumed Liabilities and to confirm the Seller’s retention of the Excluded Assets
and Excluded Liabilities. Without limiting the generality of this Section 9.15, to the
extent that either the Buyer or the Seller discovers any additional assets or properties
which the parties mutually agree should have been transferred or assigned to the
Buyer as Purchased Assets but were not so transferred or assigned, the Buyer and the
Seller shall cooperate and execute and deliver any instruments of transfer or
assignment necessary to transfer and assign such asset or property to the Buyer.

       9.16 Insurance Policies. Other than as set forth above, upon Closing, the
Seller shall use commercially reasonable efforts to cause the assignment of all rights
of the Seller in and to all insurance coverage provided in relation to the Seller and the
Purchased Assets that is maintained by the Seller or its Affiliates (whether such
policies are maintained with third party insurers or with the Seller or its Affiliates) to
the Buyer as soon as reasonably practicable (and in no event within forty-five (45)
days following the Closing). To the extent that any current or prior Insurance Policy
is not transferable to the Buyer at the Closing in accordance with the terms thereof,
the Seller shall hold such Insurance Policy for the benefit of the Buyer, shall
reasonably cooperate with the Buyer (at the Buyer’s cost and expense) in pursuing
any claims thereunder, and shall pay over to the Buyer promptly any insurance
proceeds paid or recovered thereunder with respect to the Purchased Assets or the
Assumed Liabilities. In the event the Buyer determines to purchase replacement
coverage with respect to any such Insurance Policy, the Seller shall reasonably
cooperate with the Buyer to terminate such Insurance Policy to the extent only
applicable to the Purchased Assets, and the Seller shall, at the option of the Buyer,
promptly pay over to the Buyer any refunded or returned insurance premiums
received by the Seller in connection therewith (or, if applicable, the Buyer’s pro rata
portion thereof) or cause such premiums to be applied by the applicable carrier to the
replacement coverage arranged by the Buyer.
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        9.17   Collection of Accounts Receivable.

       (a)    As of the Closing Date, the Seller hereby (i) authorizes the Buyer to open
any and all mail addressed to the Seller relating to the Business or the Purchased
Assets and delivered to the offices of the Business or otherwise to the Buyer if received
on or after the Closing Date and (ii) appoints the Buyer or its attorney-in-fact to
endorse, cash and deposit any monies, checks or negotiable instruments received by
the Buyer after the Closing Date with respect to Accounts Receivable that are
Purchased Assets or accounts receivable relating to work performed by the Buyer
after the Closing, as the case may be, made payable or endorsed to the Seller or the
Seller’s order, for the Buyer’s own account.

       (b)     As of the Closing Date, the Seller agrees that any monies, checks or
negotiable instruments received by the Seller after the Closing Date with respect to
Accounts Receivable that are Purchased Assets or accounts receivable relating to
work performed by the Buyer after the Closing, as the case may be, shall be held in
trust by the Seller for the Buyer’s benefit and account, and promptly upon receipt by
the Seller of any such payment (but in any event within five (5) business days of such
receipt), the Seller shall pay over to the Buyer or its designee the amount of such
payments. In addition, the Buyer agrees that, after the Closing, it shall hold and shall
promptly transfer and deliver to the Seller, from time to time as and when received
by the Buyer or its Affiliates, any cash, checks with appropriate endorsements, or
other property that the Buyer or its Affiliates may receive on or after the Closing
which properly belongs to the Seller hereunder, including any Excluded Assets.

       (c)   As of the Closing Date, the Buyer shall have the sole authority to bill and
collect Accounts Receivable that are Purchased Assets and accounts receivable
relating to work performed by the Buyer after the Closing.

       9.18 Use of Name and Marks. Neither the Seller or any of its Affiliates shall
use, license or permit any third party to use, any name, slogan, logo or trademark
which is similar or deceptively similar to any of the names, trademarks or service
marks included in the Intellectual Property included in the Purchased Assets.




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                                EXHIBIT A


                  Assignment, Assumption and Bill of Sale




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               ASSIGNMENT, ASSUMPTION AND BILL OF SALE

       THIS ASSIGNMENT, ASSUMPTION AND BILL OF SALE (this “Agreement”),
effective as of June [•], 2021 (the “Effective Date”), is entered into by General Atomics
Aeronautical Systems, Inc., (the “Buyer”) and Engineered Propulsion Systems, Inc.,
(the “Seller”).

       WHEREAS, the Buyer and the Seller are parties to an Asset Purchase
Agreement, dated as of June [•], 2021 (as amended) (the “Purchase Agreement”),
pursuant to which, among other things, at the Closing (as such term is defined in the
Purchase Agreement), (x) the Buyer agrees to purchase from the Seller, and the Seller
agrees to sell to the Buyer, free and clear of any and all Liens other than Permitted
Liens, all of the Purchased Assets and (y) the Buyer agrees to assume from the Seller,
and the Seller agrees to assign and transfer to the Buyer all Assumed Contracts and
all Assumed Liabilities, if any.

      NOW, THEREFORE, in consideration of the mutual covenants, terms and
conditions set forth herein, and for other good and valuable consideration, the receipt
and sufficiency of which are hereby acknowledged, the parties agree as follows:

      1.    Capitalized Terms. Capitalized terms used in this Agreement and not
otherwise defined shall have the meanings specified in the Purchase Agreement.

       2.    Bill of Sale/Assignment. For good and valuable consideration, the
receipt and sufficiency of which are hereby acknowledged, and in consideration of
the mutual covenants, terms and conditions set forth in the Purchase Agreement, the
Seller hereby sells, transfers, assigns, conveys and delivers to the Buyer and its
successors and assigns forever all the Seller’s right, title, and interest in and to the
Purchased Assets and the Assumed Contracts.

      3.     Assumption. As of the Effective Date, the Buyer hereby accepts such
assignment and assumes the Assumed Liabilities, if any, and Assumed Contracts and
agrees to pay, perform, or discharge, as the case may be, when due or required to be
performed or discharged, all the Seller’s duties and obligations arising on account of
the Assumed Liabilities, if any, and the Assumed Contracts.

      4.     Further Assurances. At any time and from time to time after the date of
this Agreement, at the request of either party hereto and without further
consideration, the other party hereto shall execute and deliver such other instruments
of assignment, assumption and confirmation and take such other action as the


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requesting party may reasonably request as necessary or desirable to more effectively
transfer and assign to the Buyer the Purchased Assets and have the Buyer assume the
Assumed Liabilities.

        5.    Terms of the Purchase Agreement. The parties acknowledge and agree
that the representations, warranties, covenants, agreements, and indemnities
contained in the Purchase Agreement shall not be superseded hereby but shall remain
in full force and effect to the full extent provided therein. In the event of a conflict
between the terms and provisions of this Agreement and the Purchase Agreement,
the terms and provisions of the Purchase Agreement shall govern and control.

       6.    Binding Effect. This Agreement shall be binding upon and shall inure
to the benefit of the parties hereto and the respective successors and assigns of the
parties hereto.

      7.     Governing Law. This Agreement shall be governed by and construed in
accordance with the domestic laws of the State of Wisconsin without giving effect to
any choice or conflict of law provision or rule that would cause the application of the
laws of any jurisdiction other than the State of Wisconsin.

       8.    Amendments and Waivers. No amendment or waiver of any provision
of this Agreement shall be valid unless the same shall be in writing and signed by
each of the parties hereto. No failure on the part of any party hereto to exercise any
power, right, privilege or remedy under this Agreement, and no delay on the part of
any party hereto in exercising any power, right, privilege or remedy under this
Agreement, shall operate as a waiver of such power, right, privilege or remedy; and
no single or partial exercise of any such power, right, privilege or remedy shall
preclude any other or further exercise thereof or of any other power, right, privilege
or remedy.

       9.     Counterparts. This Agreement may be executed by facsimile or
electronic transmission in counterparts, each of which shall be deemed an original,
but all of which together will constitute one and the same instrument.




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      IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be
executed as of the date and year first above written.



                                   GENERAL ATOMICS AERONAUTICAL
                                   SYSTEMS, INC., as the Buyer



                                   By: _______________________________




                                   ENGINEERED PROPULSION SYSTEMS,
                                   INC., as the Seller



                                   By: _______________________________

                                       Michael Fuchs, President




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                                   Exhibit B-1


               Assignment & Assumption of Hangar Lot Leases




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               ASSIGNMENT & ASSUMPTION OF HANGAR LOT LEASES

     THIS ASSIGNMENT & ASSUMPTION OF HANGAR LOT LEASES (this
“Agreement”), effective as of May [•], 2021 (the “Effective Date”), is entered into by
General Atomics Aeronautical Systems, Inc., (the “Buyer”) and Engineered
Propulsion Systems, Inc., (the “Seller”).

       WHEREAS, the Buyer and the Seller are parties to an Asset Purchase
Agreement, dated as of May [•], 2021 (as amended) (the “Purchase Agreement”),
pursuant to which, among other things, at the Closing (as such term is defined in the
Purchase Agreement), the Seller agrees to sell and assign to the Buyer, and the Buyer
wishes to purchase and assume from the Seller, free and clear of any and all Liens
other than Permitted Liens, all of Seller’s right, title, and interest in, to, and under
those certain Hanger Lot Leases listed on Exhibit A hereto (collectively, the “Hanger
Lot Leases”).

      NOW, THEREFORE, in consideration of the mutual covenants, terms and
conditions set forth herein, and for other good and valuable consideration, the receipt
and sufficiency of which are hereby acknowledged, the parties agree as follows:

      1.    Capitalized Terms. Capitalized terms used in this Agreement and not
otherwise defined shall have the meanings specified in the Purchase Agreement.

       2.      Assignment. Seller hereby sells, transfers, assigns, conveys and delivers
to the Buyer and its successors and assigns forever all the Seller’s right, title, and
interest in, to, and under the Hangar Lot Leases, free and clear of any and Liens other
than Permitted Liens. Whenever Seller receives any notice or demand pursuant to
the Lease, Seller shall agrees to promptly provide Tenant with a copy of such notice.

        3.     Assumption. As of the Effective Date, the Buyer hereby accepts such
assignment and assumes the Hangar Lot Leases, if any, and agrees to pay, perform,
or discharge, as the case may be, when due or required to be performed or discharged,
all of the Seller’s duties and obligations arising on account of the assumed Hangar Lot
Leases, if any; provided Buyer is not assuming any debt, Liability, obligation, cost or
expense arising out of, or relating to the Hangar Lot Leases, which arose prior to the
Effective Date and Seller agrees to indemnify, defend and hold Buyer harmless from
and against the same.

       4.   Further Assurances. At any time and from time to time after the date of
this Agreement, at the request of Buyer and without further consideration, Seller shall
execute and deliver such other instruments of assignment, assumption and
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confirmation and take such other action as the requesting party may reasonably
request as necessary or desirable to more effectively convey, transfer, assign, and vest
in Buyer good and marketable Title to the Hangar Lot Leases free and clear or any
and all Liens other than Permitted Liens.

        5.    Terms of the Purchase Agreement. The parties acknowledge and agree
that the representations, warranties, covenants, agreements, and indemnities
contained in the Purchase Agreement shall not be superseded hereby but shall remain
in full force and effect to the full extent provided therein. In the event of a conflict
between the terms and provisions of this Agreement and the Purchase Agreement,
the terms and provisions of the Purchase Agreement shall govern and control.

       6.    Binding Effect. This Agreement shall be binding upon and shall inure
to the benefit of the parties hereto and the respective successors and assigns of the
parties hereto.

      7.     Governing Law. This Agreement shall be governed by and construed in
accordance with the domestic laws of the State of Wisconsin without giving effect to
any choice or conflict of law provision or rule that would cause the application of the
laws of any jurisdiction other than the State of Wisconsin.

       8.    Amendments and Waivers. No amendment or waiver of any provision
of this Agreement shall be valid unless the same shall be in writing and signed by
each of the parties hereto. No failure on the part of any party hereto to exercise any
power, right, privilege or remedy under this Agreement, and no delay on the part of
any party hereto in exercising any power, right, privilege or remedy under this
Agreement, shall operate as a waiver of such power, right, privilege or remedy; and
no single or partial exercise of any such power, right, privilege or remedy shall
preclude any other or further exercise thereof or of any other power, right, privilege
or remedy.

       9.     Counterparts. This Agreement may be executed by facsimile or
electronic transmission in counterparts, each of which shall be deemed an original,
but all of which together will constitute one and the same instrument.

       10.    Successors and Assigns. This Agreement shall be binding upon and
inure to the benefit of the parties hereto and their respective successors and permitted
assigns.


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        11.    Representations and Warranties. Seller hereby represents and warrants
that: (a) the Leases attached as Exhibit C are true, correct, and complete copies of the
Hangar Lot Leases, (c) the Hanger Lot Leases have not been amended or modified
except as set forth in Exhibit B, and the Hanger Lot Leases are now in full force and
effect; (b) neither Landlord nor Tenant is in default under the Hanger Lot Leases, nor
has any event occurred which with the passage of time or the giving of notice or both,
would constitute a breach or default by Landlord or Tenant under the terms of the
Lease; (c) all rent has been paid in accordance with the terms of the Lease; and (d)
Buyer, its successors and/or assignees shall have the right to exercise any options to
extend granted to the Tenant under the Lease.




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      IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be
executed as of the date and year first above written.



                                               GENERAL ATOMICS AERONAUTICAL
                                               SYSTEMS, INC., as the Buyer



                                               By: _______________________________




                                               ENGINEERED PROPULSION SYSTEMS,
                                               INC., as the Seller



                                               By: _______________________________

                                                   Michael Fuchs, President



This Agreement and assignment of lease consented to and accepted by _______________ in his capacity as
Airport Manager for the City of New Richmond.



                                               By: _______________________________

                                                   ______________, ______________



                                               [ADD NOTARY BLOCKS]




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                                       EXHIBIT A

                                 HANGAR LOT LEASES

    1. Hangar Lot Lease, by and between City of New Richmond, as Lessor, and
       Engineered Propulsion Systems, Inc., as Lessee, dated 1/13/2017, for a parcel
       of land containing 14,400 square foot located at Lot 16, Row 11, New Richmond
       Municipal Airport, New Richmond, WI 54017 (and recorded 1/31/2017, as St.
       Croix County Document No. 1042803 St. Croix County).

    2. Hangar Lot Lease, by and between City of New Richmond, as Lessor, and
       Engineered Propulsion Systems, Inc., as Lessee, dated 1/13/2017, for a parcel
       of land containing 14,400 square foot located at Lot 18, Row 11, New Richmond
       Municipal Airport, New Richmond, WI 54017 (and recorded 2/6/2017, as St.
       Croix County Document No. 1043146 St. Croix County).




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                                   Exhibit B-2


                      Hangar Bill of Sale and Assignment




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                  HANGAR BILL OF SALE AND ASSIGNMENT

       THIS HANGAR BILL OF SALE AND ASSIGNMENT (this “Agreement”),
effective as of May [•], 2021 (the “Effective Date”), is entered into by General Atomics
Aeronautical Systems, Inc., (the “Buyer”) and Engineered Propulsion Systems, Inc.,
(the “Seller”).

       WHEREAS, the Buyer and the Seller are parties to an Asset Purchase
Agreement, dated as of May [•], 2021 (as amended) (the “Purchase Agreement”),
pursuant to which, among other things, at the Closing (as such term is defined in the
Purchase Agreement), the Buyer agrees to purchase from the Seller, and the Seller
agrees to sell to the Buyer, free and clear of any and all Liens other than Permitted
Liens, all of Seller's right, title and interest in and to two airplane hangars (the
“Hangars”), all as more particularly described on Exhibit A hereto;

      NOW, THEREFORE, in consideration of the mutual covenants, terms and
conditions set forth herein, and for other good and valuable consideration, the receipt
and sufficiency of which are hereby acknowledged, the parties agree as follows:

      1.    Capitalized Terms. Capitalized terms used in this Agreement and not
otherwise defined shall have the meanings specified in the Purchase Agreement.

       2.     Bill of Sale/Assignment. For good and valuable consideration, the
receipt and sufficiency of which are hereby acknowledged, and in consideration of
the mutual covenants, terms and conditions set forth in the Purchase Agreement, the
Seller hereby sells, transfers, conveys, assigns and delivers to Buyer, its successors
and permitted assigns, all of Seller's right, title and interest in and to the Hangars free
and clear of any and all Liens other than Permitted Liens. Buyer is not assuming any
debt, Liability, obligation, cost or expense arising out of, or relating to the Hangars,
which arose prior the date hereof.

       3.     Further Assurances. At any time and from time to time after the date of
this Agreement, at the request of either party hereto and without further
consideration, the other party hereto shall execute and deliver such other instruments
of assignment, assumption and confirmation and take such other action as the
requesting party may reasonably request as necessary or desirable to more effectively
transfer, assign, and vest in Buyer, to the best of Seller’s knowledge, good and
marketable Title to the Hangars free and clear or any and all Liens other than
Permitted Liens.

      4.   Terms of the Purchase Agreement. The parties acknowledge and agree
that the representations, warranties, covenants, agreements, and indemnities

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contained in the Purchase Agreement shall not be superseded hereby but shall remain
in full force and effect to the full extent provided therein. In the event of a conflict
between the terms and provisions of this Agreement and the Purchase Agreement,
the terms and provisions of the Purchase Agreement shall govern and control.

       5.    Binding Effect. This Agreement shall be binding upon and shall inure
to the benefit of the parties hereto and the respective successors and assigns of the
parties hereto.

      6.     Governing Law. This Agreement shall be governed by and construed in
accordance with the domestic laws of the State of Wisconsin without giving effect to
any choice or conflict of law provision or rule that would cause the application of the
laws of any jurisdiction other than the State of Wisconsin.

       7.    Amendments and Waivers. No amendment or waiver of any provision
of this Agreement shall be valid unless the same shall be in writing and signed by
each of the parties hereto. No failure on the part of any party hereto to exercise any
power, right, privilege or remedy under this Agreement, and no delay on the part of
any party hereto in exercising any power, right, privilege or remedy under this
Agreement, shall operate as a waiver of such power, right, privilege or remedy; and
no single or partial exercise of any such power, right, privilege or remedy shall
preclude any other or further exercise thereof or of any other power, right, privilege
or remedy.

       8.     Counterparts. This Agreement may be executed by facsimile or
electronic transmission in counterparts, each of which shall be deemed an original,
but all of which together will constitute one and the same instrument.

       9.     Successors and Assigns. This Agreement shall be binding upon and
inure to the benefit of the parties hereto and their respective successors and permitted
assigns.

      10.    Recordation. Either party may, at its option, choose to record this
instrument with the Register of Deeds of St. Croix County, Wisconsin. The act of
recording alone is not determinative of the real or personal property status of the
Hangars.




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      IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be
executed as of the date and year first above written.



                                   GENERAL ATOMICS AERONAUTICAL
                                   SYSTEMS, INC., as the Buyer



                                   By: _______________________________




                                   ENGINEERED PROPULSION SYSTEMS,
                                   INC., as the Seller



                                   By: _______________________________

                                       Michael Fuchs, President




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                                   Exhibit A

                                    Hangars

The airplane hangar located upon the premises commonly referred to as Lot 18 Row
11 of the New Richmond Municipal Airport, New Richmond Wisconsin, and more
specifically described as:

        LOT 18, ROW 11 OF THE AIRPORT LAYOUT PLAN DATED SEPTEMBER 1,
        1989, BEING PART OF THE SOUTH HALF OF THE NORTHEAST
        QUARTER (S 1/2 OF NE 1/4) AND THE NORTH HALF OF THE
        SOUTHEAST QUARTER (N 1/2 OF THE SE 1/4) AND THE SOUTHWEST
        QUARTER OF THE SOUTHWEST QUARTER (SW 1/4 OF THE SW 1/4) OF
        SECTION TWENTY-FIVE (525), TOWNSHIP THIRTY-ONE NORTH (T31N),
        RANGE EIGHTEEN WEST (R18W), IN THE CITY OF NEW RICHMOND, ST.
        CROIX COUNTY, WISCONSIN.

The airplane hangar located upon the premises commonly referred to as Lot 16 Row
11 of the New Richmond Municipal Airport, New Richmond Wisconsin, and more
specifically described as:

        LOT 16, ROW 11 OF THE AIRPORT LAYOUT PLAN DATED SEPTEMBER 1,
        1989, BEING PART OF THE SOUTH HALF OF THE NORTHEAST
        QUARTER (S 1/2 OF NE 1/4) AND THE NORTH HALF OF THE
        SOUTHEAST QUARTER (N 1/2 OF THE SE 1/4) AND THE SOUTHWEST
        QUARTER OF THE SOUTHWEST QUARTER (SW 1/4 OF THE SW 1/4) OF
        SECTION TWENTY-FIVE (S25), TOWNSHIP THIRTY-ONE NORTH (T31N),
        RANGE EIGHTEEN WEST (R18W), IN THE CITY OF NEW RICHMOND, ST.
        CROIX COUNTY, WISCONSIN.




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                                EXHIBIT C


                          Proposed New Sale Order




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                   UNITED STATES BANKRUPTCY COURT
                 FOR THE WESTERN DISTRICT OF WISCONSIN

In re: ENGINEERED PROPULSION SYSTEMS, INC.,                  Case No. 20-11957-gmh

                           Debtor.                                 Chapter 11


        ORDER AUTHORIZING SALE OF ASSETS UNDER 11 U.S.C. §363


        Upon the motion (the “Motion”) of the above-captioned debtor (the “Debtor”)

for entry of an order (this “Sale Order”) approving the sale (“Sale”) of certain assets

of the Debtor (the “Assets”) free and clear of all Liens (as defined below) to General

Atomics Aeronautical Systems, Inc. (together with its successors, designees and

assigns, the “Buyer”); and it appearing that Buyer has submitted the highest or

otherwise best bid for the Assets; and upon adequate and sufficient notice of the

Motion, the Agreement, and the Sale; and the Court having reviewed and

considered the Motion and all relief related thereto and any objections thereto; and

upon the full record in support of the relief requested by the Debtor in the Motion;

and this Court having jurisdiction to enter a final order approving the Sale and the




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Agreement consistent with Article III of the United States Constitution; and after

due deliberation thereon, and good and sufficient cause appearing therefor,

THE COURT HEREBY FINDS THAT:

        A.       Notice of the Sale Hearing and Transaction was timely, proper, and

reasonable.

        B.       The agreement that governs the Sale (the “Agreement”1), attached to

this Sale Order as Exhibit 1, was negotiated, proposed, and entered into by the

Debtor and the Buyer without collusion, in good faith, and from arm’s-length

bargaining positions. Neither the Debtor nor the Buyer has engaged in any conduct

that would cause or permit the Sale to be avoided under Bankruptcy Code section

363(n). The Buyer is a good faith buyer within the meaning of section 363(m) of the

Bankruptcy Code and is not an “insider” of the Debtor.

        C.       The conditions of section 363(f) of the Bankruptcy Code have been

satisfied with respect to each and every lien (as that term is defined in section

101(37) of the Bankruptcy Code), including the DIP Liens2, and other encumbrance

that has been or could be asserted with respect to the Assets, (collectively, “Liens”).



1
 Capitalized terms used but not otherwise defined herein have the meanings given to them in the Motion or the
Agreements.
2“DIP Liens” has the meaning assigned to it in this Court’s Final Order: (I) Authorizing the Debtor to Use
Cash Collateral; (II) Authorizing the Debtor to Obtain Senior Secured Postpetition (DIP) Financing; (III) Granting
Liens and Superpriority Administrative Claim Status to the DIP Lender;(IV) Granting Adequate Protection to the
Prepetition Secured Parties; and (V) Granting Related Relief, dated September 8, 2020, ECF No. 124 (the “First
DIP Order,” and, collectively with the further orders of the Court dated December 17, 2020, ECF No. 237,


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        D.      There is sufficient cause to lift the stay contemplated by Bankruptcy

Rules 6004(h) and 6006(d) with regard to the transactions contemplated by this Sale

Order.

         THE COURT HEREBY ORDERS THAT:

        1.      The Agreement, all other ancillary documents, the Sale, and all other

relief requested in the Motion are hereby approved, pursuant to sections 105(a), 363,

and 365 of the Bankruptcy Code and Bankruptcy Rules 2002, 6004, and 6006.

        2.      Any objections to the Motion that have not been withdrawn, waived, or

settled are hereby denied with prejudice. Parties that did not object, or withdrew

their objection, to the Motion have consented to the Sale pursuant to Bankruptcy

Code section 363(f)(2).

        3.      Pursuant to Bankruptcy Code sections 105(a), 363, and 365, the Debtor

is authorized to transfer the Assets to the Buyer in accordance with the terms of the

Agreement. Such transfer shall constitute a legal, valid, binding, and effective sale

and shall vest the Buyer with title to the Assets. The transfer of the Assets is free

and clear of all Liens, claims, or other interests of any kind or nature whatsoever,

with all such Liens, claims, or other interests to attach to the cash proceeds of the




and April 8, 2021, ECF No. 306, the “DIP Orders”). In the event of any conflict between this Sale Order
and the terms of the DIP Orders, this Sale Order controls.


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Purchase Price ultimately attributable to the property against or in which such

Liens, claims, or other interests are asserted.

        4.     The Court shall retain exclusive jurisdiction to, among other things,

interpret, implement, and enforce the terms and provisions of this Sale Order and

the Agreement, all amendments thereto, and any waivers and consents thereunder,

and to adjudicate any and all disputes concerning or relating in any way to the Sale.

        5.     To the extent that this Sale Order is inconsistent with any prior order or

pleading with respect to the Motion in this chapter 11 case, the terms of this Sale

Order shall govern.

                                          ###




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                                     Schedule 1.2(b) Equipment


               Asset ID Running                                    Asset
  Acct #
                   Number
 15011 Machinery & Equipment (COGS)
 15011    EPS 2010‐278        Torin Folding Shop Crane
 15011    EPS 2010‐279        Sunex Engine Stand
 15011    EPS 2011‐003        Canon Camera
 15011    EPS 2011‐004        Presto Air Lift Table
 15011    EPS 2011‐005        FlatBed Trailer
 15011    EPS 2011‐006        Tombstone City Tools
 15011    EPS 2011‐007        Miter Band Saw (Portable)
 15011    EPS 2011‐008        BT40 Sem Iscar Cutter
 15011    EPS 2011‐009        200 PSI 2-GAL TANK
 15011    EPS 2011‐010        MSC Industrial Tools (Hardness Tester & Roughness Tester)
 15011    EPS 2011‐011        Cat40‐750‐FMX‐6W Prec
 15011    EPS 2011‐012        Hoff Auctions Tools (Fixture ‐ Manufacturing)
 15011    EPS 2011‐014        IDC Digimatic Indicator
 15011    EPS 2011‐016        Floor Drill Press
 15011    EPS 2011‐017        LCD Digital Multimeter
 15011    EPS 2011‐018        Brake Tube Flaring Tool
 15011    EPS 2011‐019        Tube Straightner
 15011    EPS 2011‐020        Bead Form
 15011    EPS 2011‐021        Driver and Socket Set
 15011    EPS 2011‐022        4 WorkBenches
 15011    EPS 2012‐042        Scaffolding/Outriggers
 15011    EPS 2012‐043        Trailer To Equip/Airbag
 15011    EPS 2012‐044        Storage Cabinets/Bins
 15011    EPS 2012‐045        Drill Set/ Caliper/Screwdr
 15011    EPS 2012‐046        20V Max Hammer Drill
 15011    EPS 2012‐047        Test Equipment [Inert Gas Regulator]
 15011    EPS 2012‐048        Thermal Wire Stripper
 15011    EPS 2012‐049        Shop Tools
 15011    EPS 2012‐050        DC Power Supply
 15011    EPS 2012‐051        Heat Gun/Pliers
 15011    EPS 2012‐052        Mobile Test Stand (Trailer)
 15011    EPS 2013‐078        Iscar Boring Head
 15011    EPS 2013‐079        Gage Metric Pin Set
 15011    EPS 2013‐080        Iscar and Harvey Tool Tooling
 15011    EPS 2013‐083        Components VFD & Control for Mobile Test Bed Blower
 15011    EPS 2013‐084        Kaeser Compressor
 15011    EPS 2013‐085        Rigging for Mori Seiki Lathe ‐ NLX 2500SY
 15011    EPS 2013‐086        Mori Seiki Lathe ‐ NLX 2500SY
 15011    EPS 2013‐087        Ellison Technologies freight and handling Mori Seiki ‐ NLX 2500SY
 15011    EPS 2013‐088        Rigging DMG
 15011    EPS 2013‐089        DMU 65 MB DMG Vertical Milling Center (S/N: 121400038003)
 15011    EPS 2013‐089‐1      Coolant Nozzle for DMU 65
 15011    EPS 2013‐089‐2      Modular Tooling Plate ‐ DMU 65


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 15011     EPS 2013‐089‐3    Zero Clamp Quick Change ‐ DMU 65
 15011     EPS 2013‐090      Wiring Manuf for Machine DMG
 15011     EPS 2013‐091      Wiring Manuf For Mori Seiki Lathe ‐ NLX 2500SY
 15011     EPS 2013‐093      Axial Drilling and Milling Head Benz Type DA
 15011     EPS 2013‐094      Radial Drilling and Milling Head Benz Type Fax
 15011     EPS 2013‐095      spindle Unit & freight
 15011     EPS 2013‐096      Inspection tool permanent (borescope) ‐ Medit Inc (Replaced a portion of
                             EPS000840)
 15011     EPS 2013‐097      Trailer Improvements
 15011     EPS 2013‐098      Oil Diverter for Mori Seiki ‐ NLX 2500SY
 15011     EPS 2013‐099      Oil Diverter for DMG
 15011     EPS 2013‐100      Tool Grinder (Pope) ‐ located in Fab shop for Mfg use
 15011     EPS 2013‐101      Mist Collector (DMG) (above DMG)
 15011     EPS 2014‐128      Miller Dynasty 300 TiGrunner Serial# KK308530 (fabrication equipment that
                             we will use for all projects) (EPS‐ 005)
 15011     EPS 2014‐129      HN‐218HD Heavy Duty Cylinder Hone with Stone Set ‐ Goodson Brand (EPS‐
                             005)
 15011     EPS 2014‐130      4551082 ST3/4 MB20X6.69 ISCAR (EPS‐011)
 15011     EPS 2014‐131      4559507 BHFI MB20‐20X40 RV ISCAR (EPS‐011)
 15011     EPS 2014‐132      Werner Weitner Engine and Transmission Repair Stand, SKU: WW‐MG600V
                             (EPS‐PO‐2014‐00157) (EPS‐005) (FIX‐ 0050_0105 (SN2))
 15011     EPS 2014‐133      3" STRAIGHT SHANK CONCENTRIC LIVE CENTERS ‐ Tool for lathe (EPS‐004)
 15011     EPS 2014‐134      48‐71863 OD CUTTING HOLDER BOTH SIDES Y AXIS (EPS‐004)
 15011     EPS 2014‐135      3101670 FDN D4.0‐0.38‐CF4‐06 ISCAR (EPS‐003)
 15011     EPS 2014‐138      695.1520655KB 6MM S5 ADAPTOR BENZ (EPS‐004)
 15011     EPS 2014‐139      695.1520855KB 8MM S5 ADAPTOR BENZ (EPS‐004)
 15011     EPS 2014‐140      695.1521260KB 12MM S5 ADAPTOR BENZ (EPS‐004)
 15011     EPS 2014‐141      Compressor Dryer Parts (EPS‐011)
 15011     EPS 2014‐142      Compressor Dryer (EPS‐011)
 15011     EPS 2014‐143      Compressor Dryer Parts (EPS‐011)
 15011     EPS 2014‐144      Compressor Dryer Parts (EPS‐011)
 15011     EPS 2014‐145      Lincoln Electric Precision TIG 185 Ready‐Pac TIG Welder (EPS‐005)
 15011     EPS 2014‐147      PO 2014‐00258: 4559419: ADJ‐HYDRO‐20‐D70 ISCAR (EPS‐004)
 15011     EPS 2014‐148      PO 2014‐00290: 48‐71863: OD CUTTING HOLDER BOTH SIDES Y AXIS (EPS‐
                             004)
 15011     EPS 2014‐149      PO 2014‐00258: 411500008‐690: GEAR HOBBING UNIT WTO‐USA 2:1 GEAR
                             RATIO/ENTERNAL COOLANT (EPS‐ 004)
 15011     EPS 2014‐150      PO 2014‐00258 ‐ 3/4 ARBOR WTO (EPS‐004)
 15011     EPS 2014‐154      DMG DMC 85 Monoblock 5‐Axis Vertical Machine, SN# 12280000053
 15011     EPS 2014‐154‐1    Modular Tooling Plate ‐ DMC 85
 15011     EPS 2014‐154‐2    Zero Clamp Quick Change ‐ DMC 85
 15011     EPS 2014‐155      DMG Sprint 20‐8 Linear CNC Fanuc 310, SN# 8092000187B (EPS‐014)
 15011     EPS 2015‐173      E‐SDUCR 10‐2 ISCAR (EPS‐004)
 15011     EPS 2015‐182      2MOD 20PA Class A TIN Coated M45 Material ‐ Gear Hob Machine Tool (EPS‐
                             004)
 15011     EPS 2015‐183      MNC 350‐175 A32‐189 09‐5D ISCAR CUTTER, Qty 1 (EPS‐011)
 15011     EPS 2015‐184      1/2 Cu Yd Gray Heavy Duty Self Dumping Forklift Hopper (EPS‐011)
 15011     EPS 2015‐187      1627404 Pre‐Grind, Bore Type Gear Hob #1 (EPS‐011)
 15011     EPS 2015‐188      1627404 Pre‐Grind, Bore Type Gear Hob #2 (EPS‐011)


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 15011     EPS 2015‐189      Hob Finishing Non‐Topping 3 mod 20PA Class A M45 Material TiN Coated
                             (EPS‐004)
 15011     EPS 2015‐190      Hob Finishing Non‐Topping 3 mod 20PA Class A M45 Material TiALN Coated
                             (EPS‐004)
 15011     EPS 2015‐191      1‐1/4 ARBOR WTO (EPS‐004)
 15011     EPS 2015‐192      Zeiss Accura II Aktiv 900/1600/800 (EPS‐016)
 15011     EPS 2015‐193      HAW1 SK80BZIHS WR8,0 ‐ EMERGENCY SPANTOP 80 8MM PILOT (EPS‐015)
 15011     EPS 2015‐194      600664‐8600‐000 ‐ Probe socket XTR (EPS‐016) (Qty 7)
 15011     EPS 2015‐195      60355989 ‐ Mitutoyo ‐ 422‐330 ‐ Blade Micrometers Operation Type:
                             Electronic Minimum Measurement (mm): 0.00 (EPS‐017)
 15011     EPS 2015‐196      SHM117.1416.3.08 for broach insert (EPS‐004)
 15011     EPS 2015‐197      Additions to Test Trailer
 15011     EPS 2015‐198      Shims for CMM Machine
 15011     EPS 2015‐199      Assembly Tool: 0201AT‐A43‐XAA (Piston Cooling Jet Alignment Plate)
 15011     EPS 2015‐200      Assembly Tool: 0202AT‐A43‐XAA (Piston Cooling Jet Alignment Tool)
 15011     EPS 2015‐203      KASTOwin A3.3 automatic bandsawing machine ‐ Serial Number: 6705103053
                             Year: 2015 [In service & functional as of 8/3/2015]
 15011     EPS 2015‐205      SCMX‐425 VISE
 15011     EPS 2015‐208      Hydraulic Post Table Capacity: 2,000 LBS, Platform Size: 32" W X 48" L,
                             Platform
 15011     EPS 2015‐210      Qty 2 ‐600664‐9700‐000 ‐ adapter plate VAST XTR with cube
 15011     EPS 2015‐211      qty 1 ‐ 695.1521260KB ‐ 12mm Solidfix S5 Shrink Fit Chuck
 15011     EPS 2015‐212      qty 1 ‐ 695.1521055KB ‐ 10mm Solidfix S5 Shrink Fit Chuck
 15011     EPS 2015‐213      Qty ‐ 1 ‐ PS17‐NVK ‐ Pro Hawkeye Slim 17" Borescope
 15011     EPS 2015‐216      1730MF‐A43‐XAA ‐ Hobbing/Grinding Fixture ‐ EPS004/EPS015
 15011     EPS 2015‐216‐1    1730MF‐A43‐XAA ‐ Hobbing/Grinding Fixture ‐ EPS004/EPS015
 15011     EPS 2015‐217      Qty ‐ 1 ‐ 5qp130002 ‐ PALLET, 5 AXIS, QUICK CHANGE, 4 STUD, 130MM
                             ROUND, 30MM X 130MM (EPS‐013, EPS‐ 003)
 15011     EPS 2015‐217‐1    Qty ‐ 1 ‐ 5qp130002 ‐ PALLET, 5 AXIS, QUICK CHANGE, 4 STUD, 130MM
                             ROUND, 30MM X 130MM (EPS‐013, EPS‐ 003)
 15011     EPS 2015‐224      Qty 1 ‐ SSER25‐ISET ‐ ER25 STEEL SEAL INCH SET HPI
 15011     EPS 2015‐225      Qty 1 ‐ 511089 ‐ AXD7000R04002A‐H63A MITS CUTTER
 15011     EPS 2015‐226      Qty 1 ‐ 511089 ‐ AXD7000R04002A‐H63A MITS CUTTER
 15011     EPS 2015‐228      Test Trailer Additions (EPS‐008)
 15011     EPS 2016‐282      [NTX 1000] NTX1000/SZM MORI SEIKI LATHE S/N: NTX10150207 ‐ Placed in
                             Service 1/4/2016
 15011     EPS 2016‐283      [Wiring for EPS‐014] Hooking up Bar Chamfer for the Sprint Linear 20‐8
 15011     EPS 2016‐286      Qty ‐ 1 ‐ 115GAX03559S5 ‐ Radial Driven Tool Benz (PO 2015‐00859)
 15011     EPS 2016‐287      3793T52 ‐ Steel Easy‐Empty Hopper w/ polyurethane wheels
 15011     EPS 2016‐289      49U611 ‐ ETALON Fixed/Friction Thimble Micrometer
 15011     EPS 2016‐295      511‐922 ‐ Bore Gage Services 511 18‐150mm (inspection tool)
 15011     EPS 2016‐296      Qty ‐ 3 ‐ GEHFUL 20‐2‐37769 ‐ Custom Piston Tooling
 15011     EPS 2016‐297      Qty ‐ 3 ‐ GEHFUL 20‐3‐37756 ‐ Custom Piston Tooling
 15011     EPS 2016‐298      Qty ‐ 3 ‐ GEHFUL 20‐3‐37759 ‐ Custom Piston Tooling
 15011     EPS 2016‐299      Qty ‐ 3 ‐ GEHFUL 20‐3‐37765 ‐ Custom Piston Tooling
 15011     EPS 2016‐300      Qty ‐ 3 ‐ GEHFUL 20‐3‐37768 ‐ Custom Piston Tooling
 15011     EPS 2016‐301      Qty ‐ 3 ‐ GEHFUL 20‐3‐37770 ‐ Custom Piston Tooling
 15011     EPS 2016‐309      SAND C5‐ASHL3‐36123‐20 ‐ Concept Holder MAT# 5727955
 15011     EPS 2016‐320      TEI6 142.651.64.315 ‐ Capto C5 x SF 3/4 ‐ 80mm


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 15011     EPS 2016‐322    Qty 50 ‐ 36002518M16, ZeroClamp clamping stud ‐ reference quote 12153
 15011     EPS 2016‐323    Qty 7 ‐ 36004010012‐SET, Clamping pot Start ‐ Kit f. Ø 120 mm ‐ INCLUDES:
                           (4) 120mm pots (10) connection‐ development sites for the air line (each
                           plate requires an “in” and “out” and two points of connection on each pot)
                           Each of your 30 pot plates will require 22 connection sites (1.5) meters
                           (approximately 5’) of hose (1) ZeroClamp quick‐release coupling grade 10003
                           (1) Plug to go with coupling reference quote 12072
 15011     EPS 2016‐324    Qty 2 ‐ 36004010012, ZeroClamp clamping pot Ø120mm ‐ reference quote
                           12072
 15011     EPS 2016‐325    Qty 3 ‐36001712808, ZeroClamp connection block ‐ INCLUDES: (1)
                           CONNECTION BLOCK With 2 connection ports G ¼ for the connection of
                           release and blow‐out air hoses reference quote 12072
 15011     EPS 2016‐326    Qty 8 ‐ FIA1 V562M‐L96 ‐ Metric Vise 125mm x 150mm Self Centering‐ Lang
                           96 (Fifth Axis)
 15011     EPS 2016‐327    WS 7000 ‐ WS 700 ‐ Air flow: 694 CFM, Motor Efficiency per EISA 2007 / IE2
                           (hp): 1.27, Weight: 121 lbs., Sound Level 71 db Suction Inlet 150mm / 6”
                           (DMG 65)
 15011     EPS 2016‐329    GLCI NZ2000‐8311A‐3/4 DBL ‐ OD Holder Double Sided, Fits a Mori Seiki
                           NTX1000
 15011     EPS 2016‐330    600664‐9700‐000 ‐ adapter plate VAST XTR with cube
 15011     EPS 2016‐332    Qty 2 ‐ 626105‐6280‐050 ‐ Rotatable star element for styli DS1
 15011     EPS 2016‐333    EPS supplied Mist Collector and Stalling Switches for Mist collector for DMG
                           65
 15011     EPS 2016‐343    4450001 ‐ 840 F SNAP GAGE 1‐2.36"/25‐60
 15011     EPS 2016‐344    4346000 ‐ 2000 EXTRAMESS DIGITAL W/SPC OUTPUT
 15011     EPS 2016‐345    Qty 2 ‐ 4560135 ‐ TJS 20K‐ER32‐R ISCAR (speeder head)
 15011     EPS 2016‐346    Qty 2 ‐ 4560137 ‐ TJS 20K‐ER32‐R ISCAR, RPM DISPLAY FOR SPINJET HS
                           SPINDLES PROMO TP601
 15011     EPS 2016‐351    Additions to Test Trailer
 15011     EPS 2016‐355    Keyence Image Dimension Measuring System
 15011     EPS 2016‐359    3102483 ‐ F45LN D160‐12‐40‐R‐N15 ISCAR HOLDER
 15011     EPS 2016‐360    1628752 ‐ 2 mod x 20 deg pressure angle hob ‐ add to 2013‐086
 15011     EPS 2016‐374    1656235 ‐ 2 mod 30 deg pressure angle hob ‐ add to 2013‐086
 15011     EPS 2016‐375    1707823 ‐ 3mod x 20 deg pressure angle hob ‐ add to 2013‐086
 15011     EPS 2016‐376    1707826 ‐ 16/32 x 30 deg pressure angle hob ‐ add to 2013‐086
 15011     EPS 2016‐377    ORB2‐CT/1.000 Adjustment Free Rotary Broach Holder 1"
 15011     EPS 2016‐378    Esprit B Axix Mill Turn & Lathe (with add-on in front of unit)
 15011     EPS 2016‐379    Esprit Post Processor ‐ NTX‐1000‐SZM
 15011     EPS 2016‐380    Esprit Post Processor ‐ DMG Sprint 20‐8 Series Swiss
 15011     EPS 2016‐387    Job# 2028 ‐ Fixed Asset ‐ Test Trailer Improvements (EPS‐008) ‐ In Progress
 15011     EPS 2016‐389    Fuel Cap for Test Trailer
 15011     EPS 2016‐390    Go/No‐Go Gage
 15011     EPS 2016‐397    MarSurf XR1 Surface System
 15011     EPS 2016‐398    Dual Patch Roughness Std with NIST teaceable Certification
 15011     EPS 2016‐399    BFW Probe Arm A4‐90‐2/90 for bores larger than 4.5mm
 15011     EPS 2016‐400    BFW Probe Arm A0.7‐45‐2/90 for bores larger than 0.9mm
 15011     EPS 2016‐401    BRW Probe Arm A2.8‐45‐2/90‐Q6.5 with sideways offset of 6.5mm
 15011     EPS 2016‐402    BRW Probe Arm A2.8‐45‐2/60 with tip inclined at 32 deg for bores larger than
                           3.5mm
 15011     EPS 2016‐403    Dig. Dimensionair, 832,2 Chan, Low Mag, 1‐2‐3 Jet, "NAFTA"

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 15011     EPS 2016‐405    SHA‐111, Handle, Air, AHA‐15, 18" Long
 15011     EPS 2016‐406    APTHRU ‐ 75.0205mm Air Plug, DP‐20, 2 Jet, Thru Hole
 15011     EPS 2016‐407    APBLIND ‐ 86.002mm Air Plug, DP‐20, 2 Jet, Blind
 15011     EPS 2016‐408    Job# 2028 ‐ Fixed Asset ‐ Test Trailer Improvements (EPS‐008)
 15011     EPS 2017‐410    Hardness Tester ‐ Phase II+ 900‐331D
 15011     EPS 2017‐430    Spring Tester ‐ Larson Systems ECT 200lb ‐ High-Res Force
 15011     EPS 2017‐431    Zeiss Adapter Plate ‐ ZSH‐70‐R‐24 (Qty 2)
 15011     EPS 2017‐432    Zeiss Rack Holder ‐ ZCR‐070 (qty 4)
 15011     EPS 2017‐453    Mitutoyo 324‐252‐30 Micrometer GMB‐50MJB #84122837
 15011     EPS 2017‐454    50‐75 MM Digimatic Gear Micrometer #87118162
 15011     EPS 2017‐455    324‐254‐30‐ Mitutoyo Digimatic Micrometer #00518621
 15011     EPS 2017‐456    124‐177 100‐125MM Micrometer #83932269
 15011     EPS 2017‐457    124‐178 Gear Tooth Micrometer #68146521
 15011     EPS 2017‐458    150‐175MM Gear Tooth Micrometer #61893095
 15011     EPS 2017‐459    R&R Custom Aluminum Plate
 15011     EPS 2017‐460    R&R Fixture Plate 13x450x450
 15011     EPS 2017‐461    R&R Fixture Plate 13x300x300
 15011     EPS 2017‐462    R&R Claming Kit B FSC‐CB‐8
 15011     EPS 2017‐475    MG‐LK17‐0959‐01 (Shouldered Stylus ‐ 602030‐8065‐000, Adapter Plates ‐
                           600664‐9700‐000, Extensions ‐ 600341‐8261‐000, Qmark Disc Stylus)
 15011     EPS 2017‐476    91601708 ‐ 175‐200/.01MM GEAR MIC 124‐180 MITUTOYO QIA
 15011     EPS 2017‐477    Custom Face grooving blades for capto c5 holder ‐ NTX1000 ‐ GAFUL 8‐5JHP‐
                           40148
 15011     EPS 2017‐485    TASKI Swingo 150, floor cleaner
 15011     EPS 2017‐486    Nilfisk Advance VU500 Vacuum
 15011     EPS 2017‐487    600667‐9611‐000 Adapter plate MT/VAST with active ID‐Chip, set of 2,
                           158g/pc
 15011     EPS 2017‐488    ULT3 E16R‐SDUCR3 1" Carbide Boring Bar 8" OAL Brand: Ultra‐Dex
 15011     EPS 2017‐489    PRQ1 A‐5439‐0050‐RBE Renishaw OMI‐2T Optical Machine Interface
 15011     EPS 2017‐490    PRQ1 ADV Fee MT
 15011     EPS 2017‐491    4559519 KIT BHF MB50‐50 6‐108 ITSBORE ISCAR
 15011     EPS 2017‐505    B86004A11 Hand Jaw for Gantry Loader
 15011     EPS 2017‐506    B86005A11 Hand Jaw for Gantry Loader
 15011     EPS 2017‐507    B86006A10 Hand Jaw for Gantry Loader
 15011     EPS 2017‐508    B860105A01 Hand Jaw for Gantry Loader
 15011     EPS 2017‐509    B86001A11 Hand Jaw for Gantry Loader
 15011     EPS 2017‐510    B86002A11 Hand Jaw for Gantry Loader
 15011     EPS 2017‐511    B86003A11 Hand Jaw for Gantry Loader
 15011     EPS 2017‐512    B86007A11 Hand Jaw for Gantry Loader
 15011     EPS 2017‐513    B860106A01 Hand Jaw for Gantry Loader
 15011     EPS 2017‐514    B86016A04 Hand Jaw for Gantry Loader
 15011     EPS 2017‐515    B86017A04 Hand Jaw for Gantry Loader
 15011     EPS 2017‐516    B86018A04 Hand Jaw for Gantry Loader
 15011     EPS 2017‐517    Spare Belt for LTK‐E1
 15011     EPS 2017‐518    Vibratory System for LTK‐E1
 15011     EPS 2017‐519    LTK‐E1 Electronic Piston Ring Tester w/ calibration
 15011     EPS 2017‐520    Electronic Piston Profile Tester with all standard accessories
 15011     EPS‐2017‐537    Custom End Stop
 15011     EPS‐2017‐538    Segmented Clamping Bushing for Mando T212/T812


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 15011     EPS‐2017‐539      Custom Drawtube Adapter
 15011     EPS‐2017‐540      SnapTrac 8' monorail system & Accessories
 15011     EPS‐2017‐541      A02B‐0326‐R180 ‐ PART PROGRAM STORAGE SIZE ‐ 256KBYTE to 8MBYTE +
                             TRAVEL AND INSTALL
 15011     EPS‐2017‐542      9054431 BFW A 15‐90‐2/90 deg ‐ q40 Probe Arm
 15011     EPS‐2017‐548      Ruger Reverse Style Stacker: 10CBWB with 24" x 36" Telescopic Flip Up Boom
                             and Additional Counte...
 15011     EPS‐2017‐549      U8202421 27MG‐7910‐E‐E‐EN 27MG Digital Ultrasonic Thickness Gage.
                             Standard Kit.
 15011     EPS‐2017‐549.1    U8880014 2214E Test Block 5 Step 1018 Carbon Steel
 15011     EPS‐2017‐549.2    U8880010 2213E Test Block 5 Step Aluminum
 15011     EPS‐2017‐549.3    U8780343 27MG‐RPC 27MG Protective Rubber Boot with gage stand and
                             shoulder straps
 15011     EPS‐2017‐550      M50 x 1.5‐5H Go/NoGo Thread Plug Set w/ Calibration
 15011     EPS‐2017‐566      ThinkPad 230W Workstation Dock
 15011     EPS‐2017‐567      ThinkPad P51
 15011     EPS‐2017‐568      HAW1 2702/0011 SPANNTOP nova chuck size 80 Combi pull‐back [standard]
                             Spindle nose: A2‐8 Overall...
 15011     EPS‐2017‐569      HAW1 DRAWTUBE ADAPTER DRAWTUBE ADAPTER CUSTOMIZED Brand:
                             Hainbuch
 15011     EPS‐2017‐570      HAW1 MQ80 Manual Changing Fixture‐SPANNTOP Size 80 Pistol Grip Style
                             Brand: Hainbuch
 15011     EPS‐2017‐571      HAW1 2524/0026 Mando Adapt T212 RD Size 2 For Spanntop 80 System
                             Clamping range 36‐54 MM Brand:...
                             COT6 15.BMT19.05NZ ‐ EWS STATIC TOOL 15.BMT19.05NZ Multi‐purpose tool
                             holder. Main and Sub. BMT ... SAND C5‐ASHR3‐36123‐20 ‐ Adapter EDP:
                             5728601 Brand: Sandvik
                             2802107 ‐ C5 GHAD‐8‐JHP ISCAR
 15011     EPS‐2017‐572      COT6 15.BMT19.05NZ ‐ EWS STATIC TOOL 15.BMT19.05NZ Multi‐purpose tool
                             holder. Main and Sub. BMT ...
 15011     EPS‐2017‐573      SAND C5‐ASHR3‐36123‐20 ‐ Adapter EDP: 5728601 Brand: Sandvik
 15011     EPS‐2017‐574      2802107 ‐ C5 GHAD‐8‐JHP ISCAR
 15011     EPS‐2017‐588      MPU.224.B20.OAO.SP205 Right angled live tooling head for Sprint 20‐8
 15011     EPS‐2017‐589      WFB.220.036M er 20 collet adapter
 15011     EPS‐2017‐594      626100‐9025‐000 probe cabinet MSC, with 30 sockets MT/VAST
 15011     EPS‐2017‐595      600664‐9700‐000 ‐ Adapter plate for VAST XTR with cube
 15011     EPS‐2017‐596      ELC9 HSK63‐2TD‐ST‐T‐11 ‐ HSK63 SHANK
 15011     EPS‐2017‐597      30876246 HSK‐A063 SPECIAL PILOT TOOL PCD 022.508/37.000 HSK‐A063 PER
                             SKETCH 9143154‐2
 15011     EPS‐2017‐598      30899026 022.500/23.011 SPECIAL FINE BORING TOOL SKETCH 9143154‐1A
 15011     EPS‐2017‐599      30898984 MOD080:HFS014 A=467.55 MAPAL SPECIAL REPLACEABLE HEAD
                             ADAPTOR
 15011     EPS‐2017‐600      30899008 MOD080:HFS014 A=485.55 MAPAL SPECIAL REPLACEABLE HEAD
                             ADAPTOR
 15011     EPS‐2017‐603      30319389 OS‐AD‐HSK‐A063‐MOD080‐060‐11 ADAPTOR
 15011     EPS‐2017‐604      30854801 084.000/84.429 BORING TOOL MAPAL RADIAL INDEXABLE INSERTS.
                             SIMILAR TO SKETCH 9140758‐01
 15011     EPS‐2017‐605      30854802 085.600/86.029 SPECIAL FINE BORING TOOL WITH HX SYSTEM.
                             SIMILAR TO SKETCH 9140758‐02


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 15011     EPS‐2017‐606        30863810 085.950 SPECIAL FINE BORING TOOL WITH HX SYSTEM. SIMILAR TO
                               SKETCH 9140758‐03
 15011     EPS‐2017‐607        30854803 060.000 CIRCULAR MILL MAPAL TANGENTIAL INDEXABLE INSERTS.
                               SIMILAR TO SKETCH 9140758‐04
 15011     EPS‐2017‐615        30878578 074.710 FINE BORING TOOL W/WP SYSTEM SKETCH 9140754.01
 15011     EPS‐2017‐616        30878987 074.710/75.010 FINE BORING TOOL W/WP SYS SKETCH 9140754‐02
 15011     EPS‐2017‐617        30877475 MOD100:HSK‐C050 A=462.45 ADAPTOR
 15011     EPS‐2017‐618        30319390 OS‐AD‐HSK‐A063‐MOD100‐065‐11 ADAPTOR
 15011     EPS‐2017‐619        30641280 DZ93R6‐HC418 CARB INDEXABLE BLADE
 15011     EPS‐2017‐620        MS250‐2/MN349‐1 MS250‐2/MN349‐1 SETTING FIXTURE MASTERSET
 15011     EPS‐2017‐621        NR‐1181 1003 / MILLIMESS +/‐50 um DIAL INDICATOR
 15011     EPS‐2017‐622        NR‐1064 CENTRE CAP FOR SPINDLE MAPAL MECHANICAL
                               ACCESSORY/MOUNTING PART
 15011     EPS‐2017‐623        NR‐1065 CENTER CAP FOR SPINDLE 040 MAPAL MECHANICAL
                               ACCESSORY/MOUNTING PART
 15011     EPS‐2017‐624        30018374 45L100 ANGLED HEAD MAPAL MECHANICAL
                               ACCESSORY/MOUNTING PART
 15011     EPS‐2017‐625        30018371 5R100 ANGLED HEAD MAPAL MECHANICAL
                               ACCESSORY/MOUNTING PART
 15011     EPS‐2017‐626        NR‐1161 2.5MM MEASURING SHOE MAPAL MECHATRONIC PART
 15011     EPS‐2017‐627        K13757‐001 STAND FOR EQUIPMENT MAPAL
 15011     EPS‐2017‐632        Shelving
 15011     EPS‐2018‐633        Load Box EECU‐AV8‐1
 15011     EPS‐2018‐633.001    Load Box EECU‐AV8‐1 ‐ Addons
 15011     EPS‐2018‐640        Test stand, lever‐operated, 30lbF / 150N Mark‐10
 15011     EPS‐2018‐641        Base plate with matrix of tapped holes Mark‐10
 15011     EPS‐2018‐642        Force gauge, 20 lbF / 320 ozF / 10 kgF / 10000 gF / 100N Mark‐10
 15011     EPS‐2018‐643        Force Gage, Tension AND Compression: 0 ‐ 100 lbs. PQI Calibration
 15011     EPS‐2018‐644        Rotary Union Kit (repair to machine)
 15011     EPS‐2018‐648        CYLINDER BLOCK HONING FIXTURE (0100as‐a43‐aa)
 15011     EPS‐2018‐649        FIX‐0009 ‐ Assembly ‐ Fixture, Conrod (0981bl‐a43‐ca & da)
 15011     EPS‐2018‐650        FIX‐0009_0001 ‐ Fixture ‐ Conrod, OP 10 (0981bl‐a43‐ca & da)
 15011     EPS‐2018‐651        FIX‐0009_0002 ‐ Fixture ‐ Conrod, OP 20 (0981bl‐a43‐ca & da)
 15011     EPS‐2018‐652        FIX‐0009_0003 ‐ Fixture ‐ Conrod, OP 10 (0981bl‐a43‐ca & da)
 15011     EPS‐2018‐653        FIX‐0009_0004 ‐ Fixture ‐ Conrod, OP 20 (0981bl‐a43‐ca & da)
 15011     EPS‐2018‐654        FIX‐0018 ‐ Fixture ‐ HSG Thermostat (5413ca‐a43‐aa, 5413pa‐a43‐aa)
 15011     EPS‐2018‐655        FIX‐0018 ‐ Fixture ‐ HSG Thermostat (5413ca‐a43‐aa, 5413pa‐a43‐aa)
 15011     EPS‐2018‐656        FIX‐0019 ‐ Fixture ‐ Con Rod (contains FIX‐0019_0004, _0005, _0006, _0007,
                               _0008, _0009) (0980as)
 15011     EPS‐2018‐657        FIX‐0019_0001 ‐ 0980as‐a43‐ca_da‐c0001_prep_op (0980as)
 15011     EPS‐2018‐658        FIX‐0019_0002 ‐ 0980as‐a43‐ca_c001_ (0980as)
 15011     EPS‐2018‐659        FIX‐0019_0003 ‐ 0980as‐a43‐ca_c001_asy‐side 1 (0980as)
 15011     EPS‐2018‐660        FIX‐0030 ‐ 9940ca‐a43 cvr starter drv (9940ca‐a43‐aa)
 15011     EPS‐2018‐661        FIX‐0031 ‐ Inspection, Head Gaskets (2810PA‐A43‐AA, 2800PA‐A43‐AA)
 15011     EPS‐2018‐662        FIX‐0032 ‐ FIXTURE ‐ HSG, OIL PUMP (3160PA, 3160CA)
 15011     EPS‐2018‐663        FIX‐0033 ‐ FIXTURE ‐ SCAV PUMP ‐CENTER SECTION (3725PA, 3725CA)
 15011     EPS‐2018‐664        Fix‐0134_0003 ‐ CYL BLK ‐ MACHINED, BK 1 fixture (0220pa‐a43‐aa)
 15011     EPS‐2018‐665        Windage Tray Fixture (0450pa‐a43‐aa)
 15011     EPS‐2018‐666        INLET ‐ WAPU, CAST PART (5135ca‐a43‐aa)


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 15011     EPS‐2018‐667      HOUSING ‐ WAPU, CAST PART (5175ca‐a43‐aa)
 15011     EPS‐2018‐668      ASY ‐ EECU FIXTURE
 15011     EPS‐2018‐669      FIX‐0008_0001 ‐ ASY ‐ FIXTURE, GASKET, HEAD (2800pa, 2810pa)
 15011     EPS‐2018‐670      FIX‐0008_0002 ‐ FIX ‐ FLATTEN UHMW (2800pa, 2810pa)
 15011     EPS‐2018‐671      FIX‐0008_0003 ‐ FIX ‐ FLATTEN WHMW (2800pa, 2810pa)
 15011     EPS‐2018‐672      FIX‐0008_0004 ‐ FIX ‐ GASKET ‐ HEAD, BK1,2 (2800pa, 2810pa)
 15011     EPS‐2018‐673      FIX‐0013 ‐ FIXTURE‐PRESS BASE (1300bl‐a43‐aa)
 15011     EPS‐2018‐674      FIX‐0017 ‐ MULTIPLE PART FIXTURE PLATE
 15011     EPS‐2018‐675      FIX‐0020_0001 ‐ FIX ‐ PTO COVER (9920pa, 9930ca)
 15011     EPS‐2018‐676      FIX‐0020_0002 ‐ FIXTURE FOR PTO FRONT COVER (9920pa, 9930ca)
 15011     EPS‐2018‐677      FIX‐0021_0001 ‐ FIX ‐ ACC COVER, SIDE 1 (9920pa, 9930ca)
 15011     EPS‐2018‐678      FIX‐0022_0001 ‐ FIXTURE ‐ COOLANT MANIFOLD, FIRST SIDE (5561ca, 5510pa)
 15011     EPS‐2018‐679      FIX‐0022_0002 ‐ FIXTURE ‐ COOLANT MANIFOLD, SECOND SIDE (5561ca,
                             5510pa)
 15011     EPS‐2018‐680.1    FIX‐0023_0001 ‐ FIX ‐ ACC COVER, SIDE 2 (9920pa, 9930ca)
 15011     EPS‐2018‐680.2    FIX‐0023 ‐ FIX ‐ ACC COVER, SIDE 2
 15011     EPS‐2018‐681      FIX‐0026 ‐ Fixture ‐ Oil Pan 1 (3200pa, 3200ca)
 15011     EPS‐2018‐682      FIX‐0027 ‐ Fixture ‐ Oil Pan 2 (3200pa, 3200ca)
 15011     EPS‐2018‐683      FIX‐0028 ‐ Fixture ‐ Oil Pan 3 (3200pa, 3200ca)
 15011     EPS‐2018‐684      FIX‐0036 ‐ FIXTURE ‐ SCAV PUMP ‐ CAP (3825PA, 3825CA)
 15011     EPS‐2018‐685      FIX‐0029 ‐ PN 3120PA‐A43 OIL PUMP (3120pa‐a43‐aa)
 15011     EPS‐2018‐686      FIX‐0046 ‐ FIXTURE ‐ WAPU BUSHING PRESS (5171as‐a43‐aa)
 15011     EPS‐2018‐687      FIX‐0050_0012 ‐ THREADED ADJUSTMENT PART
 15011     EPS‐2018‐688      FIX‐0050_0044 ‐ CLAMP ‐ BRG POSITIONING AXIAL
 15011     EPS‐2018‐689      FIX‐0040 ‐ ASY ‐ FIX, PISTON
 15011     EPS‐2018‐690      FIX‐0040_0020 ‐ ASY ‐ FIX, PIN, CIRCLIP
 15011     EPS‐2018‐691      FIX‐0040_0050 ‐ ASY ‐ FIXTURE, PISTONS
 15011     EPS‐2018‐692      FIX‐0050_0060 ‐ ASY ‐ FIXTURE, PISTON GRIP
 15011     EPS‐2018‐693      FIX‐0050_0080 ‐ FIX ‐ TOOL, PLUG
 15011     EPS‐2018‐694      FIX‐0050_0085 ‐ FIX ‐ TOOL ‐ CIRCLIP, PENDULUM
 15011     EPS‐2018‐695      FIX‐0016_0001 ‐ ASY ‐ FIX, BSH INSTALL, CRANKSHAFT PEND
 15011     EPS‐2018‐696      FIX‐0041 ‐ ARBOR PRESS PLATE FIXTURE
 15011     EPS‐2018‐697      FIX‐0050_0031 ‐ ASY ‐ BLOCK OFF, OIL COOLER BASE, BK1
 15011     EPS‐2018‐698      FIX‐0050_0034 ‐ ASY ‐ BLOCK OFF, OIL COOLER BASE, BK2
 15011     EPS‐2018‐699      FIX‐0050_0042 ‐ GUIDE ‐ BLOCK, PLATE HDP
 15011     EPS‐2018‐700      FIX‐0050_0043 ‐ GUIDE ‐ BLOCK, PLATE HDP
 15011     EPS‐2018‐701      FIX‐0050 ‐ FIXTURE ‐ BLOCK ASSY/DISASSY
 15011     EPS‐2018‐702      FIX‐0073_0001 ‐ FIX ‐ CYL HD MACHINING, BK 1, SAFETY WIRE (2210pa‐a43‐
                             aa)
 15011     EPS‐2018‐703      FIX‐0073_0002 ‐ FIX ‐ CYL HD MACHINING, BK 1, SAFETY WIRE 2 (2210pa‐a43‐
                             aa)
 15011     EPS‐2018‐704      FIX‐0074_0001 ‐ FIX ‐ CYL HD MACHINING, BK 2, SAFETY WIRE (2310pa‐a43‐
                             aa)
 15011     EPS‐2018‐705      FIX‐0074_0002 ‐ FIX ‐ CYL HD MACHINING, BK 2, SAFETY WIRE 2 (2310pa‐a43‐
                             aa)
 15011     EPS‐2018‐706      FIX‐0037_0001 ‐ FIXTURE‐MFLD‐INTAKE, FINISHED, BK1 AND BK2 OP10
                             (6110pa, 6210ca)
 15011     EPS‐2018‐707      FIX‐0053 ‐ ASY ‐ PRESS, GEAR/CAM FIXTURE



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 15011     EPS‐2018‐708        FIX‐0037_0002 ‐ FIXTURE‐MFLD‐INTAKE, FINISHED, BK1 AND BK2 OP20
                               (6110pa, 6210ca)
 15011     EPS‐2018‐709        FIX‐0048 ‐ ASY ‐ FIXTURE ‐ TORQUE TUBE ORIFICE (Orifice Installation)
 15011     EPS‐2018‐710        FIX‐0060 ‐ ASY ‐ 46T STARTER GEAR/SHAFT PRESS
 15011     EPS‐2018‐711        FIX‐0065 ‐ ASY ‐ 57T GEAR/SHAFT PRESS FIXTURE
 15011     EPS‐2018‐712        FIX‐0066 ‐ ASY ‐ 35T GEAR/BUSHING PRESS FIXTURE
 15011     EPS‐2018‐713        FIX‐0069 ‐ ASY ‐ PINION GEAR/BRNG PRESS FIXTURE
 15011     EPS‐2018‐714        FIX‐0070 ‐ ASY ‐ PROPSHAFT SEAL CARRIER PRESS FIXTURE
 15011     EPS‐2018‐715        FIX‐0080_00001 ‐ FIXTURE ‐ ASY, HSG, OIL PUMP
 15011     EPS‐2018‐716        FIX‐0050_0047 ‐ GUIDE ‐ CON ROD, PISTON
 15011     EPS‐2018‐717        FIX‐0050_0048 ‐ GUIDE ‐ CON ROD, PISTON
 15011     EPS‐2018‐718        FIX‐0075_0001: FIX‐0075_0001.3 ‐ FIX‐FUEL PUMP ADAPTER, OP10
 15011     EPS‐2018‐719        FIX‐0076_0001: FIX‐0076_0001.2‐FIX‐FUEL PUMP ADAPTER, OP20
 15011     EPS‐2018‐720        FIX‐0079_0001‐FIXTURE‐CVR, ACC, REAR
 15011     EPS‐2018‐721        FIX‐0084_0001‐FIX‐INSPECTION, WINDAGE TRAY
 15011     EPS‐2018‐722        EECU Flashing Station
 15011     EPS‐2018‐723        FIX‐0093_0001.1 ‐ FIX‐MACHINING, COMPRESSOR HSG
 15011     EPS‐2018‐772        Midwest Industrial Tanks Double‐Wall Storage Fuel Tank ‐ 500‐Gallon and
                               fitting package
 15011     EPS‐2018‐773        Coﬃng® Electric Wire Rope Hoist 500 Lb. Capacity
 15011     EPS‐2018‐774        Abell‐Howe® Light Duty Floor Crane 4S0003 500 Lb. Capacity
 15011     EPS‐2018‐784        Engine and Trans Repair Stand per quote m2795 (FIX‐0050_0105 (SN3))
 15011     EPS‐2018‐788        1 set of 4 pallet clamps
 15011     EPS‐2018‐791        ABB 40HP VFD
 15011     EPS‐2018‐794        Micro LabCar test system
 15011     EPS‐2018‐796.002    Prop Cell 2
 15011     EPS‐2018‐796.003    Prop Cell 2 ‐ Add On
 15011     EPS‐2018‐796.004    ASY ‐ PDM
 15011     EPS‐2018‐796.005    ASY ‐ Test Stand
 15011     EPS‐2018‐797.002    Dyno Cell 01
 15011     EPS‐2018‐797.003    Dyno Cell 01
 15011     EPS‐2018‐797.004    Dyno Cell 01
 15011     EPS‐2018‐797.005    Dyno Cell 01
 15011     EPS‐2019‐803        FT4‐8AEU2‐LEA‐0 ‐ TURBINE FLOWMETER
 15011     EPS‐2019‐804        ULN‐C‐1‐M4‐1 ‐ microLinK: Linearizing, Temperature Compensating Pickoﬀ
 15011     EPS‐2019‐805        19‐100753‐103 ‐ uLinK to Flying Lead Cable Assembly
 15011     EPS‐2019‐806        ULD‐2‐1 ‐ MicroLink Display, Dual Input and Cable w/Resistor (2m)
 15011     EPS‐2019‐807        DZ140 Controller
 15011     EPS‐2019‐808        Thermal Transfer Heat Exchanger 4 pass. Note: Updated PN as C series is now
                               HC series
 15011     EPS‐2019‐809        Hikvision DS‐2DE4A220IW‐DE 2MP Network IR Mini PTZ Camera
 15011     EPS‐2019‐810        FIX‐0015: FIX‐0015_0000
 15011     EPS‐2019‐811        2009 John Deere X534 AM‐CT 4WS NO DK TURF Stock# 01010009304N
 15011     EPS‐2019‐811        2009 John Deere X534 AM‐CT 4WS NO DK TURF Stock# 01010009304N
 15011     EPS‐2019‐812        John Deere X534 M‐T 4WS NO DK Turf
 15011     EPS‐2019‐812        John Deere X534 M‐T 4WS NO DK Turf
 15011     EPS‐2019‐813        CAN LIN Interface Module
 15011     EPS‐2019‐814        Machine‐named license for INCA ‐ Qty 2
 15011     EPS‐2019‐815        ETK Interface Cable


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 15011     EPS‐2019‐816        CAN Interface Cable
 15011     EPS‐2019‐817        CAN 120 Ohm Termination Resistor
 15011     EPS‐2019‐818        WW‐MG‐600v Gear Head Only Per Quote m2827 *freight TBD* (part of FIX‐
                               0050_0000)
 15011    EPS‐2019‐821         Bin Storage Cabinet ‐ 36 x 24 x 78", 90 Blue Bins
 15011    EPS‐2019‐822         Triumph Fiber Laser Marking Machine 30w for Permanent Metal Parts
                               Marking and Engraving with rot...
 15011    EPS‐2019‐823         Aluminum Prop 84 inches (J3F10750 ‐ Ref: 9700AY‐A43‐A43‐ZA) (Serial #
                               FP9427B)
 15011    EPS‐2019‐824         4114B1 ‐ Line powered current sources 4‐channel livm power unit; 2‐20mA
                               adjustable current; 115V...
 15011    EPS‐2019‐825         3143D2 ‐ accelerometer, triaxial, thru hole, 50mV/g, 4‐pin connector ‐ with
                               sensor trade in
 15011    EPS‐2019‐826         3143D2 ‐ accelerometer, triaxial, thru hole, 50mV/g, 4‐pin connector
 15011    EPS‐2019‐827         FIX‐0072_0000‐ASY ‐ Propeller Oil Feed Tube Press Fixture ‐ 1,000 parts ‐
                               1435AS‐A43‐
 15011    EPS‐2019‐828         FIX‐0077_0000‐ASY ‐ Gear Lash ADJ Link ‐ 1,000 parts 9085AY‐A43‐AA
 15011    EPS‐2019‐850         DYNO HARNESS (TWO FIREWALLS)
 15011    EPS‐2019‐851         8660AY‐A43‐AA ‐ WIRE HARNESS DIAG ‐ DAQ (TEST STAND)
 15011    EPS‐2019‐852.001     DynoControl01
 15011    EPS‐2019‐853.001     PROPCONTROL02
 15011    EPS‐2019‐854         Shop Tooling ‐ SPT‐4004 ‐ 3/4" Dr 40‐400 Ft Lbs. / 54‐542 Nm Digitool
                               Electronic Torque Tester
 15011    EPS‐2019‐856         Prop Governor
 15011    EPS‐2019‐872         Mini Split for IT Prop Stand Area
 15011    EPS‐2020‐894         Job 4117 ‐ 8630AY‐A43‐YA ‐ DO‐160 test Harness
 15011    EPS‐2020‐895         Job 4118 ‐ 8630AY‐A43‐YA ‐ DO‐160 test Harness
 15011    EPS‐2020‐896         Job 4119 ‐ 8630AY‐A43‐YA ‐ DO‐160 test Harness
 15011    EPS‐2020‐897         Job 4145 ‐ DO160 Load Box 1
 15011    EPS‐2020‐898         Job 4146 ‐ DO160 Load Box 2
 15011    EPS‐2020‐899.001     Prop Cell 1
 15011    EPS‐2020‐899.002     Prop Cell 1
 15011    EPS‐2020‐899.003     Prop Cell 1
 15011    EPS‐2020‐899.004     Prop Cell 1
 15011    EPS‐2020‐899.005     Prop Cell 1
 15011    EPS‐2020‐899.006     Prop Cell 1
 15011    EPS‐2020‐899.007     Prop Cell 1
 15011    EPS‐2020‐903         Job 6138 ‐ PROPCONTROL01 ‐ Propeller Test Cell Controls 01
 15011-1 Mach & Equip COGS - Outside Ven
 15011‐1 EPS 2015‐174          P2011C‐A43‐XAA TOOLING
 15011‐1 EPS 2015‐175          P0160C‐A43‐XAA Tooling
 15011‐1 EPS 2015‐176          P0130C‐A43‐XAA Tooling
 15011‐1 EPS 2015‐177          P2001C‐A43‐XAA Tooling
 15011‐1 EPS 2015‐178          Tooling for 2800PA‐A43‐XZA (Head Gaskets ‐ Bank 1)
 15011‐1 EPS 2015‐179          Tooling for 2810PA‐A43‐XZA (Head Gaskets ‐ Bank 2)
 15011‐1 EPS 2015‐180          Tooling for 7360PA‐A43‐XZA (Exhaust Manifold Gasket)
 15011‐1 EPS 2015‐181          Tooling for 7370PA‐A43‐XZA (Turbo Exit Flange Gasket)
 15011‐1 EPS 2015‐214           0220CA‐A43‐AA ‐ GW35182 ‐ Tooling modification for crank case ‐ casting
                               tool located at G&W


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 15011‐1   EPS 2015‐215    0320CA‐A43‐AA ‐ GW35183 ‐ Tooling modification for crank case ‐ casting
                           tools located at G&W
 15011‐1   EPS 2015‐218    Qty 1 ‐ GW31584 ‐ Cylinder Head 1 tooling P2000‐A43‐XAA
 15011‐1   EPS 2015‐219    Qty 1 ‐ GW31585 ‐ Cylinder Head 2 tooling P2010‐A43‐XAA
 15011‐1   EPS 2015‐220    Qty 1 ‐ GW31878 ‐ Crank Case 1 tooling P0130‐A43‐XAA
 15011‐1   EPS 2015‐221    Qty 1 ‐ GW31879 ‐ Crank Case 2 tooling P0160‐A43‐XAA
 15011‐1   EPS 2015‐222    Qty 1 ‐ GW33511 ‐ Cam Cover 1 tooling P2011‐A43‐XAA
 15011‐1   EPS 2015‐223    Qty 1 ‐ GW33293 ‐ Cam Cover 2 tooling P2001‐A43‐XAA
 15011‐1   EPS 2016‐310    GW35106 ‐ LH Cover Cyl HD bank1 tooling modification (from XAA to AA)
 15011‐1   EPS 2016‐311     GW35107 ‐ RH Cover Cyl HD bank2 tooling modification (from XAA to AA)
 15011‐1   EPS 2016‐312     GW36736 ‐ RH block/crank case bank2 tooling modification (for Rev.01)
 15011‐1   EPS 2016‐313    GW36735 ‐ LH block/crank case bank1 tooling modification (for Rev.01)
 15011‐1   EPS 2016‐318    GW35104 ‐ LH cylinder head bank1 tooling modification (from XAA to AA)
 15011‐1   EPS 2016‐319    GW35105 ‐ RH cylinder head bank2 tooling modification (from XAA to AA)
 15011‐1   EPS 2016‐341    Tooling for Exhaust Seat (reference quote WQ140260 Rev. 3) (2510PA‐A43‐
                           AA) (Tool life 1,000,000 parts)
 15011‐1   EPS 2016‐356    Tooling Windage Tray
 15011‐1   EPS 2016‐357    Tooling Oil‐Cooler‐Base B1
 15011‐1   EPS 2016‐358    Tooling Oil‐Cooler‐Base B2
 15011‐1   EPS 2016‐383    Modified Tooling ‐ Gehring Diato
 15011‐1   EPS 2017‐411    1401FG‐A43‐AA ‐ Tooling
 15011‐1   EPS 2017‐412    5511CA‐A43‐AA ‐ Tooling
 15011‐1   EPS 2017‐413    5561CA‐A43‐AA ‐ Tooling
 15011‐1   EPS 2017‐414    5135PA‐A43‐AA ‐ Tooling
 15011‐1   EPS 2017‐433    Tooling for 2800PA‐A43‐XZA & 2810PA‐A43‐XZA (Head Gaskets ‐ Bank 1)
                           (2016S1‐R1)
 15011‐1   EPS 2017‐434    Tooling for 2800PA‐A43‐XZA & 2810PA‐A43‐XZA (Head Gaskets ‐ Bank 1)
                           (2016S2‐R1)
 15011‐1   EPS 2017‐435    Tooling for 2800PA‐A43‐XZA & 2810PA‐A43‐XZA (Head Gaskets ‐ Bank 1)
                           (2016S3‐R1)
 15011‐1   EPS 2017‐436    2800PA‐A43‐XZA ‐ Tooling Modification for Bank1 (2016T‐R1)
 15011‐1   EPS 2017‐437    2800PA‐A43‐XZA ‐ Tooling Modification for Bank1 (2016B‐R1)
 15011‐1   EPS 2017‐438    2810PA‐A43‐XZA ‐ Tooling Modification for Bank 2 (2017T‐R1)
 15011‐1   EPS 2017‐439    2810PA‐A43‐XZA ‐ Tooling Modification for Bank 2 (2017B‐R1)
 15011‐1   EPS 2017‐440    Casting Tool ‐ 9830PA‐A43‐XAA ‐ Cover ‐ PTO
 15011‐1   EPS 2017‐441    Casting Tools for OIL PAN‐3200CA‐A43‐AA OIL PAN
 15011‐1   EPS 2017‐442    Tooling (core boxes) for Thermostat‐Housing ‐ 5413ca‐a43‐aa
 15011‐1   EPS 2017‐443    Tooling (core boxes) for Water Pump ‐ 5175ca‐a43‐aa
 15011‐1   EPS 2017‐452    Tooling for Boegra part # 1600002‐010 (EPS # 0990PA‐A43‐AA)
 15011‐1   EPS 2017‐472    Tooling for Boegra part # MB 1096E (0506PA‐A43‐AA, 0507PA‐A43‐AA)
 15011‐1   EPS 2017‐473    Tooling for Boegra part # CB 1113F (0994PA‐A43‐AA, 0995PA‐A43‐AA)
 15011‐1   EPS 2017‐474    Tooling for Boegra part # TW 1187D (0508PA‐A43‐AA)
 15011‐1   EPS 2017‐504    Tooling for 0520AS‐A43‐BA
 15011‐1   EPS 2017‐521    Tooling Cost 9930CA‐A43‐AA
 15011‐1   EPS 2017‐522    Tooling for heat treatment of PTO COVER
 15011‐1   EPS 2017‐523    Tooling for heat treatment of OIL PAN‐3200CA‐A43‐AA OIL PAN
 15011‐1   EPS 2017‐524    Tooling for straightening of OIL PAN‐3200CA‐A43‐AA OIL PAN
 15011‐1   EPS‐2017‐546    Tooling (Becker) for Scav Pump ‐ Center Section, Casting
 15011‐1   EPS‐2017‐547    Tooling (Becker) Scav Pump ‐ Cap, Casting


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 15011‐1    EPS‐2017‐556      Tooling Cost 6211CA‐A43‐AA
 15011‐1    EPS‐2017‐557      Casting Tool ‐ 9830PA‐A43‐XAA ‐ Cover ‐ PTO
 15011‐1    EPS‐2017‐558      Casting Tools for PSRU COVER ‐ 9880CA‐A43‐AA COVER ‐ PSRU
 15011‐1    EPS‐2017‐559      Casting Tools for OIL PAN‐3200CA‐A43‐AA OIL PAN
 15011‐1    EPS‐2017‐563      Tooling for 9940CA‐A43‐AA ‐ CVR ‐ Starter Drive, Casting
 15011‐1    EPS‐2017‐587      Casting Tools for Adapter ‐ 4050CA‐A43‐AA PLATE ‐ ADAPTER, FUEL PUMP
 15011‐1    EPS‐2018‐635      Casting Pattern 7720PA‐A43‐AA
 15011‐1    EPS‐2018‐637      Casting Pattern 7820PA‐A43‐AA
 15011‐1    EPS‐2018‐638      Tooling 7370PA‐A43‐YA
 15011‐1    EPS‐2018‐639      Tooling 7420PA‐A43‐AA
 15011‐1    EPS‐2018‐647      CYLINDER BLOCK HONING FIXTURE (0100as‐a43‐aa)
 15011‐1    EPS‐2018‐724      Gear ‐ 61T Crankshaft ACC, Finish Gear Grind, Arbor, Collet, Ring (tooling for
                              1700PA‐A43‐AA)
 15011‐1 EPS‐2018‐725         Gear ‐ 61T C‐Bal (HCR), Finish Gear Grind, Collet, Ring (tooling for 1710PA‐
                              A43‐AA)
 15011‐1 EPS‐2018‐726         Gear ‐ 61T Fuel Pump (HCR), Finish Gear Grind, Arbor, Tailstock (tooling for
                              1720PA‐A43‐AA)
 15011‐1 EPS‐2018‐727         Gear ‐ 89T Starter, Finish Gear Grind, Collet, Ring (tooling for 1730PA‐A43‐AA)
 15011‐1 EPS‐2018‐728         Gear ‐ 29T Starter Reduction, Finish Gear Grind, Arbor, Collet, Ring (tooling for
                              1740PA‐A43‐AA)
 15011‐1 EPS‐2018‐729         Gear ‐ 46T Starter Reduction, Finish Gear Grind, Collet (tooling for 1750PA‐
                              A43‐AA)
 15011‐1 EPS‐2018‐730         Gear ‐ 64T Front Main Cam Dr., Finish Gear Grind, Arbor (Tooling for 1600PA‐
                              A43‐AA)
 15011‐1 EPS‐2018‐731         Gear ‐ 64T Counter Balancer, Finish Gear Grind, Collet, Ring (tooling for
                              1610PA‐A43‐AA)
 15011‐1 EPS‐2018‐732         Gear ‐ 57T Cam Idler, Finish Gear Grind, Collet, Ring (Tooling for 1630PA‐A43‐
                              AA)
 15011‐1 EPS‐2018‐733         Gear ‐ 35T Idler, Finish Gear Grind, Collet, Ring (Tooling for 1640PA‐A43‐AA)
 15011‐1 EPS‐2018‐734         Gear ‐ 44T Camshaft, Finish Gear Grind, Collet, Ring (tooling for 1650PA‐A43‐
                              AA)
 15011‐1 EPS‐2018‐735         Live Center # 301414
 15011‐1 EPS‐2018‐736         Tooling for Gear # 1303as‐a43‐aa ‐ Gear, Secondary 42T
 15011‐1 EPS‐2018‐737         Tooling for Gear # 1303as‐a43‐aa
 15011‐1 EPS‐2018‐738         Tooling for Gear # 1300‐ay‐a43‐aa
 15011‐1 EPS‐2018‐739         Tooling for Gear Part # 1200as‐a43‐00 ‐ Gear Pinoin 29T ‐ PreHeat Treat Hob,
                              Hob, Stop, Collet &...
 15011‐1 EPS‐2018‐740         Tooling for Gear Part # 1200as‐a43‐aa‐p003 ‐ Gear Pinoin 29T ‐ PreHeat Treat
                              Spline, Shaper, Chu...
 15011‐1 EPS‐2018‐741         Tooling for Geat Part # 1200as‐a43‐xaa ‐ Gear Pinoin 29T ‐ Finish Grind Gear,
                              Arbor
 15011‐1 EPS‐2018‐787         Tooling for Assembly‐Gaging Fixture Fuel Lines (Assembly Tooling for 4600)
 15011‐1 EPS‐2019‐798         FIX‐0042 ‐ CON ROD HONING FIXTURE
 15011‐1 EPS‐2019‐870         FIX‐0043 ‐ Fixture ‐ Pendulum Balance
 15012 Machinery & Equipment (OH)
 15012    EPS 2013‐117        Floor scrubber
 15012    EPS 2013‐118        Vertical Bandsaw
 15012    EPS 2013‐119        Horizontal Bandsaw
 15012    EPS 2015‐262        Reconditioned Komatsu FB25SH, 5000# Capacity. 36 V 4‐Wheel Electric Rider
                              Forklift

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 15012     EPS 2015‐263           Used JLG 1930ES, 19' Platform Height 25' Working Height, Electric Scissors Lift
 15012     EPS 2015‐264           [Generac 22kw Generator Package & Installation], located at Hangar 11‐16,
                                  PO 2015‐00124
 15012     EPS 2015‐265           Qty 1 ‐ 11‐03820 ‐ David Clark H10‐13XL Headset
 15012     EPS 2015‐266           Qty 5 ‐ 11‐03820 ‐ David Clark H10‐13XL Headset
 15012     EPS 2016‐291           ESPAR Airtronic D2 24 Volt Diesel Heater
 15012     EPS 2017‐415           Tensor ETV ST101‐370‐20 with PF4000 Graph Controller and RBU‐Gold
                                  BackUp Unit (single user tools talk PF w10 license)
 15012     EPS 2017‐415.1         Add on to 2017‐415 ‐ ST Tool Cable 7M
 15012     EPS 2017‐416           Honda EU2000 Generator
 15012     EPS 2017‐428           STWrench SmartHead with ratchets, battery adapters and 1 user ToolsTalk
                                  license
 15012     EPS 2017‐463           Breakout box 128 pin Deutsch X1 #982‐007525
 15012     EPS 2017‐464           Breakout box 24 pin Deutsch X3 #982‐007526
 15012     EPS 2017‐465           Breakout box 37 pin Deutsch X5 #982‐007527
 15012     EPS 2017‐478           P5514‐E Axis PTZ Dome Network Camera
 15012     EPS 2017‐479           Switches for testing (Qty =3)
 15012     EPS 2017‐492           InfiniiVision DSOX1102G 100 MHz Oscilloscope
 15012     EPS‐2017‐551           WB241647 ‐ I Beam Trolley 2,000 Pound Capacity
 15012     EPS‐2017‐552           WBB445184 ‐ Milwaukee® 1 Ton Electric Chain Hoist 10' Lift 115/230V 1‐
                                  Phase
 15012     EPS‐2017‐553           WB241324 ‐ Vestil Steel Gantry Crane Adjustable Height 2000 Lb. Capacity
 15012     EPS‐2017‐628           Quincy Air Compressor, Milton Air Regulator, Air Hose, Air Filter Regulator
 15012     EPS‐2017‐631           Shelving
 15012     EPS‐2018‐775           Slugbuster Hydraulic Knockout Cutter Set 1/2" ‐ 2" W/Case & Hand Pump
 15012     EPS‐2018‐776           Masterforce 41" x 24" Blue 11‐Drawer Tool Cabinet
 15012     EPS‐2018‐777           TMB 8100 220 Volt Single Phase, 5hp 9kw INCLUDES THESE FEATURES: 11
                                  Gauge Steel Cabinet Gear ...
 15012     EPS‐2018‐789           backward inclined SWSI size 24 ACF Class 3 Arr‐4 CW Rotation UB discharge
                                  62% width
 15012     EPS‐2018‐790           backward inclined SWSI size 24 ACF Class 3 Arr‐4 CW Rotation UB discharge
                                  62% width
 15015 Mach & Equip - Fixtures
 15015    EPS‐2019‐799            FIX‐00039 ‐ FIXTURE ‐ CON ROD, PRESS
 15015    EPS‐2019‐800            FIX‐0038 ‐ Test Fixture for Piston ‐ Cooling Jet
 15015    EPS‐2019‐801            FIX‐0044 ‐ FIXTURE 044
 15015    EPS‐2019‐802            FIX‐0078_0001 ‐ FIXTURE ‐ CVR, PROPSHAFT BRG
 15015    EPS‐2019‐832            Job 6142 ‐ FIX‐0050_0048 ‐ Guide‐Con Rod, Piston ‐ 1,000 parts, qty 8
                                  9090AY‐A43‐AA
 15015     EPS‐2019‐833           Job 6141 ‐ FIX‐0050_0047 ‐ Guide‐Con Rod, Piston ‐ 1,000 parts, qty 8
                                  9090AY‐A43‐AA
 15015     EPS‐2019‐834           Job 6110 ‐ FIX‐0015_0002 ‐ Assembly Tool Gear, Presser Component ‐ 1,000
                                  parts qty 3 5171AY‐A43‐AA
 15015     EPS‐2019‐835           Job 6109 ‐ FIX‐0015_0010 ‐ Assembly Tool Impeller ‐ 1,000 parts qty 2
                                  5171AY‐A43‐AA
 15015     EPS‐2019‐836           Job 6108 ‐ FIX‐0015_0009 ‐ Assembly Tool Impeller ‐ 1,000 parts qty 2
                                  5171AY‐A43‐AA
 15015     EPS‐2019‐837           Job 6140 ‐ FIX‐0062_0001 ‐ Guide‐Cyl Head, Short ‐ 5,000 parts 9085AY‐A43‐
                                  AA


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 15015     EPS‐2019‐838        Job 6139 ‐ FIX‐0062_0000 ‐ Guide‐Cyl Head, Long ‐ 5,000 parts 9085AY‐A43‐
                               AA
 15015     EPS‐2019‐839        Job 1886 ‐ FIX‐0051_0000 ‐ Asy‐Bank 1, CBAL Gear Press Fixture ‐ 2,000 parts
                               qty 2 1611AY‐A43‐AA, 1612AY‐A43‐ AA
 15015     EPS‐2019‐842        FIX‐0071_0000 ‐ ASY ‐ PROPELLER SHAFT BRNG PRESS FIXTURE
 15015     EPS‐2019‐843        FIX‐0103_0001 ‐ FIX ‐ MACHINING, PTO COVER
 15015     EPS‐2019‐844        FIX‐0050_0062 ‐ FIXTURE ‐ PISTON GRIP
 15015     EPS‐2019‐845        FIX‐0050_0061 ‐ FIXTURE ‐ PISTON GRIP
 15015     EPS‐2019‐847        FIX‐0124_0001 ‐ FIXTURE ‐ ASY, WAPU, BUSHING INSTALL
 15015     EPS‐2019‐848        FIX‐0125_0001 ‐ FIXTURE ‐ ASY, WAPU CHECKVALVE
 15015     EPS‐2019‐849        FIX‐0110_0001 ‐ FIX‐INSPECTION, THERMOSTAT OUTLET
 15015     EPS‐2019‐855        Job 6147 ‐ FIX‐0117_0000 ‐ 4140AY‐A43‐AA ‐ 1,000 parts
 15015     EPS‐2019‐858        Job 6235 ‐ FIX‐0136_0001 ‐ 1480PA‐A43‐AA ‐ 1,000 parts
 15015     EPS‐2019‐859        Job 1835 ‐ FIX‐0035_0001 ‐ 0730AY‐A43‐AA ‐ 1,000 parts
 15015     EPS‐2019‐860        Job 6236 ‐ FIX‐0137_0001 ‐ 1485PA‐A43‐AA ‐ 1,000 parts
 15015     EPS‐2019‐861        Job 6015 ‐ FIX‐0097_0001 ‐ 1000 parts 7015PA‐A43‐AA, 7025PA‐A43‐AA
 15015     EPS‐2019‐862        Job 6097 ‐ FIX‐0110_0001 ‐ 1000 parts 5431PA‐A43‐AA
 15015     EPS‐2019‐863        Job 6136 ‐ FIX‐0113_0001 ‐ 1000 parts 9870PA‐A43‐AA
 15015     EPS‐2019‐864        Job 6196 ‐ FIX‐0106_0001 ‐ 1000 parts 0980AY‐A43‐CA, 0980AY‐A43‐CA
 15015     EPS‐2019‐865        Job 6197 ‐ FIX‐0106_0002 ‐ 1000 parts 0980AY‐A43‐CA, 0980AY‐A43‐DA
 15015     EPS‐2019‐866        Job 6199 ‐ FIX‐0106_0003 ‐ 1000 parts 0980AY‐AV3‐CA, 0980AY‐AV3‐DA
 15015     EPS‐2019‐867        Job 1163T ‐ 2000 parts 3321PA‐A43‐AA
 15015     EPS‐2019‐868        Job 1979 ‐ FIX‐0052_0002 ‐ 1000 parts 5431PA‐A43‐AA
 15015     EPS‐2019‐869        Job 1885 ‐ EXT ‐ Boring Heads ‐ 2,500 uses, multiple parts
 15015     EPS‐2019‐873        Job 6177 ‐ FIX‐0020 ‐ Fixture ‐ PTO Cover ‐ 1,000 parts 9820PA‐A43‐AA,
                               9830PA‐A43‐AA
 15015     EPS‐2019‐874        Job 1717 ‐ FIX‐0052 ‐ Fixture ‐ PSRU Cover 1,000 aprts 9870pa‐a43‐aa
 15015     EPS‐2019‐875        Job 6171 ‐ FIX‐0121 ‐ Fixture ‐ Machining, Comp HSG, Op 20 ‐ 1,000 parts
                               7720PA‐A43‐AA, 7721PA‐A43‐AA
 15015     EPS‐2019‐876        Job 6244 ‐ FIX‐0138 ‐ Fixture ‐ ASY, Spray Check Cooling Jets ‐ 1,000 parts
                               3640AS‐A43‐AA
 15015     EPS‐2019‐877        Job 6245 ‐ FIX‐0140_0001 ‐ Fix‐Machining, Oil Cooler Base, Rework, BK1/2 ‐
                               2,000 parts 3311PA‐A43‐AA, 3321PA‐ A43‐AA
 15015     EPS‐2019‐878        Job 6137 ‐ FIX‐0114_0001 ‐ Fixture ‐ Leak Test, Intake Mfld BK 1 ‐ 2,000 parts
                               6110PA‐A43‐AA, 6210PA‐A43‐AA
 15015     EPS‐2019‐879        Job 6167 ‐ FIX‐0120_0000 ‐ Asy ‐ Fixture, M14 Banjo Pressure Terst (LP Fuel
                               lines) ‐ 2,000 parts 4713AS, 4714AS, 4716AS, 4717AS, 4751AS
 15015     EPS‐2019‐880        Job 6283 ‐ FIX‐0007_0005 ‐ FIX Bushing
 15015     EPS‐2019‐881        Job 6284 ‐ FIX‐0007_0006 ‐ FIX PIN
 15015     EPS‐2019‐882        Job 6281 ‐ FIX‐0122_0100 ‐ Fixture Prop Torque Meter Calibration
 15015     EPS‐2019‐883        Job 6286 ‐ FIX‐0147_0001 ‐ FIXTURE ‐ Fuel Pump Timing Tool (Assembly Tool)
 15015     EPS‐2019‐884        Job 1828 ‐ FIX‐0034_0001 ‐ ASY ‐Fixture, BSH Installation (TVA PENDULUM)
 15015     EPS‐2019‐885        Job 1897 ‐ FIX‐0049_0000 ‐ ASY ‐ Crank Gear/Trigger Wheel Weld Fixture
 15015     EPS‐2019‐886        Job 4220 ‐ FIX‐0072_0004 ‐ FIX ‐ Press Sleeve, Inner
 15015     EPS‐2019‐887        Job 4221 ‐ FIX‐0072_0005 ‐ FIX ‐ Press Sleeve, Outer
 15015     EPS‐2019‐888        Job 6150 ‐ FIX‐0118_0001 ‐ FIXTURE ‐ INSP, EXHAUST Gasket
 15015     EPS‐2019‐889        Job 6151 ‐ FIX‐0119_0001 ‐ FIXTURE ‐ INSP, TURBO EXIT FLANGE
 15015     EPS‐2019‐890.001    Job 6248 ‐ FIX‐0141_0001 ‐ FIX ‐ ASSEMBLY, TC, BK1
 15015     EPS‐2019‐890.002    Job 6248A ‐ FIX‐0141_00001 ‐ FIX ‐ ASSEMBLY, TC, BK1


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 15015     EPS‐2019‐891.001      Job 6249 ‐ FIX ‐ ASSEMBLY, TC, BK2
 15015     EPS‐2019‐891.002      Job 6249A ‐ FIX‐0142_0001 ‐ FIX ‐ ASSEMBLY, TC, BK2
 15015     EPS‐2020‐892          Job 1745 ‐ FIX‐0081_0001 ‐ Water Jacket Leak Tester
 15015     EPS‐2020‐893          Job 4006 ‐ FIX‐0050_0070 ‐ ASY ‐ Short Block, Fixture
 15015     EPS‐2020‐900          Job 6029 ‐ FIX‐0104_0002 ‐ Fix ‐ Piece ‐ CBAL BRG INSTALL, 2
 15015     EPS‐2020‐901          Job 6090 ‐ FIX‐0100_0001 ‐ Fix ‐ Machining, Gauge (QTY 4)
 15015     EPS‐2020‐902          Job 6123 ‐ FIX‐0095_0001 ‐ Fix ‐ Inspection, PTO Cover
 15015     EPS‐2020‐904          Job 6228 ‐ FIX‐0132_0001 ‐ Fixture ‐ ALT Bracket Asy
 15015     EPS‐2020‐905          Job 6294 ‐ FIX‐0151_0001 ‐ FIX ‐ LEAK TEST, BLOCK BORES
 15015     EPS‐2020‐906          Job 1791 ‐ FIX‐0056_0000 ‐ FIX ‐ CRANKSHAFT, LOCKING FIXTURE (qty 3)
 15015     EPS‐2020‐907          Job 6230 ‐ FIX‐0132_0002 ‐ FIXTURE ‐ ALT BRACKET ASY, OP 2
 15015     EPS‐2020‐908          Job 1801 ‐ FIX‐0045_0000 ‐ ASY ‐ CBAL FIXTURE (finished gear)
 15015     EPS‐2020‐909          Job 6318 ‐ FIX‐0153_0001 ‐ FIX ‐ BENDING, 3606PA SPRAY BAR, TUBE
 15021 Furniture & Fixtures (OH)
 15021     EPS 2012‐068          Tables and Chairs
 15021     EPS 2012‐069          workbenches qty = 6, 6 drawer cabinet qty = 2, Shelving qty =7, 6 Level Rack
                                 qty = 1
 15021     EPS 2014‐168          Raw Materials Inventory Shelving in Fab Shop ‐ Pallet Rack, Starter Unit & Add
                                 on Unit
 15021     EPS 2015‐251          Inventory Racking
 15021     EPS 2015‐252          Improvement to 4/16/15 Inventory Racking Purchase ‐ Paint Racking &
                                 Materials)
 15021     EPS 2015‐253          Qty ‐ 1 ‐ LPC ‐ Luxxor Portable Camera Kit
 15021     EPS 2015‐254          Toshiba IP PTZ Camera ‐ IK‐WB16A
 15021     EPS 2016‐290          Heavy Duty Rack for Pipe and Bars, Complete Unit with One Usable Side, 54"
                                 X 84" X 31” (698.63 cost + 116.63 freight + 44.84 sales tax)
 15021     EPS 2016‐334          Standard Flammable Storage Cabinet ‐ Manual Doors, Yellow, 45 Gallon
 15021     EPS‐2017‐554          BK04041062 HOmak H2Pro 41in 6‐ drawer roller tool cabinet
 15021     EPS‐2017‐575          399.063.03 Bekant Conference Table, Birch Veneer, Black
 15021     EPS‐2017‐576          403.317.05 Millberget Swivel Chair, Bomstad Black
 15021     EPS‐2019‐857          DS‐2DE4A220IW‐DE Hikvision PTZ Camera
 15022 Furniture & Fixtures (G&A)
 15022     EPS 2015‐240          Coffee Machine ‐ Refurbished Jura J9.3 One Touch TFT ‐ Silver
 15022     EPS 2015‐241          Office Chair
 15022     EPS 2015‐242          Desk
 15022     EPS 2016‐392          Refrigerator
 15022     EPS 2016‐393          Microwave
 15022     EPS 2016‐394          Dishwasher
 15022     EPS‐2019‐846          Qty 4 ‐ Accounting Desk ‐ Sit & Stand Desk with Screens
 15031 Automobiles (OH)
 15031     EPS 2011‐031          2005 Ford E450(testing) with hitch
 15031     EPS 2013‐110          Major Van repair
 15031     EPS 2013‐111          Trailer
 15040 Airplane
 15040     EPS‐2019‐841          Airplane
 15051 Building Hangar 11-18
 15051     EPS 2016‐381          Hangar 11‐18
 15052 15052 - Bldg Improv 11-18
 15052     EPS 2017‐417          Door Latches, Handles & Keys


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 15052     EPS 2017‐444.10     Angle 6 X 4 X 1/2 X 20'
 15052     EPS 2017‐444.11     Dyno Hookup
 15052     EPS 2017‐444.12     Electrical Line Extension
 15052     EPS 2017‐444.13     Materials for Build‐out of Hangar 11‐18
 15052     EPS 2017‐444.14     Materials & Labor for Build out of Hangar 11‐18
 15052     EPS 2017‐444.15     Materials & Labor for Build out of Hangar 11‐18
 15052     EPS 2017‐444.16     Materials & Labor for Build out of Hangar 11‐18
 15052     EPS 2017‐444.18     TU 3x3x3/16 20'
 15052     EPS 2017‐444.19     HRANG 1x1x1/8 20'
 15052     EPS 2017‐444.2      Electrical Building Permit
 15052     EPS 2017‐444.20     HR FL 1/4 x 6 20'
 15052     EPS 2017‐444.21     Bend Plates Per Print
 15052     EPS 2017‐444.22     8x8 Compressor Room
 15052     EPS 2017‐444.23     50 x 20 Fabrication Room
 15052     EPS 2017‐444.24     36 x 20 Engine Rebuild Room
 15052     EPS 2017‐444.25     WB241324 ‐ Scratch Resistant Strip Door Curtain 10'W x 9"H
 15052     EPS 2017‐444.26     Form steel plates
 15052     EPS 2017‐444.4      Underground PVC for wiring from transformer to CT cabinet
 15052     EPS 2017‐444.6      400 Amp Service
 15052     EPS 2017‐444.7      Fasteners for beams 113363
 15052     EPS 2017‐444.8      Fasteners for beams 110120435
 15052     EPS 2017‐444.9      WF Beam 12 x 22#
 15052     EPS 2017‐444.9      WF Beam 12 x 22#
 15052     EPS 2017‐444.9      WF Beam 12 x 22#
 15052     EPS‐2017‐444.116    Piping for cooling tower
 15052     EPS‐2017‐444.117    1‐Ventilation System for VFD Room
 15052     EPS‐2017‐444.118    Apply trawl applied 3/16" system in dyno area with TC.
 15052     EPS‐2017‐444.119    MDD8080‐8 ‐ 8'0" Width, 8'0" Height, 18 Gauge, Cold Roll Steel, Steelcraft
                               Hinge, #8 Right Hand Reverse Active,
                               (1) 4'0" X 8'0" Hollow Metal Door, Lock Prep, (1) 4'0" X 8'0" Hollow Metal
                               Door (Inactive Door) With Astragal And (2) Flush Bolts Installed
 15052     EPS‐2017‐444.120    Qty 2 ‐ MDD5080‐8 ‐ 5'0" Width, 8'0" Height, 18 Gauge, Cold Roll Steel,
                               Steelcraft Hinge, #8 Right Hand Reverse Active, (1) 2'6" X 8'0" Hollow Metal
                               Door, Lock Prep, (1) 2'6" X 8'0" Hollow Metal Door (Inactive Door) With
                               Astragal And (2) Flush Bolts Installed
 15052     EPS‐2017‐444.121    Qty 2 ‐ MDD5080‐7 ‐ 5'0" Width, 8'0" Height, 18 Gauge, Cold Roll Steel,
                               Steelcraft Hinge, #7 Left Hand Reverse Active, (1) 2'6" X 8'0" Hollow Metal
                               Door, Lock Prep, (1) 2'6" X 8'0" Hollow Metal Door (Inactive Door) With
                               Astragal And (2) Flush Bolts Installed
 15052     EPS‐2017‐444.122    MD3070SC‐161 ‐ 3'0" Width, 7'0" Height, 35‐3/4" x 83‐1/4" Actual Size,
                               Galvannealed, 18 Gauge, Steelcraft Hinge, 161 Lock Prep
 15052     EPS‐2017‐444.123    MD3070SC‐161 ‐ 3'0" Width, 7'0" Height, 35‐3/4" x 83‐1/4" Actual Size,
                               Galvannealed, 18 Gauge, Steelcraft Hinge, 161 Lock Prep
 15052     EPS‐2017‐444.124    Prop Building Electrical, 100amp Service in IT room outside, Underground
                               Piping to prop building, Wiring receptacles in IT room, 2 LED strip lights
 15052     EPS‐2017‐444.125    Piping and Electrical for Dyno Room, LED lights by garage door, Wiring
 15052     EPS‐2017‐444.134    Air Exchanger installed for upstairs offices
 15052     EPS‐2017‐444.145    Blinds For Viewing/testing room
 15052     EPS‐2017‐444.157    Chain Fence


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 15052      EPS‐2017‐444.185      75345K27 ‐ Washdown Enclosure with See‐Through Cover Side Hinge and
                                  Slotted Latch, 30" x 24" x 12" (EPS‐ 022‐6)
 15052      EPS‐2017‐444.186      75345K27 ‐ Washdown Enclosure with See‐Through Cover Side Hinge and
                                  Slotted Latch, 30" x 24" x 12" (EPS‐ 022‐7)
 15052      EPS‐2017‐444.187      monst outlets strip, hose heater, tube vinyl, pipe cut, hex busing, hose barb
                                  EPS‐022‐6
 15052      EPS‐2017‐444.188      hose fuel, hose barb, adaptor galv (EPS‐022‐6)
 15052      EPS‐2017‐444.189      Solder Plumbers Kit, Builder Hardware, Wago 3Conductor (EPS‐022‐6)
 15052      EPS‐2017‐444.190      heating, elbow 90, couple black steel, comp connector, plub black, comp
                                  connector, hardware (EPS‐0...
 15052      EPS‐2017‐444.191      Gasket maker (eps‐022‐6)
 15052      EPS‐2017‐444.192      Dyno Cell Fuel System: Use pipe and fittings EPS has provided for the system
                                  and install from out...
 15052      EPS‐2017‐444.193      3/4" ‐ 90 Degree Fittings EPS‐022‐6
 15052      EPS‐2017‐444.194      connector cordgrp 1/2", connector combination 3/8, Cord power 16/3 sjtw 9’
                                  (EPS‐022‐7)
 15053 15053 - Hangar 11-16
 15053      EPS 2017‐409         Hangar 11‐16, 625 W Hangar Road, New Richmond, WI 54017
 15054 ꞏ 15054 - Bldg Improv 11-16
 15054      EPS 2015‐259         Improvements to Hangar 11‐16, Manufacturing Shop
 15054      EPS 2015‐260         Screen Doors added to Hangar 11‐16, Manufacturing Shop
 15054      EPS 2017‐418         Door Latches, Handles & Keys
 15054      EPS 2017‐448         Security System
 15057 Leasehold Improvements Complete
 15057      EPS 2017‐447         Security System
 15061 Software (OH)
 15061      EPS 2014‐158         PO# 2014‐00300 ‐‐ hyperMILL/hyper CAD Software
 15061      EPS 2015‐232         CAM Software hyperMILL/hyper CAD® ‐ 3D Expert
 15061      EPS 2015‐233         hyperMILL® MAXX Roughing
 15061      EPS 2016‐331         HMOM‐0000UA‐EXP ‐ CAM Software, hyperMILL/hyper CAD® ‐ 3D Expert, all
                                 2D/3D/HSC CAM functions, internal simulation,
 15061      EPS 2017‐421         Calypso Software
 15062 ꞏ Software (OH)
 15062      EPS 2016‐308         Bosch ‐ Machine Named license for INCA Can‐Trsmit add‐on
 15062      EPS 2016‐353         Net.AG ‐ software tool for importing Bosch sets into EPS Integrity
                                 Implementation
 15063 ꞏ Software (G&A)
 15064 ꞏ Software - CIP
 15065 ꞏ Diagnostic Test Equipment
 15065      EPS 2016‐314         Advanced generic plugin for Serial Communication. It can receive serial date
                                 and extract text or numeric values from the byte stream. It allows also to
                                 send data to the serial device (e.g., on start of storing or every n seconds,
                                 etc.) (Note: part of monitoring and control racks)
 15065      EPS 2016‐350         Qty 2 ‐ Gas Measurement Equipment
 15065      EPS 2016‐388‐1       Job# 2009 ‐ Fixed Asset ‐ Data Acquisition Harness ‐ In Progress
 15065      EPS‐2017‐533         Mass Flow Fuel Meter
 15065      EPS‐2017‐534         Closed Loop Cooling System
 15065      EPS‐2017‐535         AC Regen CAC Control
 15065      EPS‐2017‐536         Cooling Tower


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 15065     EPS 2011‐001      Dewtron Tools
 15065     EPS 2011‐002      Measurement Groups Tools
 15065     EPS 2012‐041      Dewetron Test Equipment
 15065     EPS 2013‐073       tools (Quality Control)
 15065     EPS 2013‐074      Additional Parts to DWUS01 EPS000380 (Note: additional items in transport
                             case with DWUS01)
 15065    EPS 2013‐075       $50,365.70 DWUS03 Desktop Version DEWETRON$ 1,856.80 DWUSACC010
                             Thermo Amplifier$ 1,477.00 DWUSACC011 Voltage Amplifier$ 1,856.80
                             DWUSACC012 Thermo Amplifier
 15065    EPS 2013‐076       DWUSACC012 GPS Receiver (Note: part of monitoring and control racks)
 15065    EPS 2013‐077       DWUSACC013 GPS Receiver (Note: part of monitoring and control racks)
 15065    EPS 2014‐123       DEWE‐DCDC‐24‐300‐ISO (External DC/DC converter with isolation, 9 to 36
                             VDC input range, LEMO EGJ.3B.302, including 2 m cable to banana jacks, 24
                             VDC output, 300 W, LEMO EGG.2B.302 connector) [Dewetron] DWUSACC015
                             (note: assume to be part of monitoring and control racks)
 15065    EPS 2014‐124       EPAD2‐TH8‐T ‐‐ Dewetron: 8 channel high precision thermocouple amplifier,
                             LEMO EGG.1B.304 RS‐485 interface, 8 differential input channels, 8x 24-bit
                             A/D converter, up to 12 samples/sec/channel, simultaneous sampling, 350 V
                             isolation, thermocouple type T, accuracy ±0.4 °C, typ. ±0.2 °C [Dewetron]
                             DWUSACC014 (note: part of monitoring and control racks)
 15065    EPS 2014‐125       Dynamic Data Logger [Dewetron] DWUS04
 15065    EPS 2014‐126       01‐101532‐AAA‐AAA: 1.5" On Board Coolant Electromagnetic Flow Meter
                             System [Flow Technology]
 15065    EPS 2015‐171       Mobile Test Controller (note: controller hardware suite in dyno room)
 15065    EPS 2015‐172       Calibration Tool ‐ Qty 1 ‐ ES592 ETK, CAN and LIN Interface Module (EPS‐012)
                             (note: part of engine control and monitoring rack)
 15071 Computer Equipment (COGS)
 15071    EPS 2017‐451       ThinkPad Computer
 15071    EPS 2017‐482       Lenovo ThinkPad T560 w/ Dock
 15071    EPS 2017‐483       Lenovo ThinkPad T540p
 15071    EPS‐2019‐819       Lenovo ThinkStation P330 (QTY 4)
 15071    EPS‐2019‐829       Lenovo ThinkPad P52
 15072 Computer Equipment (OH)
 15072    EPS 2011‐034       NB Sony/VAIO/Software/ETC ‐ ELTEUMJV
 15072    EPS 2012‐065       EPSHPC01 ‐ HPC Server
 15072    EPS 2012‐066       EPSHPC02 ‐ HPC
 15072    EPS 2013‐113       Epson 3880 shop
 15072    EPS 2013‐114       Newegg ECADUSCA01
 15072    EPS 2013‐115       Newegg ECADUSCA01
 15072    EPS 2013‐116       Lenovo ELTUSDR
 15072    EPS 2014‐163       eltuswi01: 3443CTO: ThinkPad X1 Carbon
 15072    EPS 2014‐164       Projector for Shop: Optoma HD131Xw HD 1920 x 1080, 2500 Lumens, 2 HDMI
                             Inputs, 3D Ready Gaming Projector
 15072    EPS 2014‐165       eltuswi02 ‐ Lenovo Computer
 15072    EPS 2014‐166       Backup desktop computer ‐ ECADUSWI01
 15072    EPS 2014‐167       Laptop ELTUSWI03
 15072    EPS 2015‐245       ThinkPad W540 Laptop
 15072    EPS 2015‐247       ecamuswi01 ‐ Lenovo ThinkStation P300 Tower Workstation
 15072    EPS 2015‐248       2015‐03‐31 ‐ Amazon ‐ Lenovo ThinkPad W540‐eltuswi05
 15072    EPS 2015‐249       ThinkCentre M93p ‐ Computer for the Ford Van ‐ etestuswi01

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 15072     EPS 2015‐250      Lenovo W550S with accessories and 3 yr warranty
 15072     EPS 2016‐302      Lenovo P50 with accessories and 3 yr warranty
 15072     EPS 2016‐348      BX80660E52640V4 ‐ Xeon E5‐2640 V4
 15072     EPS 2016‐349      D42132G4S ‐ Samsung DDR4‐2133 32GB
 15072     EPS 2016‐354      Lenovo ThinkPad P50
 15072     EPS 2016‐354a     Dock for Lenovo ThinkPad P50
 15072     EPS 2016‐365      Lenovo ThinkPad P50 (QC)
 15072     EPS 2016‐365a     Lenovo Backpack for ThinkPad (QC)
 15072     EPS 2016‐365b     Lenovo Dock for Think Pad (QC)
 15072     EPS 2017‐422      ThinkPad P50 SN#PC0JGGVD
 15072     EPS 2017‐423      ThinkPad Dock SN#M2D03B57
 15072     EPS 2017‐468      Adapter for ThinkPad Computer (ELTUSWI22 ‐ Serial #PC0KK6L0)
 15072     EPS 2017‐469      ThinkPad Computer (ELTUSWI22 ‐ Serial #PC0KK6L0)
 15072     EPS 2017‐470      Dock for Laptop Asset # EPS 2016‐396‐1
 15072     EPS 2017‐502      ThinkPad Workstation Dock
 15072     EPS 2017‐503      ThinkPad Workstation Dock
 15072     EPS 2017‐527      Lenovo P51 ‐ Serial # PF0SF4LL
 15072     EPS 2017‐528      Lenovo P51 ‐ SN PF0SDQS6
 15072     EPS‐2018‐783      Dell Poweredge R420
 15072     EPS‐2018‐786      Hikvision DS‐7716NI‐I4/16P NVR
 15072     EPS‐2019‐830      Lenovo ThinkPad P51 Mobile Workstation 20HH000TUS ‐ Intel QuadCore i7‐
                             7700HQ, 16GB DDR4 RAM, 512GB PCIe NVMe SSD, 15.6" FHD IPS; 1920x1080
                             Display, NVIDIA Quadro M1200 4GB, Windows 10 Pro
 15073 Computer Equipment (G&A)
 15073    EPS 2011‐023       MPB 15.4 Laptop ‐ Serial #W81021ZNAGZ
 15073    EPS 2011‐028       Jawbone BT Jambox Speaker (For telecommunications)
 15073    EPS 2011‐030       Fijitsu Duplex Scanner
 15073    EPS 2012‐055       LED Projector/Screen
 15073    EPS 2012‐057       Computer Spare Parts
 15073    EPS 2012‐058       Diskless Computer Storage ‐ NAS‐001
 15073    EPS 2012‐061       IT HardWare‐Provantage ‐ Tape Drive
 15073    EPS 2012‐063       Label Printer
 15073    EPS 2013‐103       Lenovo ThinkPad W350, EPS‐011 CAM LAPTOP
 15073    EPS 2013‐104       Lenovo ELTUSWI13
 15073    EPS 2013‐105       Newegg ELTUSAR (Monitor, Headset, Keyboard, Mouse)
 15073    EPS 2013‐106       Epson 3880 office
 15073    EPS 2014‐159       Conference Room Projector Screen ‐ Samsung 65" Class 1080p 120H Smart 3D
                             LED TV ‐ UN65F6400AFXZA [NewEgg]
 15073    EPS 2014‐160       emiscuswi02 ‐ Conference Room Computer
 15073    EPS 2014‐161       ecaduswi02: computer
 15073    EPS 2014‐162       esvruswiqb ‐ Dell Poweredge R710 Server ‐ QuickBooks Server
 15073    EPS 2015‐234       epshpc04 Computer
 15073    EPS 2015‐235       Think Pad X1 Carbon
 15073    EPS 2015‐236       EPS Server Rack 01
 15073    EPS 2015‐237       Lenovo ThinkPad T550
 15073    EPS 2015‐238       ThinkPad W550s Mobile Workstation and Dock ‐ 90W ‐named: eltuswi08
 15073    EPS 2015‐239       Samsung 850 Pro 2TB SSD ‐ for ‐ eltuswi08
 15073    EPS 2016‐328       Lenovo P50 with accessories and 3 yr warranty ‐ ELTUSWI12
 15073    EPS 2016‐361       HP ProLiant Server (1)


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 15073      EPS 2016‐362           HP ProLiant Server (2)
 15073      EPS 2016‐363           HP ProLiant Server (3)
 15073      EPS 2016‐364           Lenovo ThinkPad P50
 15073      EPS 2016‐364a          Lenovo Dock for ThinkPad P50
 15073      EPS 2016‐395           Lenovo ThinkPad T560
 15073      EPS 2016‐396           Lenovo ThinkPad T560
 15073      EPS 2017‐424           Netgear 4300 Switch
 15073      EPS 2017‐425           Netgear 4300 Switch
 15073      EPS 2017‐449           HP 2920‐48G
 15073      EPS 2017‐450           26U Wall Mount
 15073      EPS 2017‐529           Jabra Speak 810
 15073      EPS 2017‐530           HP ProLiant DL360p Gen8 8 SFF Chassis ‐ SQL Server Hardware
 15073      EPS‐2018‐646           Quantum LTO‐8 Tape Drive External SAS Tabletop Kit
 15073      EPS‐2018‐792           ThinkPad T580
 15073      EPS‐2018‐793           Lenovo ThinkPad T580
 15073      EPS‐2019‐820           Lenovo T580
 15073      EPS‐2019‐831           Lenovo 20LB0010US ThinkPad P52s Mobile Workstation Laptop: Intel Core i5‐
                                   8350U (Quadcore, up to 3.6GHz, 6MB), 15.6" Full HD (1920x1080) IPS Display,
                                   256 GB PCIe NVMe SSD, 8 GB RAM, Win 10 Pro,
 Miscellaneous
 Location                                                Description
 16 & 18 Tool cabinets and machining fixtures
    16     Tool setters, DMG/DMU UNO 14 20 (Qty 2)
 16 & 18 Toolboxes and all tools including but not limited to hand tools, fabrication tools, electrical tools
    18     Load Bank, blue, 300 amp
 16 & 18 All propulsion system components, including but not limited to items in stock rooms 2 and 3, as well
           as all in-process, non-conforming, and accepted hardware
 vendors All tooling at all vendors, including but not limited to tools for forging, machining, and casting
    18     Dewetron #1, DWUS01, and related equipment
    18     Dewetron #2, DWUS02, and related equipment
    18     Dewetron #5, DWUS05, and rack of equipment in which it is installed
 vendors crankshaft inventory and tools at Asca (Italy), including but not limited to steal forgings and forging
           tools
 vendors component and or assembly inventory at all vendors
 18 & 16 passwords for servers and encryption keys for tapes
    all    servers, free NAS, tapes, and tape drives in all US offices




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                      Schedule 1.2(d) Work-In-Progress

        None.




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                            Schedule 1.2(k) Hangars

The airplane hangar located upon the premises commonly referred to as Lot 18 Row
11 of the New Richmond Municipal Airport, New Richmond Wisconsin, and more
specifically described as:

        LOT 18, ROW 11 OF THE AIRPORT LAYOUT PLAN DATED SEPTEMBER 1,
        1989, BEING PART OF THE SOUTH HALF OF THE NORTHEAST
        QUARTER (S 1/2 OF NE 1/4) AND THE NORTH HALF OF THE
        SOUTHEAST QUARTER (N 1/2 OF THE SE 1/4) AND THE SOUTHWEST
        QUARTER OF THE SOUTHWEST QUARTER (SW 1/4 OF THE SW 1/4) OF
        SECTION TWENTY-FIVE (525), TOWNSHIP THIRTY-ONE NORTH (T31N),
        RANGE EIGHTEEN WEST (R18W), IN THE CITY OF NEW RICHMOND, ST.
        CROIX COUNTY, WISCONSIN.

The airplane hangar located upon the premises commonly referred to as Lot 16 Row
11 of the New Richmond Municipal Airport, New Richmond Wisconsin, and more
specifically described as:

        LOT 16, ROW 11 OF THE AIRPORT LAYOUT PLAN DATED SEPTEMBER 1,
        1989, BEING PART OF THE SOUTH HALF OF THE NORTHEAST
        QUARTER (S 1/2 OF NE 1/4) AND THE NORTH HALF OF THE
        SOUTHEAST QUARTER (N 1/2 OF THE SE 1/4) AND THE SOUTHWEST
        QUARTER OF THE SOUTHWEST QUARTER (SW 1/4 OF THE SW 1/4) OF
        SECTION TWENTY-FIVE (S25), TOWNSHIP THIRTY-ONE NORTH (T31N),
        RANGE EIGHTEEN WEST (R18W), IN THE CITY OF NEW RICHMOND, ST.
        CROIX COUNTY, WISCONSIN.




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                      Schedule 1.3(a) Assumed Liabilities

        None.




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                                Schedule 2.2 Purchase Price Allocation


Pre-paid deposit                                                                                    161,3003
Personal property taxes - closing                                                                  26,797.00
Directors & Officers Tail Policy-closing                                                           34,000.00
Post-petition A/P (excluding Bosch and EPS GmbH)-                                                  35,098.00
closing
Carveout for Professionals- closing to be held in                                                718,538.00
escrow by Steinhilber Swanson LLP in trust pending
court orders authorizing professional compensation
and any sum thereafter remaining shall be refunded by
Steinhilber directly to Buyer. These carved out funds
are not property of the bankruptcy estate and are
specifically reserved for the professionals alone. The
Carveout breakdown is included on the next page.
U.S. Trustee Quarterly Fees-closing                                                                58,266.00
Miscellaneous Run-off expenses- closing                                                               400.00
Satisfaction of Obligations to Equipment Finance Lenders- closing                              1,653,010.004
       U.S. Bank Equipment Finance
       Wisconsin Department of Administration
       First National Community Bank
Total Purchase Price                                                                            2,687,409.00
Credit for Prepaid Deposit                                                                      (161,300.00)
   May, 2021                                                             131,300.00
   June, 2021                                                             30,000.00

Total cash from Buyer at Closing                                                                2,526,109.00




  3   Includes estimate for utility invoices and week 24 nationwide business insurance premium – amounts
         subject to adjustment based on actual invoices received.

  4   Or the actual sums shown on the three equipment lender payoffs as of closing date.


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                                                                               Finance                   UST Objected                   Outstanding
                    Invoice Date          Invoice #     Fees       Expenses    Charge    Total Invoice       Fees       Amount Paid   Accrual/Estimates

Steinhilber
                            8/31/2020          4184   135,746.50    5,039.30              140,785.80         5,482.50    109,250.50           26,052.80
                            9/30/2020          4234    25,812.50      358.76               26,171.26           300.00     20,768.76            5,102.50
                          10/31/2020           4379    56,251.50    4,705.79               60,957.29         4,755.00     45,902.99           10,299.30
                          11/30/2020           4456    68,292.50      161.08               68,453.58           112.50     54,705.08           13,636.00
                          12/31/2020           4621    30,482.00    1,336.71               31,818.71                                          31,818.71
                            1/31/2021          4767    19,425.00                           19,425.00                                          19,425.00
                            2/28/2021          4834    21,015.00     573.00                21,588.00                                          21,588.00
                            3/31/2021          4930    37,583.00                           37,583.00                                          37,583.00
                            4/30/2021                  30,655.00     944.73                31,599.73                                          31,599.73
              Estimate May                             45,000.00                           45,000.00                                          45,000.00
              Estimate June                            55,000.00                           55,000.00                                          55,000.00
              Estimate Run Off                               -                                   -                                                  -
                                                                                                 -

Steinhilber Total                                     525,263.00   13,119.37       -      538,382.37        10,650.00    230,627.33          297,105.04

Jarchow
                            7/31/2020 1752 - post       1,860.00                             1,860.00        1,860.00                               -
                             9/2/2020        1789       8,655.00                173.97       8,828.97        4,335.00      3,595.18              898.79
                            10/6/2020        1819       2,640.00                 26.40       2,666.40                      2,133.12              533.28
                            11/2/2020        1844       8,280.00                             8,280.00                      6,624.00            1,656.00
                          12/14/2020         1891      11,265.00                            11,265.00                      9,012.00            2,253.00
                            1/12/2021        1919       3,540.00                             3,540.00                                          3,540.00
                             2/4/2021        1931       2,475.00                             2,475.00                                          2,475.00
                             3/2/2021        1969       1,410.00                             1,410.00                                          1,410.00
                             4/5/2021        2026       4,995.00                             4,995.00                                          4,995.00
                             5/6/2021        2073       1,290.00                             1,290.00                                          1,290.00
                        Estimate May                    5,000.00                             5,000.00                                          5,000.00
                        Estimate June                   2,500.00                             2,500.00                                          2,500.00
              Estimate Run Off                          5,000.00                             5,000.00                                          5,000.00


Jarchow Total                                          58,910.00         -      200.37      59,110.37        6,195.00     21,364.30           31,551.07

Peters, Revnew, Kappenman & Anderson, P.A
                       9/1/2020      69541               639.00                                639.00                                            639.00
                      1/21/2021      70431               324.00                                324.00                                            324.00
                       4/9/2021      70841               345.00                                345.00                                            345.00


Peters, Revnew, Kappenman & Anderson, P.A Total 1,308.00                 -         -         1,308.00             -             -              1,308.00

Baker Botts LLP
                                to date               278,313.50                          278,313.50                                         278,313.50
              to case closing est                      20,000.00                           20,000.00                                          20,000.00


Baker Botts LLP Total                                 298,313.50         -         -      298,313.50              -             -            298,313.50

Patterson Thuente Pederson, P.A.
             Sept 2020 through March 16, 2021           9,257.50   18,909.86                28,167.36                                         28,167.36
                         5/5/2021                       5,629.57                             5,629.57                                          5,629.57
           quote May and June                           5,000.00                             5,000.00                                          5,000.00
           quote patent actions                        14,080.00                            14,080.00                                         14,080.00

Patterson Thuente Pederson P.A. Total                  33,967.07   18,909.86       -        52,876.93             -             -             52,876.93

Guinn, Vinopal & Zahradka LLP
                       11/11/2020             23993     9,200.00                             9,200.00                                          9,200.00
                        1/28/2021              7043       333.75                               333.75                                            333.75
                  Estimate Closing                        450.00                               450.00                                            450.00




Guinn Total                                             9,983.75         -         -         9,983.75             -             -              9,983.75

Simma Flottemesch & Ohrenstein
                     12/31/2020               68951     2,399.25                             2,399.25                                          2,399.25

              Estimated Post Closing
              2020 & 2021 tax returns                  25,000.00                            25,000.00                                         25,000.00


SFO Total                                              27,399.25         -         -        27,399.25             -             -             27,399.25




Total Legal-Professional                                                                                                                    718,537.54
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                           Schedule 2.3(a) Seller’s Executory Contracts

 Contract Counterparty                             Contract Description
 ADT Security LLC                                  Security system at office, Hanger 11-16, & Hanger 11-18
 AFCO                                              Business Insurance Premium Finance Company
                                                   AON: Insurance brokerage
 AON: Nationwide/Global Aerospace                  Nationwide and Global: Business Insurance (Property, Gen.
                                                   Liability, Workers Comp, Transit, Aviation Products Liability)
 American Family Insurance                         Life Insurance for Michael Fuchs
                                                   Contract for research and development for electronic control
 Bosch Aviation Technology LLC
                                                   development
                                                   Contract for research and development for electronic control
 Bosch General Aviation Technology GmbH
                                                   development
 Canon Financial Services, Inc.                    Canon Printer -Model OCE Colorwave 500
                                                   Lease of Lot 18, Row 11 of New Richmond Municipal Airport
 City of New Richmond
                                                   Lease of Lot 16, Row 11 of New Richmond Municipal Airport
 Delta Dental of WI                                Group Dental Insurance Provider
 DMG Mori USA                                      maintenance & annual software machines
                                                   Group life insurance, short term disability insurance, long term
 EPIC Specialty Benefits
                                                   disability insurance
 GM Financial                                      2019 Chevrolet Suburban
 InspectionXpert Corporation                       Software-Quality-Inspection
 John Hancock Retirement Plan Services             401(k) Plan
 Manitou Properties, LLC                           Lease Agreement-156 High Street, Ste 100C
 Medica                                            Group Health Insurance Provider
 Michael Fuchs - Employment Agreement              Executive Employment Agreement
 Mike Driessen                                     Sublease: Hangar 13-3 at New Richmond Municipal airport
 National Technical Systems (NTS Boxborough)       Environmental testing
                                                   software product life management system & requirement
 NET.AG System Integration
                                                   management system - annual
 OPEN MIND Technologies USA Inc.                   machine software & annual maintenance
 PQ Systems                                        Software for tracking calibration
 SoftwareOne                                       software license with annual maintenance
 SSL.com                                           2-year subscription renewal for eps.aero
 Thru, Inc.                                        Software to send secure attachments.
 T-Mobile                                          Corporate Cell Phone Plan
 Zhengyi Development Aviation Industry Co., Ltd.   Technology License Contract dated July 5, 2019
 Wei Hang
 Zhengyi Development International Investment      Equity Joint Venture Contract dated July 5, 2019
 Holding Limited Liability Company



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                        Schedule 2.3(b) Assumed Contract List

        1.     That certain lease dated January 13, 2017, between the City of New
               Richmond, Wisconsin and Engineered Propulsion Systems, Inc., for the
               real property known as Lot 16 Row 11 of the New Richmond Municipal
               Airport, New Richmond Wisconsin.

        2.     That certain lease dated January 13, 2017, between the City of New
               Richmond, Wisconsin and Engineered Propulsion Systems, Inc., for the
               real property known as Lot 18 Row 11 of the New Richmond Municipal
               Airport, New Richmond Wisconsin.

        3.     That certain “Small Business Contract” between ADT LLC dba ADT
               Security Services and Engineered Propulsion Systems, Inc., dated
               December 15, 2016.




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 Schedule 3.10 -- Executory Contract or Unexpired Lease Assigned or Transferred
                               to any Third Party.

        None.




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                                                                                                                                       Schedule 3.11(a) -- Intellectual Property
Desc




                                                       PTP Ref.              AppTitle             Country Name     Status        App Number       Filing Date     Pub Number       Pat Number    Iss Date   Renewal Date   Action Date                 Action
                                                                     ENGINE WITH HYBRID           United States
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                                                   3957.01US01                                                    Converted   60/831,262          14-Jul-06           n/a
                                                                     CRANKCASE                    of America
                                                                                                  United States
                                                   3957.01US02                                                    Granted     11/879,011          13-Jul-07     US20080022963    US7509936      31-Mar-09
                                                                                                  of America
                                                                                                  Patent
                                                   3957.01WO01                                    Cooperation     Expired     2007/016095         16-Jul-07     WO2008008548           n/a
                                                                                                  Treaty
                                                                     AERO COMPRESSION             United States
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                                                   3957.02US01P1                                                  Converted   61/543,624          5-Oct-11            n/a
                                                                     COMBUSTION DRIVE             of America
                                                                     ASSEMBLY CONTROL             Patent
                                                   3957.02WO01       SYSTEM                       Cooperation     Expired     PCT/US2012/059121   5-Oct-12      WO2013052912           n/a
                                                                                                  Treaty
                                                                     aka Injection Control        United States
                                                   3957.02US02                                                    Granted     13/646,576          5-Oct-12      US20130291550    US9611790      4-Apr-17      4-Oct-24
                                                                     Strategy for Low Cetane      of America
                                                   3957.02WOAU       Fuel                         Australia       Granted     2012318370          5-Oct-12      AU2012318370     AU2012318370   9-Mar-17      5-Oct-21
                                                   3957.02WOBR                                    Brazil          Published   1120140083088       5-Oct-12      BR112014008308                                5-Oct-21      7-Jun-21     Pay Final Fees ($1290)
                                                   3957.02WOCA                                    Canada          Granted     2,853,748           5-Oct-12      CA2853748        CA2853748       7-Jul-20     5-Oct-21
Main Document




                                                                                                  China
                                                   3957.02WOCN                                    (People's       Granted     201280060010.3      5-Oct-12      CN104066952      CN104066952
                                                                                                  Republic)                                                                                     22-Dec-20     5-Oct-21
                                                   3957.02WOCNHK01                                Hong Kong       Published   15102898.2          5-Oct-12      HK1202604                                     5-Oct-21     22-Jun-21     Request for Grant Deadline ($1000)
                                                                                                  European
                                                   3957.02WOEP                                    Patent          Published   12838031.8          5-Oct-12      EP2764223
                                                                                                  Convention                                                                                                  5-Oct-21     24-Jun-21     Divisional/Grant Formalities ($1000)
                                                   3957.02WOIN                                    India           Published   741/MUMNP/2014      5-Oct-12      IN741MUN2014
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                                                                                                  Russian
                                                   3957.02WORU                                                    Granted     2014117700          5-Oct-12      RU2014117700     RU2616730      18-Apr-17
                                                                                                  Federation                                                                                                  5-Oct-21
                                                                     aka Combustion Tuning to
                                                                                                  United States
                                                   3957.02US03       Avoid Harmful Natural                        Published   15/422,613          2-Feb-17      US20170145945    US10598119
                                                                                                  of America
                                                                     Resonance Frequencies                                                                                                      24-Mar-20    24-Sep-23
                                                                     Filed with original parent   United States                                    23-Mar-
                                                   3957.02US04                                                    Published   16/827,142                        US20200392920
                                                                     claims                       of America                                         20                                                                    16-Oct-21     Response to OA due ($2500)
                                             12569612v.24
Desc




                                                                     AN AERODIESEL ENGINE          United States
                                                   3957.03US01P1                                                   Converted   61/546,391          12-Oct-11          n/a
                                                                                                   of America
                                                                                                   Patent
Doc 336 Filed 06/01/21 Entered 06/01/21 19:51:23




                                                   3957.03WO01                                     Cooperation     Expired     PCT/US2012/059946   12-Oct-12   WO2013056041           n/a
                                                                                                   Treaty
                                                                     aka Eight Cylinder Flat Vee   United States
                                                   3957.03US02                                                     Granted     13/650,569          12-Oct-12   US20130112158    US9181868          10-Nov-15   10-May-23
                                                                     Ignition Order                of America
                                                   3957.03WOAU                                     Australia       Granted     2012322066          12-Oct-12   AU2012322066     AU2012322066       5-Jan-17    12-Oct-21
                                                   3957.03WOBR                                     Brazil          Pending     1120140090386       12-Oct-12   BR112014009038                                  12-Oct-21   7-Jun-21   Pay Final Fees ($1290)
                                                   3957.03WOCA                                     Canada          Granted     2,854,230           12-Oct-12   CA2854230        CA2854230          8-Dec-20    12-Oct-21
                                                                                                   China
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                                                   3957.03WOCN                                     (People's       Granted     201280061293.3      12-Oct-12   CN104145104      CN104145104        23-Feb-18   12-Oct-21
                                                                                                   Republic)
                                                   3957.03WOCNHK01                                 Hong Kong       Published   15102909.9          12-Oct-12   HK1202605                                       12-Oct-21
                                                                                                   European
                                                   3957.03WOEP                                     Patent          Granted     12839362.6          12-Oct-12   EP2766588        EP2766588          21-Jun-17
                                                                                                   Convention
                                                   3957.03WOEPAT01                                 Austria         Granted     12839362.6          12-Oct-12   Validation                          21-Jun-17   12-Oct-21
                                                   3957.03WOEPCH01                                 Switzerland     Granted     12839362.6          12-Oct-12   Validation                          21-Jun-17   12-Oct-21
                                                   3957.03WOEPDE01                                 Germany         Granted     12839362.6          12-Oct-12   Validation       DE602012033807.5   21-Jun-17   12-Oct-21
Main Document




                                                   3957.03WOEPFR01                                 France          Granted     12839362.6          12-Oct-12   Validation                          21-Jun-17   12-Oct-21
                                                                                                   United
                                                   3957.03WOEPGB01                                                 Granted     12839362.6          12-Oct-12   Validation                          21-Jun-17   12-Oct-21
                                                                                                   Kingdom
                                                   3957.03WOEPIT01                                 Italy           Granted     12839362.6          12-Oct-12   Validation                          21-Jun-17   12-Oct-21
                                                   3957.03WOIN                                     India           Published   3208/DELNP/2014     12-Oct-12   IN3208DEN2014
                                                                                                   Russian
                                                   3957.03WORU                                                     Granted     2014118576          12-Oct-12   RU2014118576     RU2628680          21-Aug-17   12-Oct-21
                                                                                                   Federation
                                                                     aka Eight Cylinder Engine
                                                                                                   United States
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                                                   3957.03US03       with Independently                            Granted     14/918,750          21-Oct-15   US20160102605    US9447729          20-Sep-16   20-Mar-24
                                                                                                   of America
                                                                     Operable Cylinder Banks
                                                                     ENHANCED AERO DIESEL          United States
                                                   3957.07US01P2                                                   Converted   62/535,459          21-Jul-17          n/a
                                                                     ENGINE                        of America
                                                                                                   Patent
                                                   3957.07WO01                                     Cooperation     Expired     PCT/US2018/043081   20-Jul-18   WO2019018761           n/a
                                                                                                   Treaty
                                             12569612v.24
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                                                                   United States
                                                                                   Published                    20-Jul-18
                                                   3957.07WOUS01   of America                  16/632,783                   US20200158015                 9-Oct-21    Response to OA due ($2500)
                                                   3957.07WOAU01   Australia       Published   2018304462       20-Jul-18   AU2018304462      20-Jul-22
Doc 336 Filed 06/01/21 Entered 06/01/21 19:51:23




                                                   3957.07WOBR01   Brazil          Published   1120200013048    20-Jul-18   BR1120200013048   20-Jul-21   20-Jul-21   Request Exam Deadline ($1000)
                                                   3957.07WOCA01   Canada          Published   3070483          20-Jul-18   CA3070483         20-Jul-21
                                                                   China
                                                                   (People's       Published                    20-Jul-18
                                                   3957.07WOCN01   Republic)                   201880060888.4               CN111108275
                                                                   European
                                                                   Patent          Published                    20-Jul-18
                                                   3957.07WOEP01   Convention                  18835228.0                   EP3655635         20-Jul-21
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                                                   3957.07WOIN01   India           Pending     202017007206     20-Jul-18                                 20-Jul-21   Request Exam Deadline ($1000)
                                                                   Russian
                                                                                                                20-Jul-18
                                                   3957.07WORU01   Federation      Pending     2020107663                                                 20-Jul-21   Request Exam Deadline ($1000)
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  Schedule 3.11(b) Licenses, Transfers and Assignments of Rights in Intellectual
                      Property to Any Governmental Entity

        None.




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                        Schedule 3.11(c) Infringement

        None.




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                      Schedule 3.14 Environmental Matters

        None.




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